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     Brian C hancey
     Plaintiffin Propria Persona                                         onqedstatescou%
     3117 Encino Avenue                                                SouthernDlstrld ofTexas
     Bay City,Texas 77414                                              *      F ILE D        -
3
     phone:832-863-4519                                                    yjq g3 2122
4    email;gnman4@ yahoo.com
5                                                                      Ne anochsner,Gle ofQQBN
6


                                                                                                     . .'
8                                  UN ITED STATES DISTR ICT C O U RT                                    .
9
                                    SO UTH ERN DISTRICT O F TEXA S
10                  Uni
                      ted States PostOmce and Courthouse;601 Rosenberg,Room 411;Galveston,TX 77550


12
     BRIAN CHANC EY
     PLAINTIFF
11   v.                                                   CASE NO . 3:22-cv-00034
15   BASF CO RPO RATIO N
      ..      J
              '
16   DEFENDANT
                                                 /
18

       A M EN DED CO M PLA INT FO R D EC LA RATO RY A ND INJUN CTIV E R ELIEF
                   UNDER THE AM ERICANS W ITH DISABILITIES ACT
                                                 C OU NT I
                               Discrim ination on the basis ofdisability.

            Plaintiff, Brian Chancey, sues the defendant, BASF CO RPORATION, fo
24   discrim ination on the basis ofdisability,and for prohibited actions taken on the basis ofthis '
                                                                                       '
                                                                .

25   disabilityunderthe 'regarded as'
                                    'prong;andfordeclaratoryand injunctive reliefunderTitle I
     ofthe Am ericans with Disabilities Actas implem ented under29 CFR Part1630,etsequitur,
     and alleges the follow ing:

28                                  JU RISDICTIO N A ND VENU E
                                                     -
                                                         1-
                                   Am ended Com plaint- Brian Chancey
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      1. This courthasoriginaland exclusivejurisdiction underTitle lofthe Americanswith
2     Disabilities Actof 1990 and the Am ericans with Disabili
                                                             ties ActAm endments Actof2008,
                                                                                          .
3    42 U.S.C.j12101and42 U.S.C.j12112(a),(b)and (d)(4)as itpertainsto Dijcrimination ;
4    asimplementedby 29CFR j 1630.2'  ,91630.4.,51630.5.
                                                       ,51630.13 and 1630.14(b)(3),(c)&
     (d)asitpertainsto adverse employm.
                                      entactions,employersandmedicalexaminationsand
5
      interventions.
 6
     2.    Venue is properinthe Southern DistrictofTexas pursuantto 28 U.S.C.b1391(b)(2)
     because Plaintiffresides in this Districtànd a substantialpartofthe evpnts orpmissions
8
     giving rise to the claim s occurred in this District.
 9
     3.    The incidents and facts giving rise to this complainthave occurred within the Iastone
lO
     hundred eighty days. The plaintis has com menced a complaintagainstthe défendantwith
     the EqualOpportunity EmploymentCommission (EVOC)on oraboutthe date ofOctobe
     16,2021.The plaintis has exhausted alIadm inistrative rem edies and received a Right to
     Sue Ietteron Novem ber5,2021,a truq and correctcopy is attached in ExhibitA.
14
                                              PA RTIES
15
     4.    Plaintiff,Brian Chanc'
                                ey,resides in M atagorda County,Texas atthe address of 311
16
     Encino Avenuq; Bay City, Texas and is a qualified individual w i
                                                                    th a.disability w ithin the
     meaning ofthe ADA. The plaintiffis an em ployee ofthe defendant,which is a 'dciwered
18   entity'
           'w ithin the m eaning ofthe Act.
19
     5.The defendant's principal place of businqss is Iocated at 602 Copper Road; Freeport,
20   Texas.

                                       PLA IN STATEM ENT
22
     6;    Defendantdiscrim inated againstthe plaintiffbased upon perceived disability. W hen

24
     the plaintiffobjected,fhe defendantsoughtto'impose accommodations'
                                                                      ,incluiing butnot
     Iim ited to:m edicalexam inations,m edicalinterventions including m ask-w earing'
                                                                                     ,w i
                                                                                        thoutfirst
25
     conducting an individualized assessm entto determ ine ifhe was a directthreat. Defendant
26
     has used- policies and procedures thatharass,isolate,segregate,Iim it,clasàify!deny equal
                           .


27   access and impose non-job-related medicalexamsand inquiries upon the plaintiffand this
28   is prohibited underthe ADA .                                                                    t
                                                 -
                                                     2-
                                Amended Complaint- Brian Chancek
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 1                                     STATEM ENTS O F FA C T
2
     7.      The plaintiffis regarded as having a disability.
 3
     8.      The plaintiffis a qualified individualwith a disability.
 4
     9. The plaintiffip regarded as having a disability by the defendantand the
 5
     policies are specifically im plem ented for the purpose of m itigating the disability w hich
 6
     regards the plaintiffas having.

     10. The plaintifftherefore hasa disability underthe protection oftheADA.
 8
     11.     The plainti
                       ffis an employee ofthe defendantand has been continuously
 9
     by the defendantsince the date ofJune 13,2020 untilthe presentwhich includes a date
                                         I
     threatened term ination on February 1,2022.
11
     12.     O n August 10, 2021, the defend'ant begah dem onstrating by its policies
12
     practices thatitregards the plaintiffas having a disability ofan impaired immune
13
     and an im paired respiratory system ; and began responding to the plaintif as if he had
14
     contagious disease.
15
     13. Defendanthas neverconducted the required indi
                                                     vidualized assessm entto
         hetherornotthe plaintiffis a directthreat.
                                                                        /
     14.     The plainti
                       # duly noticed the defendant that he was claim ing protection under
18
         DA because ofbeing regarded as disabled.
     15      The plaintiff m ay proceed under the ''regarded as'' prong and this court
     '
     urisdiction underthe ''regarded as''prong ofthe A DA.
21
     16.     The com plaintthereby satisfies the criteria forstating a prim a facie cause of
22
     for these reasons,along with the fact that the defendant has made a record of
     disability as furtheralleged herein.
24
     17.     The ADA glso protects individuals such as the plaintiffforw hom subm i
                                                                                  tting to
25
     accom m odations would create im pairm ents. Th'
                                                    e accom m odations includp, but are
26
     Iimited to:submitting to repetitive, non-job-related medicalexaminations'(nasal
27
     testing, antigen testing'
                             , daily health inquiriesl; collection of vital statistics
28   temperaturel;being segregated and isolated (inclùding quarantine withoutdue
                                                   3--


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     using medicaldevicesformitigationmeasureà(masksl;disclosing plaintifrsmedicalrecords
2    and history fornon-job-related matters (ld
                                              vaccinel'statusreportsl;taking multiùle injections
 3
     of experim ental gene therapy solutions under ltemergency use authorization'' w ithout

 4   informep consent;and participating inclinicaltrialsandepidemi
                                                                 ological.expqrimentsasa
     condition ofem ploym ent.
 5
     18. Plaintiffre-alleges each statem entfrom theAmdavitherein.
 6
                   CO UNT IALLEGATIO NS'O F DEFENDA NT'S VIO LATIO NS
 8                   OF TITLE IOF THE ADA,42 U.S.C.j12101 etsequitun
 9   19.    Plaintiff incorporates each of the above statem ents of fact herein; the allegations
lO                          ,ng par
     contained in the followi     agraphs and the plaintiff's supporting affidavitw hich is also re-
     alleged and incorporated herein by reference.

12   20. Title Iofthe ADA prohibits em ploym entdiscrim ination on the basis ofdisability in aIl
     aspectsofemployment,in29 CFR j 1630 elsequitur;and particularlyj1630.4.
                                                                           ,j 1630.5.
14   21.    O n August 10, 2021, the defendant began regarding the plaintiff as having a
15   disability of an im paired im m une system and an im paired respiratory system '
                                                                                    , and began
16   responding to the plaintiffas if he had a coitagious diseasq. (See Affidavit(hereafter.
     uAy.y,,)jjjj)
18   22.    The defendantexpresses the attitude tow ard the plainti; as ifthe plaintiffis a direct
     threatto otheis,yet has never conducted an individualized assessm ent or com plied w ith
     anyofthe statutory individualassessmentcriterial.tsee AFF 113-7,10,11,14,18,20,21,28,
     30,34,38)                                             '
21

22                 29 CFR j 1630.2(r):
                    ''DirectThreatm eans a .
                                           significantrisk ofsubstantialharm to the
                    health or safety of the indi  vidual or others that cannot be
                    eliminated or'reduced by reasonable accommodation. The                                      '
                    determ ination that an indivldual poses a fdirect threat'shallbe .                         '
25
     1 EEOC TechnicalManual2.2 (c) ''...the Supreme 'Courthas stated and the Congress has reiterated,
26   'society's myths and fears aboutdi
                                      sability and disease are as handicapping as are the physicallim i
                                                                                                      tations tha
     flow from actualimpairments.'TheIegislative historyoftheAD/ indicatesthatCongressintenàedthisparto
27   the definiti
                on to protectpeopl
                                 e from a range ofdiscrim inatoryacti
                                                                    onsbased on''myths,fears and stereotypes'
                                                                                                            '
     aboutdi sabi li
                   ty,which occurevenw hen a persondoesnothave asubstantially Iim iting im pairm ent'
                                                                                                    '
28
                                                        -
                                                            4-
                                    Am ended Com plaint- Brian Chancey
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                  based on an individualized assessm ent of the individual's
2
                  presentabili
                             tytosafelyperform the essentialfunctionsofthejob.
                  This Mssessment shall be based on a reasonable medical
                  judgment that relies on the mostcurrent medicalknowledge
      .
                  and/oron the bestavailable objective evidence.In determining
4                 whether an individualw ould pose a direct threat,the factors to
                  be considered include:
5
                  (1)Thedurationofthe risk;
6
                  (2)Thenatureandseverityofthe potentialharm;
                  (3)TheIikelihoodthalthepote/
                                             ntialharm willoccur;and
                  (4)Theimminence ofthe potentialharm.'


     23.   The defendant has m ade no m eaningful eforts to rem ediate itself on the Iaw, and
     has only referred to statem ents m ade on the CDC'S website,butthis clearly does notqualify
     asanindividualized assessment. (SeeAFF !(14,18-26,28-30,32-34,36,38,39)
     24. Plaintiffhasgivendefendantconspicuousnotice thatplaintiffobjectsto discrimination
     and declines any ofthe accommodations (mitigation measures) on the basis of rights
     protected by the ADA because defendant's policies and practices dem onstrate that the
     defendant regards him as having a disability,and thatthe defendant has made a record of
     suchdisabilityby mis-classifyingtheplaintiffashaving an impairment. (SeeAFFlf8,13-15,
     17,22,23,25,28,30,32,34,38)
                Harassm ent,Isolation,Spgregation and DenialofEqualAcces:
     25. The defendant's responses to the requests m ade by the plaintiff to cease the
     discrim ination and harassm entwere in fact non-responsive,dism issive orharassing'
                                                                                       ,a true
     and correctcopyofeachisincludedwithExhibitA.(SeeAFF1114,17-21,23-29,33,38)
     26. Despite plaintiff's w ritten notices,the defendantcontinued without cessation to harass
     the plainti
               l based upon disability by sending him num erous com m unications coercing him
24
     to accept various accom m odations or suffer adverse em ploym ent actions. AII w ri
                                                                                       tten
                                                    J

     communicationsare attached as ExhibitA.(SeeAFF :110,11 13-15,18-21,23,24,27,29-



                                                -
                                                    5-
                               Am ended Complaint- Brian Chancey
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 1   27. DefendantiM poéed accommodatipns upon the plaintiffwhich included isolation and '
 2   segregation such as demanding plaintiffremain 6 feetaway frorb co-workers;refusing him
               .                                                                  '


 3   access to the work space, his office, the staff room , and rest room s; m aking him w ork
     rem otely'
              , Iim iting room pdcupancy; segregating plaintiff to a part of the work space;
 4
     implem enting ïffirstcontactprotocols,,and 1quar4ntine,,withoutdue process. (See
                                                                                   ' AFF!(10,
     15,16k26,37)
     28    The defendanthasfailed to ensurethe equalacc
                      %                               :
                                                        essoracces'
                                                                  si6ilityofthe premises
      here the plaintiff is assigned to work. The plaintiff has thereby been prevented from
 8
     enjoyingequalaccessandthe benefitsofemploymentenjoyedbybtheremployees.
                                  Lim iting,Segregating and Classifying 2
10
     29. Defendant'sso-called ''CUVlD-19''policies impose a disability upon the plaintiffby
     Iimiting and im peding him from performing his em ploymentduties to '
                                                                         such a degree thatthis
                                                                                              t
12                                             .        '      .                          .
                                                                                              :
     adversely affects his em ploym entopportuni
                                               ties orstatus on the basis ofdisabllity because
13
     the defendantwillnotpermitplaintiffto do hisjobwithoutfirstsubmittingtothe defendant'pAx     .
14
     accommodations(''mitigationmeasuresnl.-(SeeAFF!110,13,15,16,24,27,30,34-36,.      39,
15   40)
16   30.    Defendant classified the plaintiff as llunvaccinated''3; is w idely sharing thi
     classification ofthe plainti; w ith otherem ployees w i
                                                           thoutany regard to confidentiality4'
                                                                                              ,and
     encourages em ployees to harass the plaintiffw ith repetitive em ails,intim idating interactions
     andthreatsoftermination.SeeAFF% (31,34-36,38,39)
                          -   '                                                       '

     31.    Defendant's policy states thatthose em ployees classified as ''uqvaccinated'
                                                                                       ', such as
21   theplaintij,arerequiredtosubmittoweekly.accommodationssuchasmedicaltestsattheir
22   ow n expense,enhanced quarantine m easures based upon 'close contact' and continued
     masking. (SeeAFF!136,3?)
24   32. Defendantrepetitively asked the llaintiffto disclose his medicalhistory t
                                                                                 ?n an online
25   podalw ithoutany notice gi
                              ven regarding the data retention policy orw ho receives'the data

26
     and for w hat purpose'
                          , however, defendant is clearly classi
                                                               fyihg em ployees by m edical
     2 prohibi
             tedby29CFR j1630.5
     3 discrimination based uponphysicalcondi
                                            tion
     4 prohibitedby29CFR j1630.13.

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                  1           history;Iimiting or im peding the plaintifrs ability to perform his.employmentduties based
                  2           upon his m edicalhistory'
                                                      ,and threatening adverse em ploymentactions againstth: plaintiff
                  3           forrefusing to disclose his rriedicalhistory when the defendantq:s failed to give any
                                                  .                                                                                    ,

                              conspicuous notice as to the m anner in w hich such disclosures àre necessary to the
                  4                     .
                 .            plaintifrsessentialjobfunction.(SeeAFF!131,33-36,38,39) .
                  5
                                                                                            If            'T           6
                              33. Dèfendantalso falsely classifiéd plaintiffas é safety hazard withoutassessmentin
                  6                                                            '
    .
                  y
                              a written safety violation warning and threatened tb accuse him of''abandonin.g    his jpb''
                                                                                                               , .
                              while preventirig him access to the job site despite plaintiffsending timely notices to the
                  8
                              defendantthathè-is both fitforservice and has complied with aIIrequestsforresponse.
                  9           (SeeAFF $ 14, 18,21,27,38)            .
                 10
                                                              Non-jbb-related Medicalexams and inquiries
                 11                                                                                                '
                              34.   Title I,prohibits the defendant from requiring m edical exam inations or m aking
                 12
                              disability-related inquiries ofem ployees unless such exam ination orinquiry is shown to be
                 13           .
                              ob-related and consistentwith business necessity'
                                                                              ,at42 U.S.C.j12112(d)(4)'
                                                                                                      ,29 CFR
                 14   .
                              j1630.13 (b)(c).
            ''
                 15
                              35. An em ployer is entitled only to the inform ation necessary to determ ine w hether the
                                                                         .                                                                 '
                 16       .   e
                               mployee can pedorm the essential functions of the job with or without'reasonable
                 17           accom m odations and the defendanthas failed to identify any setoffad s thatw ould quali
                                                                                                                     fy
                 18           underthis Iim itation.
                                                          .                                           '
                                    .
        '        19                             r163o 1a(b)prohibitedmedicalexaminationsandinquiries.
                                                      .
             1                                                                                                             .


                 20                             (b)Examinationorinquiryofemployees.Exceptas permitted by
                 21                             j 1630.14,itis unlaM ulfora covered entityto require a medical
                                                examinationofan emjloyee orto make inquiriesastowhether                                '
        .        22                             an em ployee is an indl
                                                                      .vidualwi
                                                                              th a disability or as to the nature
                                                orseverity ofsuch disability.
                 23                             (c)Exami'nation ofemployees A covered entity m ay require a
                                                                                   .
                                                                                                                               .'
                 24                             medicalexamination (and/orinquiry)ofan employee thatisjob-
                                                related and consistent with business necessity.A covered entity
                 25 '     .
                          .                     may make inquiries into the ability of an '
                                                                                          employee to pe/orm
                 26                         .   job-relatedfunctions.                                              .
                              36 ' Certain exam inations are allowed as partofan em ployee health program available to
                 27                     ,                                                                      .
                              employees atthe work site under CFR j 1630.14.
                                                                           ,howeverdefendantis notrunning a
                 28                                                                                                                -
                                                                                   -
                                                                                       7-             '                        .
'
                                                                  Amended Complaint- Bria'n Chancey
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     voluntary health program as the policy is notpresented as voluntary and defendantim poses
 2   adverse em ploym entactions or retaliates against,interferes w ith,qoerces,intim idates, and
     threatens employees within the m eaning ofSection 503 ofth: ADA,codified at42 U.S.C.
     12203 and29CFR Part16b0.14(c)fornotcomplyingwiththe policy.
                                    '   .                                          .


     37.     Defendant has never conspicuously disclosed or gave Iegally adequate notice that

 6   complying with the COVID-19 mitigation rheasures Caccommodations'')are an essential
     function ofthejobofEngineer' ,and the measùreshave neverpreviouslybeen an essential
     functionofplainti
                     ff'sjob.5(See ExhibitC tdlob Depcription'')
 8
     38. The plaintiffhas already satistied and metthe criteria forhis essentialjob function
     based
     l
           upon the usualfactors such as education,experience and work ethic. Defendant
     has failed to give conspicuous notice as to the m anner in which these so-called ''Covid-lg'
                                                                                                '
     policies are related to the plainti
                                       ff's ability to perform his essentialem ploym entduties.E
12   39.     Plaintiffclaim ed his right notto provide any m edicalinform ation thatis notrelated.to
13   the perfprmanceofhisjobduties.(SeeAFF:114,1d,23-25,31-34)
14         Plaintif underno pbligation to accvptà'ccom m odations to perceived disability
15   40      Defendantlim ited the accom m odation m easures?, such as exam inationsi'disclosures
     ofmedicalrecordsthatwere notjob-related;experimentalinjections'
                                                                   ,medicalinterventions;
     equipm entor products'
                          ,to only those '
                                         chosen by the defendant. Additionally,the em ploye
                         '                                           t         .

     failed to prove that there are no other accom m odations available w hich do not require
     injections,medicaldevicesandmedicalexaminations.
     41.     ln fact, the defendant is not required to provide any accomm
                                                                     i'
                                                                          odation under th
     'regarded as'
                 'prong.

                   29CFR Partâ 1630.9
                   (e)8 covered entity...is potrequired to provide a reasonable
                   accom m odation to an individual w ho m eets the definition of t
24                 disability solely underthe 'dregarded as''prong (â 163O.)(g)(1)
                   (iii)).
              -

     5 29 CFR 1630.2definition''EssentialFunction':''(l)....the reasonthkpositionexistsistoperform
     thatfunction.''
        6 hdpsr//- .eeoc.gov/publications/ada-your-responsibilities-employer
      7 29 CFR Part1630.2()(5)(i)

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     42. The defendant has failed or refused to comply wi  th this Iaw,even making tie
 2   outr4geousclaim thatthe plaintiffcaneithersubmittocomplyingwitjtheaçcommodation's
     or have his em ploym ent term inated, regardless of the defendant's Iegalduties or the Iaw.

 4   (SeeAFF!123,24,29,33,39,40)
 5   43.    Defendant's policy of im posing accom m odations also violates the plaintiff rights to
     medicalprivacyand informed consent.8 (SeeAFF !114,19,38)
     44.    Ifthe plaintiffhad previously m ade atIeastone requestfor reasonable m odifications,

 8
     plaintiffhas since w ithdrawn such request.

 9   45. Additionàlly,the so-called '
                                    ïvaccines''thatare being promoted as vaccines do not
10   actually preventtransmission orinfection ofany contagious diseasé,specifically regarding
     the so-called ''COV ID-I9''or''SarsCO V2'
                                             'purpoded ''diseases''

12   46. Plaintiffrequests thatthis cpur.ttake judicialnotice ofSection 201(h)ofthe Food,
13
     Drug and CosmeticActand ità FinalGuidance iitled,'' Classification ofProducts as Drugs
     and Devices & Additi
                        onalProduct Classification Issues:Guidance for Industry and.
                                                                                  l
                                                                                    FD
     Staff'',published in Septem ber of 2017,in w hich the Food & D rug Adm inistration define
                                   '
                                              .                                                            .
                     ,

      earing a m ask for mitigation purposes as a m edicaldevice and the application of a
     medicaldevice orcontrivance.A true
                                      'and coriectcopy ofthis is included asExlhibitB.
     47. Plaintiffudherrequestsjudicialnotice ofthefactthatthe Food & Drug administration
     has neyer approved wearihg such face masks,but only 'authorized'      'them without any
     suppoding m edicalorclinicaldata establishing any m edicalnecessity orefficacy forwearing
     such contrivances.

     48. Thp plaintiffrequeststhatthecourttakejudicialnotice ofthe o/cialmortalityrates o
22   the State ofTexas and the United States forthe years from 2017,2018,2019 and 2020 in
       hich the standard deviation is zero,the very definition ofno veri
                                                                       fiable ''pandem ic''.
                                                       .                                 e

     49. No Iaws have changed thatwould cçeate ei     thera new duty ofcare ora new insurable
25
     risk forthe defendànt;and no new Iaw s have'created any new legalduty.or obligation for
     the defendantto violate the medicalprivacy rights ofanyone.
     8 Defendant and its policies failed to advise the plainti
                                                             ffof the absolute ri
                                                                                sks and absolute benefits fo
77   accepting accommodationsoftaki
                                  nq experimentalinjections,maskingandtissue-testing qnder''emergenc
      use authorization''guidelines,fora ncontpgious disease''thatthe defendantregardsthe plaintiffas having a
28   setforthin21USC j360bbb-3efseq.

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                                                                                                               l
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      50. Plaintiffdemandsajurytrial.
2     51. WHEREFORE,Plaintiffdemandsjudgmentagainstthe defendantforcompensatory
3     dam ages and thatthe coud declare thatDefendant's discrim inatory actions and/orviolations
4     as set forth in this Com plaintviolate Title I ofthe Am ericans w ith Disabilities Act under42
      U.S.C.j121O1andimplementedunder29CFR Part1630etiequiius
      52. And an orderenjoining thedefendant,along with itsofficers,agents,and employees,
      and allothers in active concertorparticipation w ith them ,from :
      53. Engaging in discriminatory acts and/or om issions against the plaintiff because o
      (perceived)disability'
                           ,and anorderenjoiningthedefendantfrom implementingpracticesand
      policies in a m anner that is inaccessible 'to individuals w ith disabili
                                                                              ties, spqcifically the
      plai
        N
          ntiff,withir)the meaning ofTitle IoftheADA;
      54. And ordering defendant to com ply w ith the requirem ents of Title l of the A mericap,s
       ithDisabilitiesAct,42 U.S.C.j12101;and,
14    55. Take such affirm ative steps as m ay be necessary to restore,as nearly as practicable,
      each identifiable victim ofthe defendant'sdiscriminatoryconducitothe position thatplainti
       ould have been in,butforthe Defendant's conduct,beginning w ith the plaintiff;and,
                                        .                                                         '
                                                                                             ,

      56. Take xsuch affirm ative steps as m ay be necessary to prevent the recurrence of any
      di
       scrim inatory conduct and to elim inate, to the extent practiçable,,the effects of such
                                                                              '
                                         ;

      conduct.

      57. Award moneiary damages to the plaintiff,in an appropriate amount for injuries
      stiffered as the resultofDefendant's failure to comply with the requirements ofTitle lofthe '
       DA,42 U.S.C.j12101;and,                                1
                                                              .
                                 .

      58. Assess a civilpenalty against the Defendantin an'am ountauthorized by 42 U.S.C .
      j12101tovindicate the publicinterestand make the plaintifwhole'
                                                                    ,and,
      59. Ordersuchotherreliefasth>intprestsofjustice mayrequire.
      1.                                                                  ,
      AMYNDED COM PLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF UNDER THE
                                AM ERICA NSiW ITH DISABILITIES A CT
                                             C O UNT 11
                                                   -
                                                       10 -
                                     Am ended Com plaint- Brian Chancey
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 1                           Retaliation,Coercion,Intederence and Intim idation
 2              Plaintiff, BrianChancey,snesthe defendant,'BASFCORPORATION,forRetaliation,
 3        Coercion,Interference and lntimidation and fordeclaratoryand injunctive reliefunderTitle I
 4        ofthe Am erican'
                         s w ith D isabilities Actas im plem ented under29 CFR Part1630.
                                                                                       ,etsqquitur,
 5'       and àlleges the follow ing;
 6                                          JUR ISDICTIO N A ND V ENUE

                This courthas originaland exclusive jurisdiction underTitle IoftheAmericans with
 8         Disabilities Actof 1990 and the Americans with Disabilities ActAmendments Actof2008,
                                                                                              .
 9        42 U.S.C.j12101 and 42 U.S.C.â12112(a),(b)and (d)(4)as itpedains to ''Retaliation,
          Coercion,ThreatsandIrhtederehce'';asimplementedby29CFR Part1630.12,14(b)(3),(c
11        & (d)asitpertainsto adyerse employmentactions.
12         2. Venue isproperinthe Southern DistrictofTexas pursuantto 28 U.S.C.j1391(b)(2)
13         because Plaintiffresides in this Distrjctand a substantialpartofthe events oromissions
          givi'
              ng rise to the claim s occurred in this District.
14

15        3.    The incidents and facts giving rise to this com plainthave occurred w ithin '
                                                                                            the lastone
          hundred eighty days. The plaintiffcommenced à coMplaintagaini
                                                                      stthe defendantwith the
16    '

          EqualOpportunity Employment'
                                     Commission (EEOC)on oraboutthe date oftOctober16,
17
          2021.The plaintis has exhausted aIIadm inistrative reliefand received a Rightto Sue Ietter
                                                                                       !
          on Novem ber5,2021,a truq and correctcopy is attached in ExhibitA .
                                                        PARTIES

21
          4.     Plaintiff,Brian Chancey,resides in M atagorda County,Texas atthe address of 311
                                                          '
                                     .

          Encino Avenue; Bay City,Texas and is a qùalified individualwith a disability within the
22                       '

          meaning oftheADA. The plaintiffisanemployee oithe defendant,which is a S
                                                                                 'covered
          entity''w ithin the m eaning ofthe Act.
24                                           l      '                .

          5.. The deféndant's principalplace ofbusinegs is Iocated at602 CopperRoad;Freepod,
25
          Texas.

                                                 PLAIN STATEM ENT

28
                                                         -
                                                              11 -
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1     6.     Defendantdiscriminated againstthe plainti
                                                     ffbased upon perceived disability under
2     the ''regarded as''prong and the 'Irecord'of'prong oftheADA. W hen the plaintiffobjeçted
3     and conspicuoqsly requested the discrim ination to end,the defendantunceasingly retaliated
      againstth'
               e plaintiffby intim idating and coercing the plaintiffto acceptaccom modations and
4
      discrim ination; interfering w ith his rights; and threatening adverse em ploym ent actions.
5
      Defendant created a'''severe and pervasive'' hostile w ork environm ent and repetitivel
      threatened term in#tion ofplainti
                                      ff's employment.
                                         STATEM ENTS OF FACT
8
      7.     The plainti; conspicuously gave notice to the defendantofthe reasonabl'
                                                                                   e,good faith
9
      beliefthathe was being discriminated againstand was claiming protection underthe ADA
l0
      because of6eing regarded as disabled.
      8.     On August13,202,the defendantbegan unceasingly retaliating againstthe plainti#
      despite plainti#'
                      s reasonable good faith beliefthathe w as exercising protected opposition to
      discrim ination and claim ing rights protected underthe A DA.
14
      9.     The plainti
                       ffadvised each ofthe m anagers an4 supervisors and personnelin the
15
      hum an resources o#ice thatthe plaintiffwas a qualified individualw ith a disability and w as
16
      regarded as having a disability. The plaintiff also advised each of these em ployees on
      numerous occasions thatthe defendant's poIicies'pertaining to the mask-wearing anà
18    vaccines and disclosing m edicalhistory and subm itting to m edicalexam inations and the
      collection ofvitalstatistics dem onstrated very abundantly thatthe defendant also regarded
      the plaintiffas having a disability.                                                       ,
                                                                                     )
      10.    The plaintiff dem anded that the defendant provide a copy of the individualized
22    assessm ent that it conducted in order to determ ine that he was a direct threat however,
23    defendant ignored these requests and continued to dem and thatthe plaintiff participate in      .



24
      its .'heaIth control m easures'' or accom m odations such as'm ask-wearing and m ediqal
      exam inations.
25

26    11. Every time plaintiffobjected to discriminatorycommunicatibns,actions and imposed
      accom m odations from the defendant'
                                         , defendant ignored the plaintiff and continued the
      sam e conductby retaliating againstthe plaintiff.

                                                          #

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      12. Defendanttookmaterially adverse actionsgto deterplainti;from engaging in protected
      opposition w henever plaintiff claim ed the protection of the ADA for being regarded as
      disabled.Plaintiffexercised his rightto refuse the defendant'soffeqe8accommodationsand
      again asked to review the individualized assessment determ ining plaintiffwas a l
                                                                                      'direct
      threaf'. The defendant ignored the plaintiffand refused to com m unicate or answ er any
                                                           ,


      questions. '

      13. The defendantalso failed oi-refused to cite any Iegalauthority forimposing these
      accommodations or health controlmeasures,induding butnot Iimited to,identiàing or
      describinganynew IegaldutyofcareasaresultofthesepoliciesoranyIaw,andrefused
                                                                                .or
      failed to dçscribe or identify any insurable risk the defendant may have had to protect
      em ployees from any contagious disease thatthe plaintiffwas regarded as having.
      14.      Defendant's adverse actions w qre causally connected to plainti
                                                                             ff's good faith
      opposition to the discrim inatory policy'
                                              , and to the defendant regarding the plaintiff as
      disabled with having a contagious disease thatimpaired his ability to engage in one ormore
                                                                               .



      majorIife activities.
      15. Defendant's adverse actions were causally connected to plaintiff's good faith
      opposition to the discrim inatory policy;to the plaintiff claim ing the protection of the A DA
          ithout any need to request a m edicalor religious exem ption'
                                                                      ,and to plaintiff's dem and to
      review the individualized assessm ent upon w hich classi
                                                             fying plaintiffas a ''directthreat'w as
      based.
      16. The plainti# m ay proceed under the ''regarded as'' prong and this court has
      '
      urisdiction underthe flregarded as''prong ofthe ADA.
      17. The com plaintthereby satisfies the criteria forstating a prim a facie cause ofaction
      for these reasons, along with the fact that th: defendant has made a record of such
      di
       sability as fudher alleged herein.and the plaintiff's suppoding affidavit is also re-alleged
      and incorporated hqrkinbyreference and byparagra'
                                                      ph number.

      9      OLC Control Number: EEOC-CVG-2016-1 ''EEOC Enforcement Guidance on Retc
                                                                                   lIiation''p. 27.
27    Materiall y AdverseActi
                            on:'any acti
                                       on thatmi
                                               ghtwelldetera reasonable person from engaging in protected .
      activity.'                                 '                                                    '
28
                                                    -
                                                        13 -       ,
                                   Am ended Com plaint- Brian Chancey

                                                                                                       h
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1     18.     The Iistofadverse em ploym entactions taken by the defendantin retaliation against
2     the plaintiff for not accepting its accom m odations is extensive: defendant created false
                                                              .


      em ploym ent records stating that plainti; w as ''a safety hazard''w ithout assessm ent via a
      written safety violation warning'
                                      ,defendantthreatened to accuse plaintiffof'labandoning his
 4    '
      ob''while preventing him accesstothejobsite;plaintiffwas threatened withtermination on
 5
      several occasions and given deadlines for term ination such as January 4, 2022 and
 6
      February 1,2022.
                     ,plaintiffwasrefusedaccesstojob si
                                                      te,hisoffice,thebreakroom and rest
      room s;plaintis was repeatedly coerced by m anagem entto undedake accom m odations fora
                                                                                         :
 8    perceived,yetundiagnosed disability'
                                         ,defendantcontinued to harass plaintiffdespite plainti
 9    claim ing protected opposition statps by filing an EEOC Charge'
                                                                    , defendant threatened
10    plaintiffw ith incurring extra costs forw eekly 'antigen testing''athis ow n expense thatother
      em ployees did not incur; and defendant's ADA com pliance officer refused to m itigate the

12    retaliationoraidandencouragethe plaintiffinenjoying rightsprotected undertheADA.
13    20. Defendant took adverse employment actions against the plainti        ff based upon
      perceiving the plaintiff as a direct threat and as having an im paired im m une system ,
      im paired respiratory system '
                                   ,w hich corroborates thatdefendant,in fact, regards the plaintiff
      as disabled.
16
      21.     Plaintiffre-alleges each statem entfrom the Affidavitherein.

18                    C OU NT 11ALLEG ATIO NS O F DEFENDA NT'S VIO LATIO NS
          ,
                        OFTITLE IOFTHE ADA,42 U.S.C.912101 etsequitur.
20    22.     Plainti; incorporates each of the above statem ents of fact herein'
                                                                                , the allegations
21    contained in the follow ing paragraphs and the plaintiff's supporting affidavitw hich is also re-
22    alleged and incorporated herein by reference.
23    23. The A DA also prohibits em ployers from retaliating against individuals who oppose
      discrim inatory activities orw ho m ake charges,testify,assist,orparticipate in any m annerin
25    aninvestigation,proceeding orhearing undertheADA,Title 42 U.S.C.j 12203and 29CFR
26    Pads 1630.12(a)and (b)and Parts 1630.13(b),(c),(d)and Part1630.14(c),towit:
                                                Retaliation
28                 29CFR j 1630.12Retaliationandcoercion.
                                                   -   14 -
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                    (a) Retaliation. lt'is unlawful to discriminate against any
                    individual because that individual has opposed any act or
2                   practice m ade unlawfulby this pad or because that individual
                                                              .


 3                  m ade a charge,testified,assisted,orpadicipated in any m anner
                    in an investigation, proceedinj, or heaing to enforce any.
 4               provision contained in this p'
                                              ad.
 5    24.   The plaintiff was threatened to be term inated because of his unm asked
      unvaccinateéconditionandhassuccessfullystatedaviolationoftheactsimplybecause
      has been subjected to an action prohibited underthe Iaw because ofperceived
      impairment.SeeAfidavit(hereafterI 'AFF')!f14,24,27,35,36,39,40.
 8
      25. The impairmentexperienced by the plainti        ffin connection with his respiratory
      im m une system : is neithertransitory nor m inorfrom the defendant's pointofview
      the defendanthas no end date w hen itw illnotregard this status as warranting term ination.
      26.    O n August 13, 2021, Defendant filed a retaliatory false em ploym ent record
12
      the plaintiff in the form of a written notice of 'safety violation''without any evidencq
13
      individpalized assessment;and on September23,2021,plaintiffwasthreatened with a
      employment record accusing him of 'job abandonment' while defendant waé
15    preventing hisaccesstobui
                              ldings'
                                    .(SeeAFF !114,18,20,21,27)
                              /


      27.    Defendantthreatened the plaintiffw ith retaliation by term ination'
                                                                               ,even thopgh it
      aFare ofa pending EEOC investigation and plaintiff's protected opposition. (See AFF
18    22,30,32,35,36,39,40)
      28.    Nor can the defendant claim i
                                         t w as unaw are that its ow n perception w as the
20    basis for threatening term ination;which w as the unvaccinated condition ofthe plaintiff
      the attendantdeficiencies associated w ith the plaintiff's respiratory and im m une system s.
22    29.    Defendantadopted a new discrim inatory policy and discrim inated againstthe
      based on perceived disability.Plainti
                                          ffopposed the unlawfulpolicyrand defendant
24    against the plaintiff by threatening to term inate his em ployment through the ruse
                                                                  ''
                               .
      classifying plaintiff as a-ïdsafety violation'' by making false employment records'
                                                                                        ,
26    threatening to accuse him of'job abandonmenf';and also by falsely classitking
      based on non-job-related medicalinquiries and exams;howeveq the evidence shows
      plaintif was thrqatened with term ination because plaintiff was déemed a ''
                                                                                direct
28
                                                   -
                                                       15 -
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 1    withoutan individualized assessm entand because'plaintiffwas classified Ms 'unvaccinated''
2     and declined accommodations. (SeeAFF!r14,20,27,35,36,38,39)
 3                        Coercion,Interference or Intim idation
 4
                29CFR j 1630.12
                  (b)Coercion,intederence orintimidation..Itis unlawfulto coerce,
                   intim idate,threaten,harass orinterfere w ith any individualin the
 6
                   exercise orenjoymentof,orbecause thatindividualaided or
                   encouraged any other individual in,
                                                     'the exercise of,any right?
                   granted orprotected by this pad.
 8

 9    30.   Defendant esectively coerced the plaintiff by refusing to provide requested proof o
lO    an indi
            vidualized asspssment;refusing to provide a risk/benefitanalysis as.required fortrue
      inform ed consent'
                       ,and refused to recognize the plainti#'s rightto refuse m edicaltreatm ent

12                                      , and refusing to provide requested proof of
      or participate ih a clinical study'                                          . I
                                                                                     iability

13    insurance,thus interfering with plaintiff's enjoymentofprotected rights.(SeeAFF:13-7,10,
      13-15,18-22,28,30,34,38)f
14
      31.   Defendant coerçed the plaintiffto subm itto the accom m odation m easures,m edical
      interventions and examinations and other health control mèasures, even though the
16
      defendantwas duly advised by the plaintis thatthe plaintiffwas notsubjectto any health
      controlm easures by any courtorders,and thatthe defendantwas not em powered by any
      court order or other Iegal duty to im pose such interventions, exam inations or control
                                                        h                               l
      measuresuponthe plaintifoo;(SeeAFF:110,11,14,24,27,29,30,35,36,39,40)
      32. Defendant allowed other employees to coerce, intimidate or verbally ridicule and
      abusethe plaintiffinviolationofthe defendant'sdutyofcare.(See.
                                                                   AFF :110,11,14,24,27,
22    29,30,35,36,39,40)
23    33.   Defendantthreatened the plaintiffw ith the term ination of em ploym ent because of
24
      perceived disability and asa resultofclassising plaintiffas 'unvaccinated''.(See AFF
25    31,34-36,39)
26
      34. Defendantthreatened the plaintiffwith exclusion because ofdisability.(See AFF
      13 16)                                                 '
28    10 See Texas HeaIth and Safety Code 81.083 and Texas Public HeaI
                                                                     th Em ergenci'
                                                                                  es Bench Book.
                                                -
                                                  16 -
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      35. Defendant's designated compliance agents interfered with plaintiff's rightp underthe
 2   ADA by refusing to aid and encourage plainti
                                                ffin the enjoymentofhis rights undertheAD
 3    hichisadutyofthedefendant.(SeeAFF :119-21,24-26,28,33,34)
 4    36.   Defendant's policies interfered with plaintiff's rights by failing to advise the plainti
 5    that no d'vaccine'' accom m odations, which have been approved by the Food & Drug
      Administration,are com mercially available to the plaintiff,orare yetin production.ll
 6
      37. Additionally, the so-called ï
                                      dvaccines''that are being prom oted as vaccines do not
 8
      actually preventtransm ission or infection of any contagious disease,specifically regarding
      the so-called ''COV lD-19''or''
                                    S arsCO V2'
                                              'purpoded ''
                                                         diseases''.
 9

1O    38.   Defendant is interfering w ith the plaintis's rights by obfuscation and by refusing t
      acknowledge rights protected underthe ADA.12

                    The EEOC has offered guidance on interference and states:

                    'Examples of interference include'     . issuing a policy or)
                    requirem ent that purpods to lim itan em ployee's rights to invoke
14                  ADA protections (e.g., a fixed Ieave policy that states 'no
15                  exceptionswillbemadeforany reason');''13
      39.   Defendant's notices to the plaintiff failed to include conspicuous notice as to the
16
      manner in which its accommodations ('dcovid policies'') are related to his essentialjob
      function,and do notmention plaintiff's rightofrefusalunderEUA guidelinesl4. (SeeAFF
      15)
      40. Defendant also failed to give notice of plaintifrs right to refuse the defendant's
      accom m odations underthe ADA IS, and failed to advise the plaintiffof his rightto inform ed
21
      consent. (SeeAFF!r19,34,38)
22
      41.    Defendant's policy and w ritten notices interfered w ith plaintiff's ADA rights because
      they Iim i
               ted plaintiffs right to invoke ADA protections under the 'regarded as'
                                                                                    ' pr6ng,
24    11 Com irnaty is notavailable in the US.
      1242USè 12203(b)and29CFR 1630.12(b).                   .
25
      13 https:
              //-     .eeoc.gov/l
                                aws/guidance/questions-and-answers-enforcement-guidance-retaliation
26
      and-related-issues
      14 Title21,Chapter9V,PartE j360bbb-3a.Emergencyuseofmedicalproducts.
      15 29CFR Part1630.9 (d)& (e)
                                                  -   17 -
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      including without Iim itation,the right to be free ofdiscrim ination and retaliation bas'
                                                                                              ed upon
2     di
       sability,such as being term inated orsegregated because ùfone's physicalcondition.
 3    42. Defendantengaged iq adverse actions when plaintiffnotified the defendantthatthe
 4    plàintiffw as notw aiving the rightofrefusal,the rightofinform ed consqnt,and the rightto'an
                                                                                            .


 5    indiyidualized assessmentkefore being labeled a directthreatbased upon his rights upde
                                                       :                               f
                                                                                       '
      theADA.(SeeAFF% 2,14,16,23,24,26,27,35-37)
      43. Defendant deceptively tried to persuad: plainsiffthat hi@ only rem edy to the illegal
      policy demands would be to ask f6ran accommodation based on ''actualq'disability and'
      defendant refused to recognize disability based upon the other two prongs of the ADA ;
 9
      therebyéreating afalse record thatiswithoutIegalmeritand createsa substantialprejudice
10
      againstthe plaintiffto seek a rem edy in cbud.
              '
         .


                                             Harm and'lnjury
12

13    44. The injury suffered by the plaintil is thereby concrete and particularized and itis
      actualand imminent. The injury alleged in the cömplaint,including the pleading and
      exhibits,clearly sets fodh a setoffacts thatactually occurred and are notconjecturalor
15
      hypothetical. The injury described therein is atIeastfairly traceable t: the challenged
16
      action,conductand policies ofthe defendant.

      45. The harm (injury)already suffered by the plqintiffincludes,butis notIimitéd to,
18
      having to choose bptween waving medical privacy rights, and submitting to medical
      interventions and exam inations w ithout the benefits of inform ed consent, and being
                                         .


20    regarded as if he has ,a contagious disease Without any individualized assessm ent
      according tp any medicalorscientific standards orhaving hisemploymentterm inated.
22    46. .Once violated,these rights cannotbe recovered. The medicalprivacy rights àre the
23    plaintiff's int/angible property rights which are notrequire; to be waived as a condition o
                        .

24    employmentand include the rightto refusevto padicipate in any epidem iologicalexperim ents
25    orclinicaltrials.

26    47.    Defendant's policips dem onstrate soundly and convincingly, that its policies inflict
      future harm againstthe plainti# who is regarded as having a diiabili
                                                                         ty orinvisible disability
28
                                                  -
                                                      18 -
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     and thatthe defendantfully intendsto continue these polïcles and thatthe defendantfully
      intends to retaliate and continue retaliating againstthe plaintiffas alleged herein.

3    t8. Itis importantto note that none ofthe personnelin human resourçes thatwere
 4    involved in this m attereverpnce cited any Iegalauthority thatcounterm ands the A DA. '
                                                                                        -
                        ,

     49.     Fudherm ore,defendantneverci
                                        ted any
                                        )     -
                                                Iegal
                                                  -'j
                                                      authority orobligation that has created
 6    any new duty ofcar;
                        e orinsurable risk to im'
                                                pose the discrim inatory policies.

      50.. Furtherm ore,the defendantfailed to identify any insurable risk for engpging in the
                                  ,


 8    administration of medicàl:xam inations, interventions or protecting anyone from what is
 9    being claimed as a 'pandemic''or''public health danger''.
10    51. Additionally,defendantfails to cite'any iniurable risk forthe same orforthose
      suffering any adverse health consequences as à result of complyiqg with tie
      accom m odations adm inistered by unlicensed, untrained, uninsured and un-equipped
      em ployees ofthe defendant.

14    52.    Even one's own Iicensed and insured physician requires inform ed consent as a
15
      condi
          tion ofadministering any m edicalexam ination or intervention upon the patient. No
      Iaw s have changed and the defendantis w ithout'
                                                     any Iegalauthority orobligation to engage
      in these practices,and çspecially engage in harassment,discrimination and retaliation in
      violationoffederaliaw.
18
      53. As a result of Defendant's actions the plaintiff has experienced discrim ination,
      segregation, isolation, retaliation, coercioh, interference, threits of term ination and
      disruption in his career.
21
      54. Plaintiffdemandsajurytrial.

23
      55. W HEREFORE,Plaintiffdemandsjudgmentagainstthe defendantforcompensatory
      dam ages and that the court declare that Defendant's retaliatoly coercive,intedering @nd
24
      intimidatiig actions and/orviolations as setforth in this Complaintviolate Title Iofthe
25
        mericans with DisabilitiesActunder42 U.S.C.j12101 and impleinented under29.CFR
26    Part1630 etsequitun


28
                                                    -
                                                        19 -
                                      Am ended Com plaint- Brian Chancey
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      56. Andan orderenjoiningthe defendant,alongwith i
                                                      tsofficers,agents,and emplogees,
 2    and aIIothers in active concertorparticipation withthem ,fromt
 3    57.    Engaging.in retaliation, coercion, interference and intimidation and/or omission
 4    againstthe plaintiffbecause ofhis disability'
                                                  ,and an orderenjoining the defendantfrom
 5    implementing practices and policies in a manner that is inaccessible to indi        viduals with
      disabilities, specifically the plaintiff, w ithin the m eaning of Title l of the Am ericans with
 6
      DisabilitiesAct(ADA),
                          '
 8
      58.   A nd ordering defendantto:

 9    59.    Comply with the requirem ents ofTitle Iof the Americans with Disabilities Act,42
1O    U.S.C.j12101;and,
      60. Take such asirmative steps as may be necessaryto restore,as nearly as practicable,
12    each identi
                fiable victim pf the defendant's discrim inatory conductto the position that he
       ould have been in,bu1forthe Defendant's conduct,beginning with the plaintiff;and,

14    61.    Take such affirm ative steps as m ay be necessary to pr:vent the recurrence ofany
      retaliation,coercion,interferenceand intimkdation andto eliminate,to the extentpracticable,
      the effects ofsuch conduct.
                                                                            ..
                                                                            q                  1!
                                                                                               .


      62. Award monetary damages to the plaintif, in an appropriatè amount for injuri          es
      suffered as the resultofDefendant's failure to comply with thq requirem ents ofTitle lofthe
                                                                       .



       DA,42 U.S.C.j12101;and,
      63.    Assess a civilpenalty againstthe Defendantin an amountauthorized by 42 U.S.C.

21
      512101tovindicatethe publicinterestand maketheplaintiffwhole'
                                                                  ,and,
                                        .          '.-*



22    64. Ordersuchotherreliefasthe interestsofjustice mayrequire.
23                                                                                %h   .
      DATED this il dayofFebruary2022.
24
                                                                                 Brian Chancey,Plainti
                                                                                           .




26



28
                                                   -   20 -
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     Brian Chancey
     Plaintiffin Propria Persona
     3117 Encino Avenue
     Bay City,Texas 77414
     phone:832-863-4519
     email:gnman4@ yahoo.com


                                   UNITED STATES DISTRICT COURT
                                   SO UTHERN DISTRICT O F TEXAS
                   UnitedStates PostOfficeand çourthouse;601Rosenberg,Room 411;Gal
                                                                                 veston,TX 77550   '


     BRIAN C HANCEY
     PLAINTIFF
     v.                                               CASE NO . 3:22-cv-00034
     BASF CO RPORATIO N
     DEFENDANT
                                                /

                  A FFIDAVIT IN SUPPO RT O F A M ENDED CO M PLA INT


     STATE O F TEXAS
                                               Ss
     CO UNTY OF MATAG ORDA

     1.    1,Brian Chahcey,do hereby solem nly affirm thatthe statem ents herein are trup and
     correctinéubstance and iqfactandthatIhave personalknowledge ofeach.
                            '                                                                .



     2. Ihave been harassed atmy job,was d,iscriminated ahd retaliated againstbased o.n
     dikability for refusing to accept my employer's iccommodations for regarding me a
     impaired in my,immune system and impaired in myrespiratöfy system.
     3.   Iam absentand withoutevidence ofany inform ation from ahy health officéridentifying
     myéelf as having any communicable disease or'having been exèosed to any toxi
26
     substance.

     4.    lam absentand witioutknowledge ofany evidence orcourtorder,oblained by an
     Petition ofthe Departmentof HeàIth ora public health officqr,thatwas based upon an
                                                 - 1-

                       Briàn Chancey-rAffidavitin Suppod ofAm ended Com plaint
     '

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         physician's affidavitin w hich Ihave been identified as having any,com m unicable disease o
2        having been exposed to any toxic substance.
3        5. Iam absentand w ithoutknowledge ofany evidence ofany courtorderdeterm ining tha
4        Iam orhave been a directthreatto anyone.
                                      l   .

5        6.    Iam absentand withoutknowledge ofany evidence ofany individualized assessm en
         required by law thathas determ ined thatIam orhave been a directthreatto anyone.

         7.    Iam absentand withoutknowledge ofany evidence ofany coud orderim posing any
8        term s ofisolation orquarantine brotherm easures upon m yself.
         8.    I have previously and,tim ely disclosed and duly noticed the defendant of a disabilityj
                                                                                                     '
10       and that the assedions m ade in the com plaint are true and correct to the best of m
     .
         knowledje,informationandbelief.
                         %


12       9. Iwork forBASF in Frçepod,Texas as an I/E engineerin the ammonia uniiand
         am m onia term inaland Iaddress electricaland instrum entissues forthe com pany. Iw ork in,
14       an office building inside thè BASF property but my office is notIocated in the am'
                                                                                          monia
15       controlroom building.
         10.    O n July 30,2021,Cindy S. Suggs sent a com pany com m unication titled ''BAS
         FreeportUpdate #62 Coronaviruslg'   '(ExhibitA-1)stating thatIam required to submitto th
         collection ofmy vitalstatistics(temperature check)to getpastthe guard gate orIwillnotbe
         adm itted and also stated that Iam required to weara face m ask. lt additionally im posed
         segregation on m e as Iwas told to m aintain a 6-footdistance from others. lhave cpm plied
         underduress w ith the tem perature check accomm odation because lwas afraid ofIosing m
21       job ifIdid notcomply.
         11.    O n August10,2021,Iattended a virtualm orning m eeting ofthe Amm onia unit.Sky
         PicchiottinorA m m onia Unit Production M anager, stated in the m eeting that m anagemen
                     .


         would be writing people up for 'l
                                         saféty violations''which could lead to term ination for no
24
         com plying with thé new policy as discussed in d'Update #62''. l understood from tha '
                                  !               .
         m orning m eeting presentation thatthe BASF policy discrim inated againstm e by regardin
26
         me as potentially oractually infected with a contagious disease.Itis around this tim e thatI
                                                                             '
                                                 (
27
         realized thatBASF is assuming thatIhave an impaîred imm une system and an impaired
                                                                                       /.
28       respiratory system     because they were im posing m itigation m easu'res on m e as
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                             Brian Chancey- Affidavitin SupportofAm ended Com plaint
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                                                      ;
                                                              l                              '

         accomm odations forthe disability they regard m e as having. They were doing this withou
                                                          .



         haviqg any diagnosis from m y doctorupon which to base this erroneous presum ption.Th
         com pany managem ent em ployees respond to m e as if l am infected w ith a contagiou
         disease.(ExhibitA-2).
         12. lpromptly sentan email(ExhibitA-3)to Skye Picchiottiho,in which Iâsked herwha
         safety hazardsthe maskwas intended to protèctme from and whatevidence they had ofit
         esectiveness.
         13.    O n August 12,2021 Iattended a m eeting with supervisors Jay Garnerand Jason
8        Metts.Jay Garnerwas the perton driving the m eeting.Iexpressed m y concerns aboutth
         policy being discrim inatory and therefore unlaw ful;and lalso discussed m y rightto inform ed
         consent. Jay dism issed my inform ed cönsent cpncern and he claim ed ignorance '
                                                                                        of m
         Iegalconcerns.Iinform ed him that lneeded m ore detailed answers to m y questionss Isaid
         Iwould em ailmy questions and concerns to the Corona Virus Help em ailaddress and to th
         legalcom pliance departm ent. Atthe end ofthe m eeting Jay informed m e that my office
         building,which is outside ofthe am monia plant,is now also subjectto masking mandates.I
                -
14   ,

         thanked him fornotifying m e and Iprom ptly Iéftsite afterthe m eeting.Approxim ately thre
15
         hours afte* ards iny supervisor,Jason Metts,inform ed m e Jay Garnerwanted m e to repo
                           '                                                             )
         onsite on Monday,August16.
         14.        On August 13,2021, Iwas sent a written notice ofwarning (ExhibitA-4)and
         requested to attend a m eeting scheduled with Hum an Resources for M onday August 16,
         2021.
           $
               lemailed backand declined this meeting (ExhibitA-5). Ifeltthreatened and coerced.
         by Jay Garner w ho apparently retaliated against m e becaupe I claim ed my rights and
         questioned the policy.lbelieve Jay was setting things in m otion with the ''written w arning'
21
         thatwould Iead to firing m e. Isent LegalCom pliance an emailwhich included a Notice o
         claiming my rights underthe AD'X and a Notice thatldo notwaive my rightto informed
         consent(ExhibitA-6 a,b). Additiohally,Isentthe Corona Virus Help line àn email(Exhibi
24
         A-7)askinj forinformation on the efficacy ofthe'measures,theirrisks and benefit>,and
         inform ation on the alternatives with their risks and benefits. In these correspondences I
26       specifically asked how BASF could im pose a m edicalintervention on m e;and Ireferred t
27       the FDA classification of m asks as m edicaldevices w hen used for m itigation purposes. l


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             asked the responder to provide evidence of m e being a direct threat'
                                                                                 , and stated that I
2            claimed.my rightto inform ed conse'
                                               ntand m y rightto refuse the inte&entions.
                                                            i
                    ,


3            15. Around August23,2021,lbegan a dialogue w ith Stephen Cafiero,Human Resource

4
             regarding the discrimination and haqassmentlwas enduring and Imade him aware thatI
             w as claim ing m y rights upderthe ADA becauje my em ployerwas regarding m e as disabled.
5
             lsenthim a d
                        'Notice ofDiscrimination and HarassmentBased Upon Disability''(ExhibitA-8)
             and started a confidentialem ail com m unication w ith him about m y concerns.About tw o
7
             days Iater,we had a phone discussion regarding my coricerns. Igave Stephen.exam ples o
8            how the discrim ination and haras.
                                              sm entwas affecting niy life activities both athome and a
                                                                  '
                                                                                             (
             work,and Stephen attem pted to answersome ofthe questions Iwrbte hi+ in my emall.
10       .
             Stephen took notes and he said the notes were pad ofthe investigation file. Stephen told
             m e to stay awa# from the plantwhile he conducted an investigation so thatIwould notincur
12
             any more violations ofthe policy.                                                ,
                                         I
             16. Consequently Iworked from hom e,and w hen Iwentto the plant Iwas required to
             rem ain outside.For
                             1
                                the duration ofthe ''investigat
                                                            ''''
                                                                 ion''BASF keptm e segrégated from othe
                                                                        d   ''   .
14
             em ployees. lwas'notallowed to go to the bathroom w hile onsite, enter my o'ice,heatup
15
             m y Iunch,getwater,orany otheractivity thatwould require lenteran occupied building.
16           17.    On August29,2021 Ifiled anADA discrim ination com plaintwith the Texas W oikforc
             Commission- CivilRights Divibion (ExhibitA-9).1.followed ùp with them on September29,
             2021 and they inform e
                                  'd m e my file was in a queue and they investigate complaints in
             chronologicalorder.Ihave yetto hearfrom them as ofNovember1,2021.
             18. OnAugust31,2021lfinallyreceived a response (ExhibitA-lo)from Skye Picchiottino
                        .                                                                    1

             to mytwo questions.She stated thatthe safety hazard BASF wàs trying to protectme from
21
             was COVID-19,and she told m e to Iook on the CDC website for iriform ation about th
22
             benefits ofm asks.She failed to provide a copy ofthe individualized assessment BASF is
             relying upon to determine thatm# immune system and respiratory system are im paired o .
                                                                                     .

24
             thatIam a directthreat. From my years in the industry,Iupderstand safety haiards to be
25           chemicalfumes orequipmentissues,lhave neverhYard ofa company having a duty o
26           care to protectmefrom a seasonalflu.
27



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         19. On September1,2021 Laura Enderle from Coroha VirusHelp emailed me (Exhibit/-
     *   11)'
            .Laura Enderle merely asseded thatthe mitigation measures do notconstitute medical
                                                                                          y

         interventions and sent m e to CDC websites as evidence of effectiveness. She did no
         supportherassertion w ith any evidence thatrefuted the FDA G uidancq defiqi
                                                                                   tion Isenther.
         She did not respond to the question I posed regarding my right to informed consent b
         providing me with an absolute risk/absolute benefitanalysis. She did not respond to m .
6
         claim that I have the right of refusal for any experimental drug and to take part in        .



         experiments.
         20.    O n Septem ber3,2021 Ireceiked an emailfrom Elizabeth Rodrig'
                                                                            uez ofthe BASF    '
                -                                                            w.


         Compliance Team regarding my Iegalquestions (ExhibitA-12).Elizabeth Rodriguez denied
                             '                                                            $
         masks are a m edicaldevice when used form itigation purposes butprovided no evidence to
         supportthis claim . Elizabeth Rodriguez cited OSHA Actof 1970 as the-justification fo
         discrim inating against mè.This response shows fhat BASF is regarding me as a direc
         threat. However,BASF has neverperform ed an individualized assessmentofm e to arrive
         atthis conclusion. Elizabeth Rodriguez failed to provide m e with the safqt
                                                                                   !
                                                                                    y assessm en
                                                                                          .

         they were relying upon to determ ine thatIwas an OSHA safety threat. Elizabeth Rodriguez
         told m e to file foran accom m odation ifldid notw antto folloW theirpolicies.
         21. On the same day,Ireceived a second email(ExhibitA-13)from Elizabeth Rodriguez
         regarding my 'Notice ofDiscril ination and HarassmentBased Upon Disabilit/'.She stated'
         thatBASF is following a ''guideline''and itàppears thatBASF'S position is thatdiscrim ination
         is acceptable ifit,results from following a guideline.She again cited the O SHA Actof1970
         as the Iaw they are following butshe did notprovide m e with any diagnosis,courtorder,o '
         OSHA safety assessmentthey are relying upon to regard m e as a directthreat.
         22. ,On September7,2021 Isentan emailto Stephen Cafiero (ExhibitA-14).lgave him
         the FDA G uideline evidence that classifies m asks as medical dqvices when used fo
         m itigation purposes'
                             ,and Iasked Stephen to considerthis evidence forcorrecting the BAS
         interpretation ofthe .m ask.Iélso .questioned the duty ofcare for BASF to im pose m edical
         interventions on me and asked forproofofinsurance..1again stated thatIFas seeking n
         accom m odations,and Iadvised BASF thatIhad filed an EEOC com plaint.
27

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     23.     On Septqmber8,2021 Ireceived an emailfrom Stephen Cafiero regardihg m
2    llNotice ofDiscrim ination and Harassment Based Upon Disability''(ExhibitA-15).Stè(phen
3    denied I was harassed by the num erous COVID em ails, he denied the policy is
     discrim inatory,denied that BASF is regarding m e as disabled with a potentialor actuàl
4
     cpntagious disease,and he denied a m ask for m itigation purposes is a medicaldevice.
5                                    ;                         '
     However,he did notprovide any evidence to supporthis denials.
6
     24.     He then threatened m y em ploym entif Idid notfollow BASFS interventions. BASF
7
     regards m e as disabled by classifying m e as a potentialoractualsource ofCOVID-19.Th
8    affirm ing action ofregarding m e as a potentialoractualsource is thatIhave been given the
     coercive,threatening,and intim idating choice to m ask orbe term inated. He also cited
10   guideline asjustificationforimposing the interventions.
     25.    On Septem ber 11,2021,aftergetting absolutely nq assistance from the designated '
     em ployee assignqd tp handle discrim ination and retaliation,and who was threatening m e
12
     withtermination;IsentacopfofadraftofanADA ComplainttoStephen. Iintendedforthe
     com pany to see thatIwas serious aboutcalling outtheirpolicy as prohibited by the ADA.
11
     26. O n beptem ber22,2021 Stephen's investigation was concluded and he found that I
     w as not discrim inated against. During the investigation period Stephen told me to wor
     from hom e.
     27. The nextday,on Septem ber23,2021 Nancy Grancell,IocalHR representative,called
18   me and threatenedto falselyaccuse me ofjob abandonmentand told meto reportin person
     to work on September27,2021 and comply (ExhibitA-16). Ihad been working from home
     as instructed and this 'job abandonmenf'accusation seemed like a ruse to fire me forno
     m asking w ithoutwriting thaton paper.
21
     28. ' On September27,2021 lretùrned to the job site and ignored aIICOVID policies.I
22
     also em ailed Nancy G rancellasking herto provide the evidence BASF is relying upon t '
     regard me as a directthreat(ExhibitA-17). lasked herto do heractualjob and stop the
24
     harassm ent. Iasked herto stop threatening me w ith disciplinary action,and address the
25   policy issùes.Iinform ed herthatIhave no obligation to acceptany m itigation m easures.l
26   neverreceived an em ailback from her..
27



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                       Brian Chancey--Affidavitin Suppod ofAm ended Com plaint
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     29.     On October5,2021 Ireceived'an emailfrom Stephen Cafiero (ExhibitA-18).He
     states BASF'S policies are Iawfuland blames me foranything thathappens as a result.He
     confusinglystatestllatlam notdisabled. Heseemsto notunderstandthatIam sayingtha
     BASF is the one regarding me as disabled and m aking a record ofthatdisability.
     30. On October12,2021, Isenttwo emails to Stephen Cafiero (ExhibitA-19 a & b)to
     place in my discrim ination file.Iagaiq pointed out BASF is regarding me as contagious
     w ithöutan individualassessm ent.Iinform ed him thatBASF was coercing and harassing m
     by forcing me to choose between their policy orterm ination.Ireiterated that Idid notsee
     an accommodation butwanted to be leftalone to perform myjob duties.Icorrected hisfalse
 9   statem ents regarding the effectofthe intervention on m y Iife activities,and Is'
                                                                                     enthim copie
     of two discrim inatory com m unications l had received that were coercive about medical
     interventions (ExhibitA-20 a & b). Iatked him to stop the harassing emails and sign
     postings and notified him thatthis docum entation would be added to m y EEOC com plaint.
     31.     O n October 14, 2021 I received a com pany em ail stating that Ifnust enter m
     vaccination statusonline orIwillbe classified as unkaccinated (CxhibitA-21).
     32.    O n October16,Ifiled a Charge ofDiscrim ination with the EEOC and senta copy ofi
     to Stephen Cafiero and jancy GrancellonOctober19,2021to place in mg discrimination
       .                                                                                            *

     file.Ireceiveda RighttôSue IetteronNovèmberd.(ExhibitA-zza,b)
     33. On October 18,1021 Ireceived an emailfrom Stephen Cafiero (ExhibitA-23).H
     denied aIIthese com m unications are harassm entand calls them a l'rem indern'. He claimed
     that collecting vital m edical statistics that are not work-related is allowed. H
     m isrepresented m y previous statem ents regarding accom m odations and disability and
     claim ed no w rongdoing.He attempted to coerce me to follow BASF'S COVID policies and
     claim ed everything is Iaw ful.
     34.    On October22,2021 in the virtualam monia m orning m eeting,1was again informed
                                                                            .


     ofthe COVID masking requirementsforthe site. Ithen sentan emailto Stephen.cafiero t
     place in my discrimination file (ExhibitA-24)requesting the individualized adsessmentor
     courtorderBASF is relying upon to determine thatIam a coqtagious threat.Iclaimed m
26   rightto notdisclose medicalinformation thatis notrelevantto myjob duties.Iinformed him
     that BASF classifying me as ldunvaccinated'
                                               'is discrim ination based on physicalcondition.I
     requested proof of insurance from BASF for the actions they were taking and provided
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                         j                                       /
    evidence of BASF s m isapplication of th'
                                            e OSHA 1970 Act. Iagain rem inded him of th
    disabilities we discussed on August 25thand inform ed him that aIIadditionalretaliation b
    BASF would be repoded to the EEO C. Additionally, l provided him w ith the tw
    discriminato# plant communications to place in my file and asked that he stop th
    harassing em ails.
    35.On Novem ber22,2021,lreceived an em ailthreatening a January 4,2022 deadline to
                                                .                                   !
                                                                                    )
    complywithmitigationmeasuresorfaceadverseactions.lExhibi
                     '
                                                           tA-zs)               .
    36.BASF sentme severaIharassing emails Decemberd through 17,2021,announcing i
                                                                                t
    intention to apply the O SHA ETS to w orkers even w hile the ETS was being stayed by the
9   courts.BASF m ade cleatthatitwould classify m e as either''
                                                              vaccinated''or''unvaccinated''.'
    The ''unvaccinated''w ould be required to to take a weekly antigen testattheirow n expens
    and subm itthe test results to the em ployer. 'M y em ploym entw ps threatened if 1did no
    comply.(ExhibitA-26 a,b,c)
    37. On December 31,2021,BASF increased isolation and segregation measures b
    announcing the im plem entation ofalternate work schedules,the introdu'
                                                                          ction of''quarantine''
    m easures and im posing lim its on the num berofpeople who can work in a room i'additionally
    itannounced m asking requirem  - ents foraIIworkers. (Exhibi
                                                               tA-27 a,b)
    38. On January 3,2022,Iresponded to alIthese announcem ents of increased m easures
    and claimsthatIwould be considered a ''Safety risk''underthe OSHA ET;           ,.   Iw rote AD
    and Legaldepartments and asked BASF to provide evidence ofany ïafety assejsmenti
    had performed w hich deem ed m e a safety risk. lalso asked BASF to provide evidence o
    any FDA approvals forany ofthe m itigation m easures. Ialso asked to be given a w ritten
    risk/benefitanalysis ofthe m easures. To date,neitherthe ADA representative northe Lega .
    representative have respondedto myrequestsforevidence. (ExhibitA-28)
    39. O n January 4,2022,Irecei
                                ved an em ailthreatening a February 1,2022 deadline t
    complywith mitigation measures orfacediscipline and termination.(Exhibi
                                                                          tA-29).




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                         Brian Chançey-a-Affidavitin Suppod ofAm ended Com plaint
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     40. On January 5,2022,my supervisorthreatened me with being terminated ifIdid notput
     on mask.(ExhibitA-30)
     41. The docum ents included w ilh ExhibitA are true and correctcopies ofthe originals.


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 6                                                                           Brian Chancey,A#ian
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     STATE OF TEXAS      )
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     COUNTY OF MATAGORDA )
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                         an Chancey--Affidavitin Suppod ofAmended Com plaint
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                                                                             EX HIBIT
                                                                w ritten com m unication




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                                            in Suppod ofAmended Com plaint
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                            Brian Dale Chancey                                                                                                                                                   .

                            From :                                                                                                    CindyS Suggs
                            Sent:                                                                                                     Friday,July30,2021 11:42AM
                            To:                                                                                                       BC-FREEPO RT-EVERYO NE                                              i
                            Cc*
                              .                                                                                                       Freeport-Leadership-Team;Roberto Nelson;Shelly SchluterVitanza;CarlieBarbier;Leslie
                                                                                                                                      AnnThom son;AshleyRenaJoseph;M arkJPatterson;LauraA Austin
                            Subject:                                                                                                  BASFFreeportUpdate#62:Coronavirus19

                            Follow Up Flag:                                                                                           Follow up
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                            COVlD-19 Update #62 - July 30,2021

                            Safetv M om ent:

                            Summertravelseason ishere.In additionto takingthe normalsafetyprecautions(e.g.,defensi
                                                                                                                 vedriving,
                            checkingthe tires,etc.),rememberCOVID-19 isevérywhere- protectyourselfandyourIoved onesoutside
                            thegatesjustasyoudo insidethegates.
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          Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 32 of 159



Sum m arv:
   withtherecentincreaseintheBrazoriacountyinfectionrate(.i,ik%j.andarecentincreaseincasesatthe
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   Freeportsi
            te(l)positive;iu
                           /self-quarantined),thesi
                                                  teLeadersiiipTeam/Eoc/pandemicManagement
   Team isimplementinjthe.?ollowing updated FreeportSitePandemicManagementRequirements
   effective 8/2/2021.
Details

   * Previous COVID status colorcodes used priorto the availability ofa vaccine are no Iongerin e#ect.
   K O urwork schedules willcontinue to follow the Future ofW ork Guidelines thatwentinto effect7/6/2021.
   K The BASF Crisis ManagementTeam and FreeportSite Leadership Team willcontinue to m oni        torthe
     Iocalcom m unity transm issi
                                on trends,developments,CDC Guidelines and I    ocalregulations. In turn,we
     willcontinue to comm unicate changes asthey are m ade.
   K AIIem ployees willadhere to temperature and COVID survey screening upon entry to the site
     regardless ofvaccination status.
   K DO NOT COM E TO W ORK O R ANY BASF SPO NSORED EVENT IF YOU ARE SICK even ifvou are
     vaccinated.
   K Reportto yourSupervisorifyou are iIland unable to come towork.YourSupervisorwillcontact
     dispatch,and Medicalwillcontactyou. Linkto CDC symptoms Iist;
      httpsr//- .cdc.nov/coronavirus/zolg-ncov/svm ptoms-testinn/svmptom s.htm l-- -

   > Visitorstothe site (BASF,specialtycontractors,customers,etc.)require approvalbydirectorsorSLT
   K W ewillfollow the new CDC guidance (issuedJuly28)with regardto mask requirements,which isthe
     following:
          K Forcounties designated as HIGH risk,w hich Brazoria County currently is,masks willbe
             required indoorswhen socialdistancing cannotbe m aintained regardlessofvaccination status.
          K O utside,we w illcontinue to follow previous protocols: unvaccinated workerswearmaskswhen
             socialdistancing cannotbe m aintained,and vaccinated workers are notrequired to weara
             m ask.NOTE: Vehicles are considered inside orindoors.                                 '
   K Itis a requirem entto calldispatch atext.6210 to repod em ployee sym ptom s orCOVID
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     exposures.Dispatch inform s m edicalw ho m anages the process-from there.
          > Note:Ifyou are vaccinated and are exposed to someone who is CovlD-posi       tive BUT have no
             sym ptoms,you willbe asked to track yourtem perature butwillbe permitted to repod to work.
   K Due to the close quarters and Iimited aircirculation in vehicles,we require everyone wearmaskswhen
     riding in vehi
                  cles togetherregardless ofvaccination status.
   K BAsF-sponsored (W -si
                         te socialevents should beapproved byapirectororSLT memberand approval
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     willbe Iim i
                ted to those who choose to disclose theirvaccination status as 'fully vaccinated'
                                                                                                'in orderto
     reduce exposure risk.
   K The site willcontinue with the cleaning protocols,and aIIem ployees are asked to continue to routinely
     wash theirhands and use sanitizers provided in work areas.
   K Business travelrequires DirectororSLT approvaland should include a discussion ofexposure risk and
     travelIocation/com m unity spread in thatarea. W hile itis ultimately a DirectororSLT decision,itis
     strongly recom mended we Iimittravelto those who choose to disclose they are 'fully vaccinated.'
   K Ifindividualwork areas orcontrolrooms see a rapid increase in COVID cases,m askwearing willbe
     required,untilnumbers reduce to 1 to 2 cases in thatarea.

W hatElse:
   K 'V-BASF as a com pany continues to encourage aIIem ployees to getvaccinated.
   K There are som e ''break-through''cases where a person contracts COVID afterbeing vaccinated;
        however,the medicalcom m unity hasstated -and ourown experience atthe site dem onstrates- thatit
        is rare and the severity ofthe illness isfarIess.
   K The Delta Variantis in Brazoria and surrounding counties and is farm ore contagi
                                                                                    ous thanthe previous
        COVID-19 strain;again,we encourage aIlem ployees to getvaccinated.
            Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 33 of 159


   e BASF wants ourworkers and theirfamilies to be safe and healthy,and the measures we have putin
     place are geared toward ensuring that.


On behalfofthe Site Leadership Team/crisis Managem entTeam ,
Cindy Suggs M assoletti,APR


See Updated M ask Guidance Chart Below forEasy Reference



Updated duidanceiorMasks perCDC
(07/28/2021)

                                            Fullyvaccinated
                                          (mustvolunteerproof)   Unvaccinated

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 room s,com m on areas,etc.

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                Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 34 of 159



Regards
clsoyduoosuAssouszyl,ApR
Manager,Com m unity& Gov'tAffairs

Phone:+1979415-6273,Mobile:+1979230-8609,Email:cindy.suggs@ basf.com
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          Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 36 of 159                 A-%

Bripp Dale Chancey

From :                          Brian Dale Chancjy
Sent:                           Tuesday,August10,2021 5:54 PM
To:                             Skye Picchiottino
Cc:                             Brian DaleChancey;Jason D Metts
Subject                         Questionsaboutpolicyannounced inTier2thismorning

Follow Up Flag:                 Follow up
rlag Status:                    Completed


Skye:
Ihave some questions related to the policy aboutm asking announced intheTier2 thism orning:
    1. Whathazardts)isthemaskintendedtoprotectmqfrom?
    2. Please provi
                  dethe scienti
                              ficevidence thatshow thatthe m askprotectsm efrom these hazards.

Thanks,
Brian Chancey


Mobi
   le:+19792368645,Email:bri
                           an.chancey@basf.com
PostalAddress:BASF Corporation,,602 CopperRoad,77541 Freeport,USA


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BASF Corporatien




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                                                                                        Jà-q



                           CO NFIDENTIA L COM M UNICATION
Date:                Thursday August 12,2021
To:                  Brian Chancey
Subject:             W RITTEN W ARNING
Copies:              Employee's PersonnelFile


This is a W ritten W arning because ofyourrefusalto adhere to BASF Freeportsite safeW /
PPE protocols.PerBASF FreeportUpdate #62:Coronavirus 19 dated 7/30/2021 and effedive
Monday, 8/2/2021, aII employees (regardless of vaccination status) are required to ,wear a
mask/face covering indoorswithoutatIeasta 6'distancefrom others(including butnotIimitedto
controlrooms,conference roomsand aIIcommon areas). You are expected to return to work
Mondaw .8/16/2021 and adhere to aIIBASF Freepo/ safeW protocols w hile resum ing
norm alw ork duties.

Any additionalviolation of Company pylicy/procedure or continued unsatisfactory
pedorm ance m ay result in further discipllnary action, up to and including term ination
ofem ploym ent. A copy ofthis W ritten W arning willbe placed in your personnel5le.

Ihave read and understand fhe contents ofthis W ritten W arning.


IEm ployee's Name!
Dated:


                                           W itnessed'
                                                     .


IManager'sîsupervisor's Namel              IW itness Namel
Dated:                                     Dated:


           IIfemployee refusesto sign,please make notation reflecting thatfactl
           Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 38 of 159               A-6

Brian Dale Chancey                                                                    ,

From :                     Nancy Grancell
sent:                      Sunday,August15,20219:14 PM
To:                        Brian DaleChancey
Cc:                        Jason D M etts
subjett:                   Re:Declined:Follow-up Discussion -Policy& Performance Expectations
Signed By:                 nancy.grancell@basf.com

Follow Up Flag:            Follow up
Flag R atus:               Flagged


Hi Brian,

Please contact the leave team via the myhr hotline at 1 8@@ 432 9191. They W1ll assist you in
starting an accommodation request.

Nancy
Sent from my iphone

> 0n Aug 15, 2021, at 9:e6 PX, Brian Dale Chancey <brian.chanceydbasf.cémy wrote:
y
> Jason/Nancy:
>
> I have sent my urgent request for the information via the Covid website as we discussed. I have
also submitted my legal concerns to the compliance and ethics website as we discussed. I will not
be attending this meeting. So as to not Waste more time on this matter please put me in contact
With the designated ADA representative .
>
>
> Thanks,
>
> Brlan Chancey




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Brian Dale Chancey

To:                               BAsFNAcom pliance-ream;StefanJohn
Cc:                               Brian Dal
                                          e Chancey
Subject:                          LegalConcerns/ouestions& Retaliation
Attathments:                      8.
                                   2.2021 FreeportPandemicRequirementsRev4 (ll.pptx

Legal:
ThisemailIs divided intotwo pads.Thefirstpartis aboutmy Iegalconcerns/questions andthesecond parti
                                                                                                 s about
retali
     ati
       on.                                             ,

Background for LegalConcerns:
ThisIastTuesday8/10 therew asanannouncem entinthe plantinthe m orning meetingthatface m askswillbe required
PPE inthebui ldings.Ipromptl
                           ysentanemailtotheunitsupervi  sorrequesting informati
                                                                               onon1)whathazardts)theface
maskswereintendedtoprotectmefrom and2)scientificevidencedemonstratingthemaskprotectsmefrom these
hazards.TwodaysIaterinthemorningunitmeeting(calledTier2meeting)aIinktotheCoronaviruswebsi    tewas
provi
    ded to the groupand a Powerpoint(attached)on Freepod si
                                                          te requirements.Myemailwas neveranswered.IIooked
throughthe Coronavi  ruswebsite andwas unableto Iocate any inform ati on onefficacy ofm asks/di
                                                                                              stancing,risks and
benefitsofm asks/distancing, oralternative m easureswith risks and benefi
                                                                        ts.Ialso have notbeen ableto Iocate the
scienti
      fic evidenceform edicalnecessity.Ihave subm ioed anurgentrequesttothe contactem ailon the Corona virus si  te
forthi
     s inform ation.
BASF NA Coronavirus

LegalConcerns/ouestions:

         PertheFDA themaskisamedicaldevice.Masksareonlyauthori
                                                             zed underemergencyuseauthori
                                                                                        zation(EUA).
         PerTitle21 US Code 360bbb-3 Ishallbe inform ed ofthe benefitsand risksofthe intervention,givenalternati  ves
         with theirbenefi
                        ts and risks,and have the option to refuse.Please cite the code thatremoves these rights.
                Note:AtthispointIhave notbeen given inform ed consent.Informed consentm ustbe given bysomeone
                w ho i
                     s quali
                           fied and insured forthatpurpose.
         Since m asksare notFDA approvedforSARS COV-2treatm entandw e are underEUA,thenw eare ina study.
         21CFR 50.20 states Icannotbe apartofaresearch studywithoutm yconsent.ItfurtherstatesIcannotbe
         coerced into participating.Please ci
                                            te the code thatremoves these rights.                  '

         W hatis BASFS dutyofcare fora pathogenthatisknown to everyoneinthe com m unity? Pleasecitethespecific
         code thatrequires BASFto act.
             a. Please cite the Iegaldutyand authority underwhich BASFseeks to administermedicalinterventions
                 upon m yself.
             b. Please identifyany insurable riskforwhichBASF isauthori
                                                                      zed and obligatedto act.
         Ihave notbeengi   ven a m edicalexam to assess m yabilitytow i thstand im pai
                                                                                     red breathing oranyotheradverse
         health effectsfrom the m edi
                                    calintervention.W hile Ihad an initialhealth screening athiring,Iam notaware ofany
         medicalassessmentformedicalinterventions suchas masks.Additionally,mymedicalhistorywas notdiscussed
         withmeregardingtheseinterventions(tomyrecollection).
   5. Em ployersare Iiable forcounterm easuresthey mandateonto theiremployees.Does BASF haveinsurance to
         coverme(aIIpersonal,medical,andIegalexpenses)ifIsufferanadverseheal
                                                                           thconsequenceasaresultof
         follow ingthe m andated medicalcounterm easure?
   6. lflfollow BASF'Sm andatorym edicalinterventions and catchSARS COV-2anywayhere atsi
                                                                                       te,are you insured
      to coveraIIofmy m edical,personal,and Iegalexpenses?
                    Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 40 of 159


                  The CDC issues guidance/recom mendations notIaw .Regardless,i
                                                                              fBASF isgoingto issue policies thatreflect
                  CDC guidancethenitisBASFSresponsibilityto ensureesicacy,Iegality,and necessityforanyinterventions.Has
                  thi
                    s beendone?
          8. Is BASF receiving any funds from governm entorprivate organi
                                                                        zations,disasterreli
                                                                                           effunds,orthe cares act
             fundswhich have requirem entsorsuggestionsforim posing m edical'interventionson BASF'Semployees?
          9. IfBASF hasanyduty ofcare thenthesim plestsolutionwould seem to beto providethe authori  zed m asksfor
             those whowi sh to wearthem,make remoteworking availableasfeasible,and reduce capacityofmeeting places.
             This providesthe protection forthe workers OSHA wantsand doesnotinfringe onthe rights ofinform ed consent
             formedicalcountermeasures.Additionally,the requirementfrom 29 USC 654 should be satisfied.W hy does
              BASFnotfollow this approach?
                      a. BASF code ofconductsaysl   'W etreatpeople withfairness,considerationand respect.Ouraim isto
                         ensure thateach individualfeelsvalued,and fullysupported inachieving theirpersonalbest.''Respecting
                         employee rights ispad ofsuppoding and respecting people.
    BASF policycannotoverri  de existing Iaw,and regardlessofw hetherthe laws are being properly enforced,BASFshould
    stri
       ve toactethi
                  cally and Iawfully.Pleasehelpto m eto resolve my concernsw i th the BASF policiesdiscussed above.

    Retaliation:
    lhad a m eeting with mysupervisorJaGon M etts and hissupervisorJay Garneron8/12/2021abouttheem ailIhad sentto
    theAmmoniaunitsupervi
                        sor(seebackgroundabove).Iexpressedmyconcerns,bothIegalandregardinginformed
    consentwithJay.He di  sm issedm y informed consentconcern andclaimed i gnorance ofthe Iegalconcerns.Ialso
    informed him Iw ould be sendingm y questions urgently b0ththroughthe Coronavirushelpemailandthroughthe Iegal
    complianceemail.Attheendofthemeetingheinformedmemybui
                                                        lding(whichisoutsideoftheplants)isalsosubjectto
m asking mandates.Ithanked him fortelling me and Iprom ptlyleftsiteafterthe meeting.Approximatel  y three hours
afterwards mysupervi  sor,Jason Metts,informed meJaywanted me onsi    te on Monday 8/16.W ithin 24 hoursIwas senta
writtenwarningand a meetingwas scheduled with HR forMonday 8/16.
As perthe BASF compliance & ethicscenterwebsite''BASF strictly prohibits retaliation againstanyperson who usesthe
Hotline ingood faith.'.Iti
                         s clearJay is-
     @ Forcing me into asituation where myconcernshave nothad sufficienttime to be resol   ved & Iwould be in
         vi
          olati
              on ofpoli cyto be present,and
                  issuingmeawarningforanissue ljustinformedhim Ihad problemswithandwastryingtoresolve.
 Thisisretaliation,bullying,and poorethicalbehavi  orfora supervisor.Ratherthan Ietting me tryto resolvethe issues
'using the com panysupplied resources,forceW asthe m ethodchosen by thissupervisor.Please advise Jayto cease and
 desistwith this behaviorim m ediately.
 My planisto supportm yplantremotely and,i    fneeded onsite,Iook atissuesoutdoorsonlyand away from othersuntil
 these questionsareresolved.Thi    s com plieswiththecurrentpolicy atthe plant.Iplan to declinethe m eeting forMonday
    (unlessW ebEx),workremotely,andnotifythepersonsinthemeetingofthestatusofmyinquiriesandmyplantosuppod
    the plant.Ialso planto notifythem thatIcannotconsenttothe policy untilIhave been adequately inform ed.

    Thanks,
    Brian Chancey

    Mobile:+19792368645,Email:brian.chancey@ basf.com
    PostalAddress:BASF Corporation,,6O2 CopperRoad,77541 Freepod,USA
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BASF Corporation


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Brian Dale Chancey

From :                            Brian Dale Chancey
Sent:                             M onday,August16,2021 10:20 AM
To:                               BAsFNAcom plianceTeam
Cc:                               Brian Dale Chancey
Subl
   -ect:                          ADA com plaint


Legal:

Greetings,
       Please be advised thatBASF and my supervisorsandotherpersonnelem pl   oyed byBASF
have been making false businessaid employmentrecords.Making a false record thatlhave a
contagiousdiseaseandthendiscriminatingagainstme baseduponthisdi
                                                              sability.Iam aqualifi
                                                                                  ed
indi
   vidualwi
          thadisabili
                    tyandmyemployerhasbeenmakingarecordofsuchdlsabili    ty,andIhave
and continue to invoke my rights underTltle Iofthe Americans with Disabi
                                                                       liti
                                                                          es Act.BASF is
di
 scriminatinjagainstmebasedupondisabili
                                      tyandcontinuestoignoretheIaw andmyrights.
        lam In receiptofthe''Covid Update #62''from CindyS.Suggsthatwassentto m e vi         a em ailon
July 30th2021.This com m unicationconstitutes retaliation inviolation ofTitle Iofthe Am ericansw ith
Disabili
       tiesAct.See42 U.S.C.j12203(b).
        BASF and m ysupervisorshavefailed orrefused to conductanyindividualized assessmentto
determ inewhetherornotIam a directthreatto anyone,yetregard m e ashaving a disability or
contagiousdisease withoutanyevidence and inviolation ofTitle IoftheAm ericanswith Disabi
                                                                                       lities
Act(ADA).Underthesupervisionandresponsibili
                                          tyofJasonMettsandJayGarner,eachofyou
alongw ith otherem ployees have beenperm i tted to deliberatel
                                                             y single me outandtreatm edifferently
than otherem ployees forthe purpose ofretaliating againstm e forattem pting to exercise my rights
undertheAmericanswith Disabili tiesAct.Asa covered entity,youare requiredto aid and encourage
me intheenjoymentandexercise ofmyrights underthe ADA.Applying yourpolicy equallyto
everyone,and then regarding m e as having a disability,m akinga record ofit,and then seekingto
penalize m eforexercising my rightsto refuse yourm itigation m easures isthe same discrim inationas
''
 separate butequal'from the sixties.
         BASFclaimsthatithasthedutytoprotectemployeesandinvi
                                                           teesuponi
                                                                   tsjremisesfrom
mysel
    f,yethasneveridenti
                      fiedi
                          tsI
                            egaldutyofcare(aIaw)thatcreatedsuchobli
                                                                  gatlon.
         BASF claimsthatithasthe dutyto protectem ployeesand invi     tees from mysel
                                                                                    fyethasfailed
to identifyany insurable ri
                          sk,such asany certification from itsinsurancecarrierthatithasinsurance
to engage insuch practices,orcanacceptfinancialresponsibili     tyforany adverse consequencesof
such practices.                                                   '
         Now,my supervisorand m anager,Jason M e'    tts and Jay Garnerhave created and continue to
createfalseemploymentrecordsforthepurposeofwrongfull
                                                   yterminatinjmyemploymentasone
moreactofretaliation againstm e inviolati
                                        onofTitle IoftheAm ericanswlth Di
                                                                        sabilities Act.
      Itisnow clearto me now thateach ofyou are creating false personnelrecordsforthepurpose
ofattempting tojustifythewrongfultermination ofmyemployment.ltappears thatthis i
                                                                               sthe sole
purpose ofthe scheduled August16th meetingw i
                                            th HR.
         TheBASFpolicy(whichisnotwrittenbyBASFbutbysomethirdparty)createsadisabilityfor
me orexacerbates my disability.Ihave beenintim idated and coercedw i   th thethreatofthe
termination ofmy em ploym ent,segregati on,isolation,incarceration,arrest,public humiliation and
otheracts ofintim idati
                      on and coercion in violation ofTitle Iofthe ADA and its im plem enting
regulation,29 CFR j1630.12.                                '
         Be furtheradvised thatTi
                                tle Iofthe ADA prohibi
                                                     ts em ploym entdi
                                                                     scrim ination on the basisof
di
 sability.Amon
m aking disabi
             li
                gotherthings,Ti tle Iprohi
                                         bi
                                          tsemployersfrom requirinjmedicalexaminationsor
              ty-relatedinquiries ofemployeesunlesssuch exam inatlon orinquiryisshown to be
job-relatedandconsistentwithbusinessnecessi
                                          ty;see/42U.S.C.j12112(d)(4)'
                                                                     ,29CFR
j1630.14(c).
         Regardingthe mitigation rieasuresincluding butnotIimited to mask-wearing,vaccines,social
distancing,hand-washingandgivingvitalstatistics(bodytemperature)ortissuesamples(diagnostic
testing),Iam notrequiredtoaccesstheseoranymitigationmeasuresunderTitleIoftheADA,29
                 Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 42 of 159


CFR Par!1630.9(d).lfyouhavesomeIegalauthorilythatoverridesthis,pl
                                                                easeprovidemewitha
Iegalcitation.                         .
           Regardingeachinterventionormi
                                       tigati
                                            onmeasure,a)whydoesyourcommunicationfailto
include notice thatthis i
                        s underanemergency useauthorization,anddisclosethe risks and benefi
                                                                                          ts
oftheproduct,andalsoadvise meofmyrighttoeitheracceptorrefusetheproduct,andb)which
    producthas theproven efficacytp preventtransmission orinfectionofthecontagiousdisease for
whichyouregardmeashaving?Youare required byIaw,specifically21U.S.C.j36Obbb-3ofthe
    Food,Drug and Cosmeti
                        cAct,to provide m e with these disclosures.

Thanks,
Brian Chancey


Mobile:+19792368645,Email:brian.chancey@ basf.com
PostalAddress:BASF Corporation,,6Q2 CopperRoad,77541 Freeport,USA
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BASF Corporation
                Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 43 of 159                           p,-7
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    Brian Dale Chancey
                         ,                                L.

    From :                                    BrianDaleChancey
    Sent:                                     Friday,August13,2021 9:37AM
    To:                                       US CoronavirusInfo
    cc:                                       BrianDaleChancey
    Subl
       -ect:                                  Urgent-Questions

    Fpllow Up Flag:                           Follow up
    Flag Status:                              Flagged


    Medical:

    Thisem aili
              s notintended tobeanonym ous.
    Ihave recenfyseen a requirementin plantuni   tsform asksto be required as PPE.lhave asked m yunitsupervisorto
    provide me with inform ationonwhathazard we are tryingto m itigate and theefficacy ofthe intervention.The unit
    supervisorhas senta linkto yourwebsite.Based onthe reply Iconcluded-
        1. Hazardto m iti gate:SARS COV-2
        2. Intervention :face m ask& physicaldistancing
        3. Efficacy:Icould find no e#icacy informationonthe website forface masksordistancing.Further,underinformed
            consentIneed tobe provided the risksand benefi tsandthe listofalternativeswiththeirrisksand benefits.
    Since the site isforcing these policies 1need this informati
                                                               ön immediatelv.Please send methescientificevidenceabout
    the efficacy ofthese m easures,the risks and benefits,andthe alternatives withrisksand benefi
                                                                                                ts.

    Thanks,
    Brian Ghancey

    Mobi
       le:+19792368645,Email:brian.chaqcey@ basf.com
    PostalAddress:BASFCorporation,,602 CopperRoad,T7541Freeport,USA .
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    BASF Corporation
          Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 44 of 159                       A.-o
                                                                                                          /


                                                                                             Brian Chancey
                                                                                        gnman4@yahoo.com
Stephen Cafero,Hum an Resources                                           .
BA SF Corporation

                                 C'O N
                                     ' F1D EN TIA L COM M UN ICATION
                                             29CFR j1630.14(c)(1)
August231-d 2021.
R.E elnploym entdiscrinlination and l'etaliation
Hello Stephen,
      Thisisa confidentialcolnm unication that1am requesting be included into m y personnelfile and 1w ant
thksand subsequentcomm unicationsto bekcptconfidentialw ithin human resources.1am docum enting acts of
retaliationandharassmentofwhich1havebeensubjectedtoonthejob.1alsowanttospealtcontidentiallyto
theBASFCoporation(BASF)desie   .natedemployeeorrepresentativeformattersinvolvingTitle1ofthe
AmericanswithDisabilitiesAct(ADA)andgrievances.
       Iam in receiptofthettcovid Update //623'from Cindy S.Suggsthatw assentto m e viaem ailon July
30th 2021asw ellasthenotice on OneN oteforthe am moniaunitfrom August10th 2021,and the
Pow onerpointsenton the ''FreeportPandem icR equirem ents''.Thiscom munication constitutesharassm entin
violationofTitleIoftheAlnericanswithDisabilitiesAct.See42U.S.C.j12203(b).
       Please explain why BA SF and itsemployeesare discrim inating againstm e based upon a disability you
areregardingmeashaving?1am ilwokingmyrightsundertheAmericanswithDisabilitiesActasaiualified
individualw ith adisability.
       Iam being regarded ashaving a colztagious disease by m y supelwisorJason M etts,m anager Jay Garner,
and theAm m onia unitm anagem entwithoutany individualized assessm ent.They have created and continueto
createfalse em ploym ent recordsforthepurpose ofwrongfully term inating m y em ploym entasone more
actofretaliation againsthim in violation ofTitle IoftheAm ericansw ith D isabilitiesA ct.These individualsare
continually harassing m e form y m edicalrecordsand to subm itto medicalexaminationsand interventions
(mitigationmeasures)withoutanyinformedconsent.Ithasbeenextremelydimculttoperform myemployment
dutiesbecause ofthese interruptionsand harasslnent.                                    .
       Regarding them itigation measuresincluding butnotlim ited to m aslt-wearing,vaccines,social
distancing,hand-washingandsubmittitzgtonledicalexaminationssuchasthecollectionofvitalstatistics(body
temperature)ortissuesamples(diagnostictesting),1am notrequiredtoaccepttheseoranvmiticationmeasures
tm derTitle 1oftheADA.29 CFR Pal4 1630.9(d).lfyou have som e legalauthority thatovenidesthis,please
providem e with a legalcitation.
       Title IoftheADA prohibits em ployersfrom requiring medicalexam inationsorm aking disabilitp related
inqukiesofemployeestmlesssuchexaminationorinquiryisshowntobejob-relatedandconsistentwith
businessnecessity;see,42U.S.C.j12112(d)(4);29CFR j1630.14(c)
       M y questionsare:
       W hy do you regard m e ashaving a disability and whatrecordshaveyou m ade ofthis?
       W hatphysician,whatm edicalrecords,and whatcom plaintm adeby aphysician to a health om cer,and
       ttordersofisolation and quarantine''do you rely upon fordiagnosing m e ashaving a contagious disease?
       Please include all,evidence,cotll-trecordsand recordsfrom theindividualized assessm entused in
       making this detennination ordiagnosis asrequired underthe Texaspublic health policyland Title Iof

   ControlM easuresandPublic110 1thEmergencies,A TexasBenchBook
          Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 45 of 159




      theAm ericanswith D isabilitiesAct.2
   3. Please identify the statute and rbgulation ilnposing yourlegalduty ofcareto protectm e and othersfrom
      any contagiousdisease and the comm issioner'spellinent:thazm-d assessm ents''.
      Please provide a copy ofdocumentary evidepce 9om the dep'artm entsofhealth orlabor establishing the
      existence ofa diseasethathasbeen isolated by m odel-n scientific standardsand doculnentary evidence
      proving thatsuch disease isakbolme and contagious.
      Please identifyyourinsurablerisk with a copy ofyourinsurance bindershow ing thatyou are insured for
      protecting employeesfrom a contagiousdisease,and any adversehealth consequences they m ay suffer
      asaresultofyourm itigation m easures.
   6. Regardingthemitigationmeasures,a)whyhaveyourefusedtoincludenoticetlzatthisisunderan
       emem encv use authorization,and disclose therisks and benefitsofthe product,and also advise me of
       myrighttoeitheracceptorrefusetheproduct/andb)whichofthesel'
                                                                 nitigationmeasureshasthe
       proven efficacy to preventtransm ission orinfection ofthe contagiousdisease forwhich you regard m e
       ashaving?                                              .

       How are yourrequestsform y m edicalinformation and subm itting to m edicalexnm inations and
       interventionsnecessary fortheperform ance ofm y employlnentduties'?
   8. W hy are you able to diagnosem ewith a deadly disease and im poserestrictionsand m edical
       interventionswithoutmyinformedconsent,withoutanyphysician'soversightorjudicialapproval,yetl
       am required to obtainw ritten pmnnission from my pllysician to exercise my rights to inform ed consent
       and m edicalprivacy?W e can stipulate thatlhave nevcrwaived any ofm y rightsto m edicalprivacy
       which includes the rightofinforlned consentasa condition forelnployment.

       Ifyou refuse to answerthese questions,1w illconsiderthem atterclosed and w ecan setitasideand
continue with ourbusinessw ithoutfullherinterruption.

        Beadvised thatifm y em ploym entis conditioned upon subm itting to yourm itigation measures,this
constitm esdiscrim ination based upon disability,aviolation ofstate and federallaw,and retaliation underthe
A DA,forwhich 1would have a claim forem ploym entdiscrimination based upon disability.

Sincerely,

Brian Chancey


Pleasebe advised thatthiscol
                           rnrnunication and.a11related colzu-
                                                             nunications areconfidentîaland.l)ntlstnotbe
disclosed aspertheA m ericans witlzD isabiliticsA ctexplained below                             '




2 29 CFR 1630.2 etseq.
3 21USC 3601+13
         Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 46 of 159




                                     PostScriptM em orandum oftzaw
Title1oftheADA,42 U.S.C.j 12111,etseq.,and itsimplementingregulation,29 C.F.R.Part1630,permits
coveredemployers,suchasBASF,tomakeiuquiriesintotheabilityôfanelnployeetoperform job-related
ftm ctionsand m ake inquiriesinto the nature and severity ofthe employee's disability,so long asthe
examinationisjob-relatedanéconsistentwithbusinessnecessity.42U.S.C.jj12112(d)(4)(A)-(B)'
                                                                                       ,29C.F.R.
j1630.14(c).SeealsoDarbvv.ChildvinesInc.964F.3d440(2020)
llïformation obtained as aresultofsuch an exam ination orinquiry regarding the m edicalcondition orhistory of
anyemployeemustbetrcatedasaconfidentialmedicalrecord.42U.S.C.jj12112(d)(4)(C),(d)(3)(B),  '29                   '
C.F.R.j1630.14(c)(1).                                                               .
Conlidentialmedicalinformationmaybedisclosedinthreeinstances:(1)toinfonnsupet-visorsormanagers
regardingnecessaryrestrictionsontheworkoftheemployeeandnecessaryaccommodations,(2)tomedical
pergolmelwhenemergencytreatmentisrequired,and(3)togovenlmentofficialsinvestigatingcompliancewith
thisregulation.42U.S.C.jjl2112(d)(4)(C),(d)(3)(B);29C.F.R.j1630.14(c)(1).Noneofthesecxceptions
apply with regard to my employm entw ith BASF.
         Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 47 of 159                          A-Q

TexasW orkforce Colnm ission CivilRightsD ivision
101East 15th Street,Guadalupe CRD,
A ustin,TX 78778-0001
(888)452-4778

TW C:

Thisletter'isan explanation forthetwo questions asked on theEmploym entD iscrim intation Complaint1Form .
   $

Explain why you believetheemploym entharm ts)and/oractionts)werediscriminatory:
       1am being regarded ashaving a contagious disease by m y supervisorJason M etts,m anagerJay Garner,
and theAm moniaunitm alzagem entw itlzoutany individtlalized assessment.They have created and continue to
create false em ploym entrecordsfor thepurposeofw rongtblly term inating m y em ploym entasone more
actofretaliation againstm e in violation ofTitle loftheAmericansw ith DisabilitiesAct.These Z dividualsare
continually harassing me form y m edicalrecordsand to gubm itto m edicalexam inationsand intelwentions
(mitigationmeasures)withoutany ilzformed conscnt.lthasbeenextremely difticulttoperform my employment'
dutiesbecause oftheseintenmptions and lzarassm ent.1have attached som e ofthecom minicationsreceived
regarding m andatory m edicalintelwentions.Additionally,lhavebeen written up fornotfollow ing the imposed
m edicalinterventionsand a m eeting was scheduled onsite to guarantee 1w ould be in violation oftheirpolicies
by attending them eeting.1did notattend the m eeting.

1have filed an ADA complaintw ith m y em ployer.A herfiling the com plaintItold m y em ployerIilltended to
return to site and continue m y dutiesasnorm al.However,they arecontinuing to discrim inate againstm eby
tellingmetoadheretotheirpolicy.Asaresult1am notabletoperforlna11ofmynormaljobdutiesandthey
have told m e they willinstm ctmy supervisorto coverform e foronsite activities.

Em ployer'sreason for itsaction:                              -
Employerregardselnployee ashaving adisability,hasmadea record ofsuch disability and pow discrim inates
againstm e.Employerisnow retaliating againstm e fornotadhering to forced policy.


Sincerely,


Brian Chancey
gnman4@ yahoo.com
                                                     Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 48 of 159                                                                                                                                                                                                                                               F -N'
                                          EM PLO      ENT DISCRIM INATION COM PLAINT FORM
                                               TexasW orldbrceComm ission CivilRightsDivision                                                                                                                                                                             TW CCRD//
                                                              Pleaseretum thisfonu by:                                                                                                                                                                                                                                                                       .
                                           M ail:101East15th Steet,GuadalupeCRD,Austin,TX 78778-0001                                                                                                                                                                       yzoc//
                                                         Email:EE'ollltakeoctwc.state.tx.us
                                                                             Telephone:(888)452-4778or
                                                                       h Fax:(512)463-2643or(5l2)463-2755
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       NameandPositionTitleofpersonls)whodidtheharm:                                                                                                                          (1fjilingunderrace,color,natlonalorigin,religion,sex,age,
     BASF Freepod,Jay Hunt,Jason M etts                                                                                                                                       pleascpravidetl
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    Didyoucomplainofdiscriminationtoyouremployer? I  --IYes UlNo
                                                     K
    If
     -Yes,dateofcomplaint:8 /16 /21 (Month/oaynrear)
    NalneandPositionTitleof ersonts youcolnplainedto:
                                                                                                                          Compliance Hotline.LaterspokewilhStephenCafieroInHR:Manager.CorporateEEO.
    Ex lainwhr?oubelievetheem lo nlenthal-mts and/oractionts werediscriminato r:
     See attached.




                                              1
    Em Io er'sfeason foritsaction:
     See attached.




    Arethereotheremployeestreated morefairlythan you?                                                                                                           Yes .
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    IfYes, Iease rovidotheintbrmationbelow:
       FullNameandPositionTitle                                                                                                                                                                           (Iffilinglmderrace.color,nationaloriginsreligion,sex,and/oragesplease
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Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 50 of 159
                    Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 51 of 159




Brian Dale Chancey
           r
From :                                  Skye Picchiottino
sent:                                   Tuesday,August31,20217:56AM
To:                                     Brian DalèChancey
Cc:                                     Jason D M etts
Subl
   -ect:                                RE:Questionsaboutpolicyannounced in Tier2thismorning

Follow Up Flag:                         Follow up
Flag Status:                            Flagged


DearBrian:

In follow-upto the Freeportsi
                            te'spolicy aboutmasking,here are the answersto yourquesti
                                                                                    ons.

                SARS-CO-V-Z(Covid-19)
                Fora sam pling ofoutside scienti
                                               fi
                                                c evidence relatedtothe com m unityuse ofm askingto preventthe transm ission
                ofCovid-lg,pleasevi
                                  sittheCovid-lgFrequentlyAskedQuestions(FAQ)sectionoftheBASFUS Coronavirus
                Info websi
                         te:

Q :A re m asks effective in the fightagainst COVID-19?

A :M asks are very effective and an im portantpartofoursafety m andate.There
are num erous scientific studies thathave proven m ask wearing to be an effective
nonpharm acologic intervention to reduce the spread ofinfection,both as source
controlto preventspread from infected persons,and also as protection to reduce
w earers'exposure to infection.Ifyou appreciate data and wantIearn m ore,here
are a few reports:Science Brief:C om m unitv Use ofC10th M asks to Controlthe
Spread ofSARS-COV-Z ICDC;Effectiveness ofMaskW earinn to Control
Com m unitv Spread ofSARS-COV-Z;An evidence review offace m asks aqainst
CO VID-19 lPNAS.
Please Ietme know i
                  fyou havefurtherquesti
                                       ons.

Regards,
Skye Picchiottino
Production Execution M anager- Am monia Plantand Terminal

Phone:+1979415-6774Mobile:+1-979-292-4981E-MaiI:skye.picchiottino@ basf.com
PostalAddress:BASF Corporation,Freeport77541Freeport,USA


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             Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 52 of 159




From '
     .BrianDaleChancey<brian.chancey@ basf.com>
Sent:Tuesday,August10,20215:54 PM
To:Skye Picchiottino <skye.p'
                            lcchiottino@ basf.coml
Cc:Brian Dale Chancey<brian.chancey@ basf.com>;zason D Metts<jason.metts@ basf.com?
Subject:Quest'lonsaboutpolicyannouncedinTier2thismorning
Skye:

Ihavesome questions related to the policy aboutm asking announced inthe Tier2this morning:
      1. W hathazardls)isthe maskintended to protectme from?
           Please provide thescientificevidence thatshow thatthe m askprotectsme from these hazards.


Thanks,
Brian Chancey

Mobile:+1979 2368645,Email:brian.chanceva basf.com
PostalAddress:BASF Corporation,,6O2 CopperRoad,77541 Freeport,USA


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            Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 53 of 159                                  A-!t

Brian Dale Chancey
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From :                            LjuraElizabeth Enderleon behalfofUS Coronaviruslnfo
Sent:                             W ednesday,Septem ber1,202110:54AM
To:                               Bj
                                   ianDaleChancey;USCoronavirusInfo
Subl-ect:                         RE:Urgent-Questions
'                                   f
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                                    I
DearBrian:

Thankyou forreaching outto the US Coronavirus Info website. Please find responsesto yourquestions below.
                                    I
1.Youarecorrectthatthe hazardBASFistryingtomitigatewiththeindoormaskrequirementisSARS-COV-Z(Covid-
19).
2.Inadditiontofacemasksandphysicaldistancinjthatyoumentioned,BASFisalso:(1)performingtemperaturechecks
andaskingaIIemployeesCovid-lgjcreeningquestlonsattheentrancegates'
                                                                 ,(2)usingenhancedcleaningprotocols,wi
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a focus on high touch surfaces and the i ncreased jvailabili
                                                           ty ofhand sanitizers and cleaning wipes;(3)Iimiting the
occupancynumbersforcommunityjserooms;(4)I       imitingthenumberofvi sitorstothesite;(5)IimitingBASFsponsoredoff
sitesocialevents;(6)requiring DirectororSeniorLeadershipTeam approvalforbusinesstravel;(7)allowingnonessential
employees to continue toworkremoi  Iel
                                     y;and (7)repeatedlyencouraging employeesto practice good personalhygiene and
hand washing protocols.

3.TheFAQ Sectionofthe US Coropaviruslnfowebsi
                                            te doescontainefficacyinformationwi
                                                                              th respecttomaskspreventing
thetransm i
          ssion ofCovid-lg:

        Q:Are masks effective in the fightagainstCOVID-19?

       A :M asks are very efective and an im portantpartofoursafety m andate.There are num erous
       scientific studies thathave proven m askw earing to be an effective nonpharm acologic
       intervention to reduce the spread ofinfection,both as source controlto preventspread from
       infected persons,and also as protection to reduce wearers'exposure to infection.Ifyou
       appreciate data and wantIearn m ore,here are a few reports:Science Brief:Com m unitv Use of
        C10th Masks to Controlthe Snread ofSARS-COV-Z lCDC'
                                                          ,Effectiveness ofMaskW earinn to
        ControlCom m unitv Spread ofSA RS-COV-Z;An evidence review offace m asks anainst
        COVID-19 IPNAS.
Forefficacy inform ation wi
                          th respectto physicaldistancing preventing thetransm issionofCovid-lg,pleasesee the
attached article from theCDC'
                            S Emerging lnfecti
                                             ousDiseasesJournal'
                                                               . Evaluatinn the Effectiveness ofSocial
Distancin; Interventions to Delav'orFlatten the Enidem ic Curve ofCoronavirus Di sease -Volum e 26.Num ber
8 Aunust2020 -Emerqinq Infeètious Diseasesiournal-CDC..
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  etrustthattheaboveinformati
                            onjnswersyourconcerns.BASFwillcontinuetofollow therecommendationsoftheUS
DepadmentofLabor'sOccupati
                         onalSafetyandHeaIthAdministration(OSHA)andtheCentersforDiseaseControland
Preventi
       on(CDC)toreducetheris ofouremployeesbecoming infectedwithCovid-lgintheworkplace.
lfyou have any additionalquestions in response to the above i
                                                            nformation,feelfree to reach outto Stephen Cafi
                                                                                                          ero,
Corporate EEOC Manager.            !
                                   !


From :Brian DaleChancey<brian.chancey basf-com>
Sent:Friday,August13,2021 10:37AM
                         Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 54 of 159


To:US CoronavirusInfo <us-coronavirus-info@ basf.com>
Cc:Brian DaleChancey<brian.chancey@ basf.com>
Subject:Urgent-Questions
M edical:

Thisemaili
         s notintended to beanonym ous.

Ihave recentlyseena requirementinplantunitsformaskstoberequiredasPPE.lhaveaskedmyunjtsupervisorto
provide me with informationonw hathazard weare tryingto m iti
                                                            gate and the efficacyofthe intervention.The unit
supervisorhas sentaIinkto yourwebsite.Based onthe reply Iconcluded-
    1. Hazardto m itigate:SARS COV-2                 .
    2. Intervention :face mask& physicaldistancing
    3. Efficacy:Icould find no effi
                                  cacy i
                                       nformationonthe website forfacem asksordistancing.Fudher,underinform ed
        consentIneedto be provided the risksand benefi tsandthe Iistofalternativeswiththeirrisksand benefits.
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Thanks,
Brian Cbancey

Mobile:+1979 2368645,Email:brian.chancevtobasf.com
PostalAddress:BASF Corporation,,6O2 CopperRoad,77541 Freeport,USA

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BASFCorporation




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           Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 55 of 159                               h..-l%

Brian Dale Chancey                                                                                               .




From :                            ElizabethA Rodriguezon behalfofBAsFNAcom pliancel-eam
Sent:                             Friday,Septem ber3,20211:26 PM
To:                               Brîan Dale Chancey
Subject:                          RE:LegalConcerns/ouestions& Retaliation
Follow Up Flag:                   Follow up
Flag Status:                      Flagged

Categories:                       Red Category



DearM r.Chancey:
Thankyou forsubm i   oing yourem ailto the BASF NorthAm erica Com pliance Team m ai
                                                                                  lbox concerningthe recentchange
in m asking practicesatthe FreeportTX site. Responsestoyourconcernsare outlined below.
Background forLegalConcerns:

Itis ourunderstanding thatyou have received a response to the emailyou recently sentto yourFreeportunit
supervisor. ltisalso ourunderstanding thatyou have received a response to the em ailyou recentlysentto the US
Coronavi rusInfo website.                  '

LegalConcerns/ouestions:
    1. Perthe FDA themaskis a medicaldevice.Masks are onlyauthori
                                                                zed underemergency use atlthorization (EUA).
         PerTitle 21US Code 360bbb-3 Ishallbe informed ofthe benefits and risksofthe intervention,given alternatives
         wi
          th theirbenefitsandri
                              sks,and have the option torefuse.Please cite thecode thatrem ovesthese rights.
            a. Note:AtthispointIhave notbeen given informed consent.Inform ed consentm ustbegiven by som eone
               who isqualîfied and insured fortl
                                               natpurpose.
The FDA regulation thatyou are referring to addresses the manufacture andsale ofmedicalproducts and doesnotapply
to BASF. BASF isnotmanufacturingorselling a fnedicalproduct. Itisinstead askingyou toweara c10thface covering
oradisposable face maskwhil  e indoors,neitherofwhi  ch isa m edicaldevice,nora m edicalproductcovered bythe FDA.
         Since masksare notFDA approved forSARS COV-2treatm entandwe areunderEUA,thenwe are ina sttldy.
         21 CFR 50.20states Icannotbe a pa1 4ofaresearchsttldywithoutmy consent.ltfurtherstateslcannotbe
         coerced into parti
                          cipating.Pl
                                    easecite the codethatrem ovesthese rights.
Pleaseseethe responseto Question#1.Theregulationsthatyou ci
                                                          te do notapplyto BASF.
         W hati
              s BASFSduty ofcare fora pathogenthati
                                                  s knownto everyone inthe commtlnity? Pleasécitethe specific
         code thatrequires BASFto act.
            a. Please ci te the I
                                egaldutyand authorityunderwhich BASFseeks to admini
                                                                                  sterm edicalinterventlons
                upol)mysel
                         f.
             b. Pleak'e ldentifyany insurable risk forwhi
                                                        chBASF isauthorjzed and obligated Lo act.
Asyourem ployer,BASF is required underthe OccupationalHeaI
                                                         thandSafetyActof1970to 'furnishto each ofhis
employees'employmentand a place ofemploymentwhicharefreefrom recogni zed hazardsthatarecausing orIikely to
causedeathorseriousphysicalharm tohdsemployees.''29USC â654(a)(1).BASFisalsorequiredtoI
                                                                                      'complyWith
occupationalsafety and healthstandards promtllgated underthisAct'29 USC j654(a)(2).



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          Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 56 of 159


lntandem witl
            iBASFY obligationtoprovideyouwi
                                          thasafeworkingenvironmentunderOSHA,youasanemployeeof
BASF are also obligated to 'complywith occupationalsafety and heal
                                                                 thstandardsand alIrules,regulations,and orders
issuedpursuanttothisActwhi
                         chareapplicabletohisownactionsandconduct''29USC j654(b).
BASF i
     s notseeking to adm inisteranytype off
                                          sm edicalintervention''uponyou. Instead,i
                                                                                  tisfollowing the recent
reçommendati
           onby OSHA and the CDC thatvaccinated individualsweara c10thfaceovering oradisposableface mask
indoors along withunvaccinated indi
                                  viduals.
       Ihave notbeen gi  ven a medicalexam to assess my abilitytowl  thstand impaired breathing oranyotheradverse
       health effectsfrom the m edi
                                  cali
                                     ntervention.kvhile lhad an initial1ea1th screening athiring,Iam notaware ofany
       m edicalassessm entform edicalinterventions such as m asks.Addjtionally,m y m edicalhistory was notdîscussed
       withmeregardingtheseintewentions(tomyl
                                            -ecollection).
As answered above in Question #3,BASF iénotadministering any typeof'medicalintervention'
                                                                                       'uponyou. Ifyou feel
thatyoumaysufferadversehealtheffectsfrom bei
                                           hjaskedtowearac10thfacecoveringoradisposablefacemaskwhile
indoors,please contactthe BASF Leave Team to initlatethe interactive accomm odationprocessunderthe Americans
with Di
      sabili
           ties Act.

       Employers are Iiableforcountermeasuresthey mandateonto theirempl
                                                                      oyees.Does BASF haveinsurance to
       coverme(aIIpersonal,medical,andlegalexpenses)i
                                                    fIsufferanadverseheal
                                                                        thconsequenceasaresultof
       following the mandated m edicalcounterm eastlre?
Asanswered above in QuestionM ,ifyoufeelthatyou may sufferadverse health effectsfrom being asked to weara c10th
face covering oradisposable face m askwhile indoors,pleasecontactthe BASF Leave Team to initiate theinteracti
                                                                                                            ve
accom m odation process underthe Am ericansw ith Di
                                                  sabilitiesAct.
   6. IfIfollow BASF'Smandatory medi
                                   calinten/entionsand catchSARS COV-2 an> ay here atsi
                                                                                      te,areyou insured
      to coveraIIofmymedical,personal,and legalexpenses?
As answered above,BASF is notadmini
                                  stering any type of'medi
                                                         calintervention''uponyou.To theextentyou may
becomeiIIwithSARS-CO-VQ (Covid-19)whileworkingatBASF,youwouldhavepaidIeaveavailabletoyouunder
BASF'S ShortTerm Disability Policy.
       The CDC i ssues guidance/recommendations notIaw.Regardless,i  fBASF isgoing to issuepoljciesthatreflect
       CDC guidancethen i  tisBASFSresponsibility toensureefficacy,legali
                                                                        ty,and necessityforapyinterventions.Has
       this been done?                                             '
BASF hasthe pedorm ed the appropriate due diligence toensure thatits policiesare consi
                                                                                     stentwith currentIaw .

   8. IsBASF receiving any funds from governmentorprivate organizations,disasterrelieffunds,orthe caresact
      fundswhich have requirements orsuggestions forimposing medicalinterventions on BASF'Semployees?

Asanswered above,BASF is not'imposing medicalinterventi   ons''uponyouoranyotherBASF em ployee.Instead,i  tis
foll
   ow ingthe recentrecom m endati
                                onby OSHA and the CDC thatvaccinated individualsweara c10thface qovering ora
disposableface maskindoors along with unvaccinated individuals.
       l
       fBASF has any dutyofcarethen the simplestsolutionwould seem to be to provi
                                                                                dethe authorized masksfér
       thosewhowish to wearthem,make remoteworking availableasfeasible,and reduce capacityofmeeting places.
       This providestheprotection forthe workers OSHA w antsand does notinfringe onthe rights ofinform ed consent
       formedicalcotlntermeasures.Addltionafly,the requirementfrom 29 USC 654 should be satisfied.W hy does
       BASF notfollow this approach?
               BASF code ofconductsays 'W etreatpeoplew ith fairness,considerati
                                                                               onand respect.Our'aim isto
               ensurethateachindividualfeelsvalued,andfullysupported inachi
                                                                          evingtheirpersonalbest'
                                                                                                'Respecting
               em ployee rights i
                                s pal
                                    4ofsupporting and respectlng people.
BASF policycannotoverride exiéting Iaw,and regardlessofwhetherthe Iawsare being properlyenforced,BASF should
strike to actethicallyand IawfullytPlease helpto meto resolve my concernswiththe BASF policiesdiscussed above.

Asansweredabove,BASF is notim posing anytype ofm edicalcounterm easuresuponyou. Instead,i  tisfollowing the
recent'
      recom m endation byO SHA andthe CDC thatvaccinated indi
                                                            vidualsweara c10thface coveringora di sposable
                                                          :            '
              Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 57 of 159


face m ask indoors along w ith unvaccinated individuals.Sincethi
                                                               s isnota medicalcounterm easure,itdoas notrequire
informed consent.

BASF issatisfying itsduty ofcare owed to employees under29USC j654 by engaging in a mul   titudeofmeasures
designedtoprotectemployeesfrom thespreadofSARS-CO-V-Z(Covi        d-19)intheworkplace,whichinclude,butarenot
Iimitedto: (1)following therecommendation ofOSHA to requirà employees to weara c10thface covering ora disposable
face maskconsi  stentwiththe mostcurrentCDC guidelines',(2)requiring employees to socialdistance inthe workplace'
                                                                                                                ,
(3)performing temperature checks and asking aIIemployeesCovid-lg screening questionsatthe entrancegates;(4)
usingenhanced cleaning protocols,wi
                                  tha focuson hightouchsurfacesandthe increasedavailabili
                                                                                        ty ofhandsani
                                                                                                    tizers
andcleani ngwipes;(5)Iimitingtheoccupancynumbersforcommunityuserooms;(6)limi  tingthenumberofvisitorstothe
si
 te;(7)IimitingBASFsponsoredoffsitesocialevents;(8)requi
                                                       ringDirectororSeniorLeadershipTeam approvalfor
businesstravel;(9)all
                    owingnonessentialemployeestocontinuetoworkremotely',and(10)repeatedlyencouraging
em ployeesto practice good personalhygiene and handwashing protocols.

Keepingourworkplace safe isofprim ary concernto BASF. Ourpracti     ces throughoutthe Covid-lg pandem ic have been
guided by recom m endations and requirem ents from federal,state and Iocal'
                                                                          governments and agencies. BASF is not
overriding any existingIaws,and ourpracticeshave been im plem ented in anethicaland lawfulm anner.This isin Iine with
the BASF Code ofConducttoensure thatourbusinesscontinues to function and allows alIofourem ployeesto achieve
theirpersonalbest.
Retaliation:

ltisourun'
         derstanding thatyou have spokenw i   th Stephen Cafiero,Corporate EEO M anager,atIength concerning your
allegati
       onsofretaliation. M r.Catiero willserve as yourcontactpersonto resolve any issues raised in thisparagraph.
W etrustthatthe above isresponsiveto yourconcerns. Ifyou have anyaddi
                                                                    tionalconcerns,please reach outto Mr.
Cafiero to discuss fudher.

Thanks



LYNETTE PAPUSHAK
Assi
   stantGeneralCounsel,Com pliance & Em ploym ent

Mobile:(216)469-0332,Email:Ivnette.nanushakabastcom
PostalAddress:BASF Corporation,A-0156,2 TW AlexanderDri
                                                      ve, Research Triangle Park NC 27709,USA
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From :Brian Dale Chancey<brian.chancey@ basf.com>
Sen,t:Sunday,August15,2021 3:47 PM
To:BAsFNAcomplianceTeam <BAsFNAcom plianceTeam@ basf.coml,
                                                         'StefahJohn<stefan.john@ basf.coml
                                                                                          -
Cc:Brian DaleChancey<bri
                       an,chancey@ basf.coml
Subjed:LegalConcerns/ouestions& Retaliation
Legal:

This em ailis di
               vided into two parts.The firstpartis aboutmy Iegalconcerns/questions and the second pad is about
retaliation.

Background forLegalConcerns'
                           .
                                                          3
          Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 58 of 159


ThisIastTuesday 8/10therewas an announcem entinthe plantin the m orning m eeting thatface maskswillbe required
PPE inthebuildings.Ipromptlysentanemailtotheunitsupervisorrequestinginformationon 1)whathazardts)theface
maskswereintendedtoprotectmefrom and2)scientiticevidencedemonstratingthemaskprotectsmefrom these
hazards.TwodaysIaterinthemorningunitmeeting(calledTier2meeting)aIinktotheCoronaviruswebsitewas
providedtothegroupandaPowerpoint(attached)onFreepodsi   terequirements.Myemailwasneveranswered.IIooked
throughthe Corona viruswebsite and was unableto Iocateanyinformati onon efficacy ofm asks/distancing,risksand
benefitsofmasks/distancing,oralternative m easureswith risksand benefits.Ialso have notbeen able tolocate the
scienti
      ficevidenceform edicalnecessity.Ihavesubmitted an urgentrequestto the contactem ailon the Corona virussite
forthi
     s inform ati
                on.
BASF NA Coronavirus

LegalConcerns/ouestions:

       PertheFDA themaski
                        samedicaldevice.Masksareonlyauthori
                                                          zedunderemergencyuseauthorization(EUA).
       PerTitle 21US Code 360bbb-3 Ishallbe inform edofthe benefits and risksofthe intervention,given alternatives
       wi
        th theirbenefitsandrisks,and have the option torefuse.Please cite the code thatrem ovesthese ri
                                                                                                      ghts.
           a. Note:AtthispointIhave notbeengi    ven informedconsent.Inform ed consentmustbegiven bysom eone
              who i
                  s qualitied and insured forthatpurpose.
       Since masksare notFDA approved forSARS COV-2treatm entandwe areunderEUA,thenwe are ina study.
       21CFR 50.20 states Icannotbe a partofa researchstudywithoutmy consent.ItfurtherstatesIcannotbe
       coerced into participating.Pl
                                   easecitethe codethatrem ovesthese rights.

       W hatis BASFSdpty ofcare fora pathogen thati
                                                  s knownto everyone in thecommunity? Please ci
                                                                                              tethe speci
                                                                                                        fi
                                                                                                         c
       code thatrequires BASF to act.
          a. Please cite the I
                             egalduty and authority underw hich BASF seeks to administermedicalinterventions
               upon myself.
          b. Please identifyany insurabl
                                       e ri
                                          skforwhi   ch BASF isauthorized and obligated to act.
   4. Ihave notbeen given a medicalexam toassess my ability towithstand im paired breathing orany otheradverse
      health effectsfrom the m edicalintervention.W hile lhadan initi
                                                                    alhealthscreening athiring,Iam notaware ofany
      medicalassessmentformedicalinterventionssuch as masks.Addi       tionally,my m edicalhistorywasnotdiscussed
       wi
        thmeregardingtheseinterventions(tomyrecollection).
   5. Em ployersareIiable forcounterm easures they m andateonto theiremployees.DoesBASF have insuranceto
       coverme(alIpersonal,medical,andIegalexpenses)ifIsu#eranadversehealthconsequenceasaresultof
       follow ingthe m andated medicalcountermeasure?
   6. IfIfollow BASF'Sm andatorym edicalinterventions and catch SARS COV-2 anyway here atsite,areyou insured
      to coveraIIofm ym edical,personal,and Iegalexpenses?
       The CDC i ssuesguidance/recom mendationsnotIaw.Regardless,ifBASF i    s going to issue policiesthatreflect
       CDC guidancethen itis BASFS responsibili
                                              tyto ensureefficacy,Iegality,and necessi tyforany interventions.Has
       thi
         s been done?

   8. Is BASF receiving anyfundsfrom governmentorprivate organi
                                                              zations,di
                                                                       sasterrelieffunds,orthe paresact
      fundswhich have requirementsorsuggestionsforimposing medicalinterventionson BASF'Semployees?
   9. IfBASF hasany dutyofcarethenthe sim plestsolution would seem to be to provide the authorized m asksfor
      those who w ish to wearthem ,m ake remote working avai   lable as feasibl
                                                                              e,and reduce capaci  ty ofm eeting places.
      This provides the protecti
                               on forthe workers OSHA wants and does noti     nfringe on the ri
                                                                                              ghts ofinform ed consent
      form edicalcountermeasures.Addi   tionally,the requirem entfrom 29 USC 654 should be satisfied.W hy does
      BASF notfollow thisapproach?                                                                           '
           a. BASF code ofconductsays'W e treatpeoplewithfairness,consi    derationandrespect.O uraim i s to
              ensure thateach individualfeelsvalued,and fullysupported in achieving theirpersonalbest.
                                                                                                     ''Respecting
              employee rightsispartofsuppoding and respecting people,
BASF policy cannotoverride exi  sting Iaw,and regardless ofwhethertheIaw sare being properlyenforced,BASFshould
stri
   ve to actethicall
                   y and IaM ully.Please help to m e to resolve my concerns with the BASF policies discussed above.
                                                          4
            Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 59 of 159




Retaliation:
Ihada m eeting with m ysupervisorJason M ettsand hissupervisorJay Garneron8/12/2021abouttheemailIhad sentto
theAmmoniaunitsupervi
                    sor(seebackgroundabove).lexpressedmyconcerns,bothlegalandregardinginformed
consentwithJay.He dism issedm y informedconsentconcernandclaimed ignorance ofthe Iegalconcerns.Ialso
informed him Iwould be sending my questions urgently boththroughthe Coronavirushelpemailandthroughthe Iegal
complianceemail.Attheendofthemeetingheinformedmemybui
                                                    lding(whichisoutsideoftheplants)isalsosubjectto
m asking mandates.Ithanked him fortelling me and Iprom ptlyleftsiteafterthe meeting.Approximatelythree hours
afterwards mysupervi   sor,Jason Metts,informed meJaywanted me onsi       te on Monday 8/16.W ithin24 hours Iwaséenta
writtenwarning and a meetingwas scheduled with HR forMonday8/16.
As perthe BASF com pli    ance & ethicscenterwebsite''BA SF strictly prohibitsretaliation againstany person who uses the
Hotline in good faith.'.ItisclearJayis-
     @ Forcing me into asi    tuation where my concernshave nothad sufi   cienttime to be resolved & lwould be in
         violation ofpolicy to be present,and                                        ,
       @ issuingmeawarningforanissueIjustinformedhim Ihadproblemswi
                                                                  thandwastryingtoresol
                                                                                      ve.
This isretaliation,bullying,and poorethicalbehaviorfora supervisor.Ratherthanletting metryto resolvethe i     ssues
using the com panysupplied resources,forcew asthe m ethod chosen by thissupqrvisor.Please advise Jaytocease and
desistwiththis behaviorim m edi atel
                                   y.
M y plan i
         s tosuppod m yplantremotely and,i  fneeded onsite,Iookatissuesoutdoorsonlyand aw ay from othersuntil
these questionsareresolved.Thiscom pliesw i   th the currentpolicyatthe plant.Iplan to decline the m eeting forM onday
(unlessWebEx),workremotely,andnoti
                                 fythepersonsinthemeetingofthestatusofmyinquiriesandmyplantosupport
the plant.Ialsoplanto notifythem thatIcannotconsentto the policy untilIhave been adequately inform ed.

Thanks,
Brian Chancey


Mobile:+1979 2368645,Email:brian.chancev@ basf.com
PostalAddress:BASF Corporation,,602 CopperRoad,T7541Freeport,USA


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BASF Corporation




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Brian Dale Chancey

From :                                                                                         ElizabethA Rodriguezon behal
                                                                                                                          fofBAsFNAcom pliance-ream
Sent:                                                                                          Friday,September3,2021 1:33 PM
To:                                                                                            BrianDaleChancey
Subj
   -ect:                                                                                       RE:ADA complaint

Follow Up Flag:                                                                                Follow up
Flag Status:                                                                                   Flagged



DearM r.Chancey:
Thankyou forsubmioingyouradditionalemailtothe BASF North America Compliance Team mailbox outliningyourADA
complaint. Responses to yourconcerns are outlined below.

        Please beadvisedthatBASF and mysupervi     sors and otherpersonnelenlployed by BASF
have beqn m aking false business and em ploym entrecords.Making a false record thatlhave a
contagiousdiseaseandthendiscriminatingagainstm e based Uponthi     s disabili
                                                                            ty.Iam a qualified
inclividualwithadisabilityandmyempl
                                  oyerhasbeelmakilgarecordofsuchcli
                                                                  sabili
                                                                       ty,andlhave
and continue to irwoke my rights underTltle lofthe Am eri
                                                        cansw ith DisabilitiesAct.BASF is
discrim inati
            ngagainstm e based upon disabilityandcontinuesto ignore the law and my rights.
To the extentyou believethatanyone atBASF is makinga false businessorem ploymentrecord thatyou have a
contagious disease,these mattersarecurrentlybeing investi
                                                        gated by SteveCafiero,Corporate EEO Manager.Please
discussthese concernswith M r.Cafiero.

To the extentyou are claimingthatyou have a quali
                                                fieddi
                                                     sability orrecord ofsuch disabilityundertheAmericanswith
Di
 sabiliti
        esAct,please contactthe BASF Leave Team to initiate the interactive accomm odation process underthe
Am ericans with Di
                 sabilities Act.

Asfurtheroutlined below,BASF deniesthati
                                       tisdiscrim i
                                                  nating againstyou in any mannerand deniesthati
                                                                                               tisignoring the
Iaw oryourri
           ghts.
       Iam inreceiptofthe 'Covid Update#62'  'from Cindy S.Suggsthatwassentto m evja em ailon
July30th 2021.Thiscom m unication constitutesretaliation inviolationofTi
                                                                       tle IoftheAmericanswith
DisabilitiesAct.See42 U.S.C.!12203(b),
W e have reviewed the July30,2021''BASF FreeportUpdate#62:Cornoavirus 19'
                                                                        'em ailthatwassentfrom Cindy S.
SuggstoaIIemployeesatthe Freeportsite. Innoway doesthisall-site communicationconstitute 'Interference,Coercion,
orIntimidation''under42USC j12203(b).Fudhermore,innowaydoesthisall  -sitecommuni
                                                                               cationconsti
                                                                                          tute''retaliation
inviolationoftheAmericanswithDisabilitiesAct'whichiscoveredby42 USC j12203(a).
        BASF and m ysupervisors havefailed orrefused to conductany individualized assessm entto
determinewhetherornotlam a directthreatto anyonejyetregard me as having a disabilityor
contagiousdiseasew ithoutany evidence and in violationofTitle Iofthe Am ericansw ith Disabilities
Act(ADA).Underthesupervisionandresponsibil
                                         ityofJasonMettsandJayGarner,eachofyou
alongwithotherem ployees havebeen permittedtoteliberately single m eoutand treatme dl     fferently
than otheremployeesforthe purpose ofretaliating againstmeforattempting to exercise my ri   ghts
undertheAmericanswi  th DisabilitiesAct.As a covered entity,you are required to aid and encourage
mei
  ntheenjoymentandexerciseofmyrlghtsundertheADA.Applyingyourpolicyequallyto
everyone,andthen regarding m eas havjnq a disabi  lity,m aking a record ofit,and thenseeking to
penali
     ze'm e forexercising m y ri
                               ghts to refuse yourm iti
                                                      gation measures is the same discrimination as
'separate butequal''from the sixties.
BASF,
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diseaseinviolationoftheANA.Instead,youareieingaskedtowearac10thfacecoveringoradisposablefacemask
while indoors consistentwiththe m ostcurrentCDC guidelines. Youare notbeing singled outortreateddifferently asthe
m ask mandate appli es to aIlemployees. Please note thatEEOC has speci
                                                                     fically addressed m ask wearing and has stated
that'anemployerm ayrequire em ployees towearpersonalprotective equipmentduringa pandem ic.''Thisincludesîs    face
m asks,gloves,orgowns.' See Pandemic Preparednessin theW orkplaceandthe Americanswith Disabi       li
                                                                                                    tiesAct,
SectionIII(B),QuestionNo.12.Therefore,youdonothaveari
                                                    ghtundertheADA torefusetowearamaskinthe
w orkplace.

        BASFclaimsthatithasthedutytoprotectemployeesandinviteesuponitsqremisesfrom
myself,yetpasneveridentifieditsIegaldutyofcare(alaw)thatcreatedsuchobligatlon.
BASF has neverclaimed thati
                          s hasa duW to protectemployeesand inviteesupon ourpremisesfrom vou, Rather,BASF
isrequired underthe OccupationalHeaIth and SafetyActof1970 to ''
                                                               furni
                                                                   shto eachofhisempl oyeesemploymentand a
place ofem ploym entwhi
                      ch arefree from recognized hazardsthatarecausing orIi
                                                                          kelyto causedeath orserious physi
                                                                                                          cal
harm tohisemployees.''29 USC !654(a)(1).
          BASF claimsthatithas thedtlty to protectem ployees and irw iteesfrom myselfyetI  nasfailed
to identifyany instlrable risk,such asanycertifi
                                               cation from i
                                                           ts insurance carrierthatithas insurance
to engage in suchpractices,orcan acceptfinancialresponsi    bilityforany adverse consequencesof
suchpractices.
Asstatedabove,BASF has neverclaimed thatis hasa dutyto protectemployeesand invi       teesfrom vou. Rather,BASF is
required underthe OccupationalHeal  th and SafetyActof1970 to t'
                                                               furni
                                                                   sh yo eachofhisemployeesemploymentand a
place ofem ploym entwhi
                      ch are free from recognized hazards thatare causing orIi
                                                                             kely to cause death orserlous physical
harm tohisemployees.''29 USC j654(a)(1).TotheextentyouareinquiringaboutBASF'Svariousi
                                                                                    nsurancecoverages,
this hasno relevanceto BASF'Srequestthatyouw eara c10th face coveringora disposableface m askwhile indoorsat
the Freeporlsite.
                Now,mysupervisorandm anager,Jason Metts and Jay Garneri
                                                                      nave created and continueto
createfalseemploymentrecordsforthepurposeofwrongfullyterminatlnqmyempl
                                                                     oymentasone
moreactofretali
              ationagainstme invi
                                olation ofTitle IoftheAmericans wlthDisabili
                                                                           tiesAct.
                Itis now ciearto m e now that,eachofyouare creatingfalse personnelrecordsforthe purpose
ofattemptingtojusti
                  fythewrongfulterminationofmyemployment.Itappearsthatthisisthesol
                                                                                 e
purpose ofthe scheduled August16th m eeting with HR.

Anyconcernsrelatingto yourcl
                           aim sofretaliati
                                          on are being handed by Steve Cafiero,Corporate EEO Manager.

                TheBASFpolicy(whichlsnotwri
                                          ttenbyBASF butbysomethirdparty)createsadisabilityfor
m eorexacerbatesm ydisability.Ihave been intim idated and coerfled withthe threatofthe
termlnation ofmyemployment,segregation,isolation,incarceration,arrest,ptlblic humiliatio')and
otheractsofintim idation and coercioninviolation ofTitle IoftheADA and its im plem enting
regulation,29CFR j1630.12.
Tothe extentyou are referring to theJul
                                      y 30,2021'BASF FreeportUpdate #62:Cornoavirus 19'
                                                                                      'em ailthatwassentfrom
CindyS.SuggstoaIIemployeesatthe Freepod si
                                         tewhenyoureference'TheBASFpolic/',wehaveconfi
                                                                                     rmedthatthis
emailwaswrittenbyBASFandnotz
us-
                           'somethirdparty.' Ifyouhaveevidencetoproveotherwise,pleaseprovideitto
  . In now aydoesthisall   -si
                             te com m unication constitute Intim i
                                                                 dati
                                                                    on orcoercion inviolationofAm eri cans wi
                                                                                                            thDisabili
                                                                                                                     ties
Act.lnstead,you are being askedto weara c1    0th face covering ora disposableface maskwhile indoorsconsistentwith
the mostcurrentCDC guldelines.To theeytentyouare claim lngthatthlsemai          lcreatesa disabilityforyouorexacerbates
yourdisability,please contactthe BASF LeaveTeam to initiatethe interactive accom modati     on processunderthe
Am ericansw i th Di
                  sabilitiesAct. Finally,tothe extentyouhavebeen 'intim idated and coerced withthethreatofthe
tnt
ierimi nationofmyemjoyment,segregation,isolation,incarceration,arrest,publichumiliationandotheractsof
    m idation and coerclon''.please elaboratefurther.
                Befurtheradvi
                            sed thatTitle lofthe ADA prohibitsemploymentdiscrimination on the basisof
disabili
       ty.Amongotl
                 nerthings,Titlelprohibitsemployersfrom requirinj medicalexaminationsor
maklngdlsabjljty-related jnquiriesofemployees unless suchexamllatlonorInqtiiry isshownto be
job-relatedandeonsistentwi
                         thbusinessnecessi
                                         ty'
                                           ,see,42U.S.C.j12112(d)(4)'
                                                                    ,29CFR
                                                                                                                      ?
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 !1630.14(c).
  W hile BASF does notdi sagreewi  thyourstatements concerning medi calexaminationsordisabili
                                                                                            ty-related inquiri
                                                                                                             es of
  em ployees undertheADA,please be advi    sedthatthe EEOC hasspecificallyaddressed screening questions and
  tem perature checking during the Covid-lg pandem icasallowable activiti
                                                                        es underthe ADA. See W hatYou Should Know
  AboutCovid-lg and theADA,the RehabilitationAct,and OtherEEO Laws,TechnicalAssistance Questions and Answers,
'
  Questions No.A.2,A.3 and G.1.
         Regarding the m itigation m easures includingbtltnotIim itedto m ask-wearing,vaccines,'social
 distancing,hand-washingandgivingvi
                                  talstatistics(bodytemperature)ortissuesamples(diagnostic
 testing),Iam notrequiredtoaccesstheseoranymitigatlonmeasuresunderTitle loftheADA,29
 CFR Part1630.9(d).IfyouhavesomeIegalatlthoritythatoverri
                                                        desthis,pleaseprovidemewitha
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 BASF isnotm andating thatits em ployees receivethe Covid-lgvaccine,norisitrequiring i
                                                                                     ts em ployeesto provi
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                                                                                                            tissue
 samples(diagnostictestingl.'Totheextentyouhaveevi
                                                 dencewhichindicatessomethingdi
                                                                              fferent,pleaseprovi  dethisto
 us.Totheextentyouareobjectingtomaskwearing,soci aldistancing,handwashingandgivingvitalstatistics,aIIof
 these Covid-lg protocolsarespeci  fically allowed underthe ADA. See W hatYou Should Know AboutCovid-lg and the
 ADA,the RehabilitationAct,and OtherEEO Laws,TechnicalAssistance Questionsand Answers,Questions No.A.2,A.3,
 G .1and G .2 To the extentyou refuse tofollow the Covid-lg protocolsthatBASF hasin place,the ADA allows BASF to
 baryoufrom theworkplaceandsubjectyoutodiscipline. SeeWhatYouShouldKnow AboutCovid-lgandtheADA,the
 RehabilitationAct,and OtherEEO Laws,TechnicalAssistance Questions andAnswers,Question No.A.11.
 Final
     ly,the provisionofthe ADA thatyou cite aboveapplies to accom modation requestsforan indi
                                                                                            vidualw i
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                                                                                                              li
                                                                                                               ty.
 The Covid-lg protocols BASF isasking youtofollow do notconstitute anaccom m odation underthe ADA,thereby making
 29CFR 1630.9(d)inapplicabletothissituation.However,andasoutlinedabove,i
                                                                       fyoubelievethatyouaredisabled
 undertheADA and inneed ofan accom m odation,please contactthe BASF LeaveTeam to'initiate the interactive
 accom modation process.

         Regardingeachllten/entionormi
                                     tlgatïonmeasure,a)whydoesyourcommunicationfailto
 include noti
            ce thatthisis underanemergency use authorizati
                                                         on,anddi
                                                                sclosethe risksand benefits
 oftheproduct,andalsoadvisemeofmyrighttoeitheracceptorrefusethe product,andb)which
 producthasthe provenefficacy to preventtransm ission orinfection ofthe contagious diseasefor
whjchyouregardmeashaving'
                        ?Youarereqpiredbylaw,specifj
                                                   cally21U.S.C.j360bbb-3ofthe
 Food,Drug and CosmeticAct,to provide m ew i
                                           ththese disclosures.
 BASF is notregardingyou as having a contagious disease. Instead,BASF isasking you to weara c10th face coveringor
 M disposableface maskwhile indoorsconsistentwi    ththe m ostcurrentCDC guidelinesand i s askingyouto adhereto
 otherIegallyallow able Covid-lg protocols such as soci
                                                      aldistancing,hand washing andtem peraturechecking.The FDA
 regulationthatyou are referring to addressesthe manufacture and sale ofmedicalproducts and doesnotapplyto
 BASF. BASF i   s notmanufacturing orselling a m edicalproduct,and the c10thface coveringordisposableface mask
 BASF i s asking youtoweari  s nota m edicaldevice ora medicalproductcovered by the FDA.

 Keeping ourworkplace safe is ofprimary concern to BASF. Ourpracticesthroughoutthe Covid-lg pandem ichave been
 gui
   ded byrecom m endationsand requirementsfrom federal,state andIocalgovernm entsand agencies. W etrustthatthe
 above is responsi
                 ve toyourconcerns.
 Thanks,



 LYNETTE PA PUSHAK
 AssistantGeneralCounsel,Com pliance & Empl
                                          oyment

 Mobile:(216)469-0332,Email:Ivnette.nanushaka basf.com
 PostalAddress:BASF Corporation,A-0156,2TW AlexanderDrive, ResearchTriangle ParkNC 27709,USA




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From:BrianDaleChancey<brian.chancey@ basf.com>                                                       '
Sent:M onday,August16,2021 11:20AM
To:BAsFNAcom pliancel-eam <BAsFNAcompl'   lanceTeam @ basf.com>
Cc:Brian Dale Chancey<brian.chancey@ basf.com>
Subject:ADA complaint
Legal:
Greetings,
       Please be advisedthatBASF and m ysupervisors' and otherpersonnelem ployed by BASF
have been m akingfal
                   se business and em ploymentrecords.Making a false recordthatIhave a
contagiousdiseaseandthendiscriminatingagainstmebaseduponthisdisabi
                                                                 lity.Iam aquali
                                                                               fied
individualwithadisabilityandmyempl
                                 oyerhasbeenmakingarecordofsuchdlsability,andIhave
and continue to invoke my rights underTltle IoftheAm eri
                                                       cansw i
                                                             thDisabili
                                                                      tiesAct.BASF i
                                                                                   s
discriminati
           njagainstmebasedupondisabili
                                      tyandcontinuestoignoretheIaw andmyrights.
       Iam ln receiptofthe 'Covid Update#62' 'from Cindy S.Suggsthatwassentto m evia em ailon
July30th 2021.Thiscom m unication constitutesretaliation inviolationofTi
                                                                       tle IoftheAmericanswith
Di
 sabiliti
        esAct.See42 U.S.C.j12203(b).
         BASF and my supervisors havefailed orrefused to conductanyindi  vidualized assessm entto
determ ine whetherornotIam a di rectthreatto anyone,yetregard me as having a disability or
contagious diseasewithoutany evi dence and in violationofTitle lofthe Am ericansw ith Disabilities
Act(ADA).UnderthesupervisionandresponsibilityofJasonMettsandJayGarner,eachofyou
along withotherem ployees havebeen permittedto deliberatelysingle me outand treatme dlfferently
thanotheremployeesforthepurjoseofretaliatingagainstmeforattemptinjtoexercisemyri
                                                                               ghts
underthe AmericansW ith DisabilltiesAct.Asa covered entity,you a#erequlred to aid and encourage
meintheenjoymentandexerciseofmyrightsundertheADA.Applyingyourpolicyequall
                                                                        yto
everyone,andthenregardingmeashavingadisability,makingarecordofit,andthenseekingto
penalize meforexercising my rightsto refuse yourmi
                                                 tl
                                                  gation measures i
                                                                  s thesame discrimination as
'separate butequal'from thesixties.
         BASFclaimsthatithasthedutytoprotectemployeesandinviteesuponitsqremisesfrom
myself,yethasneveridenti
                       fieditsIegaldutyofcare(aIaw)thatcreatedsuchobligatlon.
         BASF claims thatithasthe dutyto protectem ployees and inviteesfrom myselfyethasfailed
to Identi
        fy anyinsurable risk,suchas anycedificatlonfrom itsinsurance carrlerthati
                                                                                thas insurance
toenjageinsuchpracti
                   ces,orcanacceptfinancial.
                                           responsibilityforanyadverseconsequencesof
Such practices.
        Now ,my supervisorand m anager,Jason M ettsandJayGarnerhave createdand conti
                                                                                   nueto
createfalseemploymentrecordsfor
more actofretaliation againstme i
                                  thepurposeofwrongfullyterminatinjmye
                                n violationofTitle IoftheAm ericanswlth Di
                                                                          mploymentasone
                                                                         sabilitlesAct.
         Itisnow cl
                  earto me now thateach ofyouare creating false personnelrecordsforthe purpose
ofaoempting tojustifythewrongfulterminationofmyemployment.Itappearsthatthisisthe sole
purpose ofthescheduledAugust16th meetingwith HR.
         TheBASFpolicy(whi
                         chisnotwrittenbyBASFbutbysomethirdparty)createsadi
                                                                          sabilityfor
me orexacerbatesmydi
                   sability.Ihave beenintimidated and coercedwi
                                                              th thethreatofthe
terminationofmyemql
                  oyment,sejregatlon,isolation,incarceration,arrest,publichumili
                                                                               ationand
otheractsofintimidatlonandcoercioninviolationofTitleloftheADA anàitsimplementing
regulation,29CFR 51630.12.                             .
         BefurtheradvisedthatTi    tl
                                    e IoftheADA prohibi
                                                      ts em ploym entdiscrim inationonthe basisof
disabili
       ty.Amongotherthings,Title Iprohibits em ployers from rèquiring m edicalexaminationsor
m aking disab'
             i
             lity-related inquiries ofemployeesunlesssuch exam ination orinquiryis shown to be
                         Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 64 of 159


    job-relatedandconsiAtentwi
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                                                          S.C.j12112(d)(4);.29CFR
    j1630.14(c).      A
                    Regarding the miti
                                     gation measures including butnotIimited to mask-wearing,vaccines,social
    distancing,hand-washi
                        ngandgivingvi
                                    talstatistics(bodytemperature)ortissuesamples(diagnostic
    testing),Iam notrequiredtoaccesstheseoranymiti
                                                 gatlonmeasuresunderTitleIoftheADA,29
    CFR Part1630.9(d).IfyouhavesomeIegalauthoritythatokerridesthis,pl
                                                                    easeprovidemewi
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    Iegalcitation. '                                     .
                    Rejardingeachinterventionormitigati
                                                      onmeasure,a)whydoesyourcommunicationfailto
    include notl
               cethatthisis underanemergency use authorizati
                                                           on,and disclosetherisksand benefi
                                                                                           ts
    oftheproduct,andalsoadvisemeofmyrighttoeitheracceptorrefusetheproduct,andb)which
    producthasthe provenefficacy to preventtransm ission orinfectionofthe contagiousdisease for
    whichyouregard meashaving?You are required by Iaw,specifi
                                                            cally21U.S.C.j360bbb-3 ofthe
    Food,brug and CosmeticAct,to provide me wi
                                             th these disclosures.

    Thanks,
    Brian Chancey

    Mobile:+1979 2368645,Email:brianachanceva bastcom
    PostalAddress:BASF Corporation,,602 CopperRoad,77541Freeport,USA
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    BASF Corporadion




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           Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 65 of 159
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Byian Dale Chancey
From :                         Brian DaleChancey
Sent:                          Tuesday,September7,20216:16AM
To:                            Stephen Cafiero
Cc:                            BrianDaleChancey       i
                               '
Subject:                       'econfidential**My responseto emailsreceived asof9/3/2021
Signed By:                     brian.chancey@ basfacom


Stephen:

Thiscom m unication isconfidential.1haveread through them edicaland legalresponsessentto m elastw eek.
M y com m ents are:

Youareregardingmeashavingadisability(contagiousdisease).Youhavealsomadearecordofsuch
disability by m is-classifying m e ashaving,am entalorphysicalim pairm entthatsubstantially lim its one orm ore
majorlifeactivities(disability).1am notrequiredtoacceptyouraccommodations,includingbutnotlimitedto
m ask-w earing,socialdistancing,vaccinationsorparticipating in anylclinicaltlialsorepidem iological
experim eùts.

Y ourlegalconclusion aboutwearing am ask iserroneous.A m ask isam edicalintervention asdefined by the
FDA Section201(H)oftheFood,Dl-ug& CosmeticAct,butitisalsoanaccommodationandcannotbe
imposeduponanyemployee,29CFR 1630.9(d).Thissectionappliestotheuseofamaskwhenitconcenzs
one's11ea1th, please also seeGTinalGuidance'',Classification ofProductsasDnzgsand D evices & Additional
ProductClassificationIssues:Guidanceforlpdustl'
                                              yandFDA Staff Thisproductissubjecttoyourlegalduty
to disclose therisksand benelitsofusing such a product,and also you arerequired by law to advise m ethatthe
usésuchaproductmayberefused oracccpted.Pleasebeadvisedofthelaw,21USC j360bbb-3 et
seq.A dditionally, thisproductalong with yourotheraccom lnodationsare still underthe GGem ergency use
authorization''period and 1am notrequired to participatebecause these constitm e clinicalstudies.

Y ou are required to know and comply w ith thelaw .Furtherm ore,you have failed to cite any legalduty or
authority forim posing these accolmm odationsupon m e and you have failed to citeany legalauthority for
having any insurablerisk orduty ofcare. There isno 1aw im posing these m easuresand a EEguideline''or
ddexecutiveorder''or''opinon''doesnotcreate any legalduty orauthority orinsurablelisl  torduty ofcare.
BASF'Scom pany policy includeszero tolerancefordiscrim ination and harassm ent. You areviolating BASF'S
companypolicybydisctiminating,lzarassingandretaliatingagainstmeforexercisingandenjoyingmyrights
undertheAmericanswithDisabilitiesAct(ADA).
1have requested you to intelwene and preventcontintled harassm entand discl-imination based upon disability
and retaliation.Ihave notrequested any reasonablem odifications.Ionly ask thatyou com ply w idlthe law ,
eitherprove that1am adirectthreatto others,orstop harassing m e aboutyouraccom m odations.
Please be advised thatIhave filed a com plaintagainstBA SF w ith the st.
                                                                       ateand federalEqualOpportunity
Em ploym entCom m ission and Iam also writing a federalcomplainttbrviolationsofrfitle IoftheA m ericans
w ith DisabilitiesAct.You willeithercom ply w ith the 1aw orIwillhavethe United StatesDistrictCourtcom pel
you tocomply with an iqjunction.
Refening m eto the CDC website,ordenying m y claim ofdiscrim ination based upon disability and denying or
ignoringlpycomplaintforonthejobharasslnentisyourreftzsaltocomplywiththelaw.l'm asltingyouonce
again,when hasBASF diagnosed m e with having a colztagiousdisease? W ho m ade the diagnosis? W hat
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                             Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 66 of 159


recordswererelied upon to m akesuch diagnosis? W hy w as1notinformed thatsuch m edicaldiagnosisw as
being m ade aboutm e?

Yourcitation of29 USC j654 isnotpertinent,notalegaldefenseandnotalegalargumentin supportofyour
discrim inatory policies. 1am a qualified individualwith a disability thatsubstantially lim itsmy ability to
engageinoneormoremajorlifeactivitiesandthatdoesnot'
                                                  impairmyabilitytoperform myemployment
duties. You have failed to provide evidence ofany directthreatand you are prohibited by federaland state law
from imposing any accommodationsuponme,BASF isviolatiùg itsownanti-discriminationpolicies,the1aw
and m y rights.

Sincerely,
Brian Chancey'


Mobile:+19792368645,Email:brian.chancey@basf.com
PostalAddress:BASF Corporation,,6O2 CopperRoad,77541 Freeport,USA

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            Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 67 of 159                                  5.e.j5


 Brian Dale Chancey
 From :                           StephenCafiero
 Sent:                            W ednesday,September8,2021 12:
                                                               49 PM
 To:                              Brian Dale Chancey
 Subjett:                         Strictly Confidential


 DearBrian:

Thisemailservesas aformalresponse to yourAugust23,2021 Ietterto me. I've included relevantexcerptsfrom your
 Ietter(i
        nblue)toensurethataIlofyourconcernsareaddressed.                    -
 Thisisa cont-identialcolmnrtlnication that1a'
                                             tl.requesting.bc includtxlinto my persolulelfïleand 1w-ant
 thisand subsegpelltcolmnunicationsto b  'ekeptcont-idential.within' htlnlan resources.1anadoctuuenting actsof
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                                          lllployeeorreplvsentativeforlllattersinvolvingTitle1ofthe
 Alncricans'
           withDisabilitiesAct(ADx
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                                  V and grievances.                                       h
 YourletterprecededourTuesday,August24,2021 callwhere we discussed atI  engthyourvariousconcerns.As l
 explainedto you duringourcall,Iserve asthe Company'sCorporate EEO M anager,and Iam thecompany
 representati
            vedesignatedtodiscussyourconcernsformattersinvolvingtheAmericanswi
                                                                             thDisabilitiesAct(ADA)and
 anypercei vedactsofretaliationorharassmentwhichyoubelieveyouhavebeensubjectedtoatBASF.Aslalso
 explainedto youduringourcall,yourAugust23,2021Ietterwillnotbe included inyourpersonnelfile butw i
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 m aintained ina separate investi
                                gative file byCorporate EEO .

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30th 2021 a.swellasthe noticeon O neNott     zforthealnnaonia ttnitfron'
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Powonerpoilltsenton the ''lh'eeportPandelnic ltequireménts''.This colnn'  funication constitutesharasslnentin
 violation of'
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                tle1oftheAlnericanswith Disabilitiesztct.See42.LI
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  Ihave revi
           ewed the docum ents,and none ofthem constitute harassmentin violation oftheADA. Instead,these
  documents aresi te-wide com m unicationsrem inding allem pl
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  em ployeesofthe changeinsite protocolwith respectto maskwearing.Addi    tionally,lconsultedw i
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  counterpads and theytOo concurthecommunicationsdo notrise totheIevelofharassmentin violation ofthe Ameri     cans
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 indivjdualïvitll.a disability.
 As Iexp'lained to you duringourcalland reiterate here, BASF is notrenardinn vou asdisabled underthe ADA.To the
 extentyou wishto invokeyourri   ghtsundertheADA asan alleged quali    fied indi
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 BASF LeaveTeam to initi   ate the interacti
                                           ve accom m odationprocess undertheADA. Iti   s m yunderstanding during our
 callthatyou do notwish to requestanaccom m odation underthe ADA. Ifmy understanding is notcorrect,pleaseIetm e
 know.

 1am being reg.arded as having.a contagiousdisease by lny supervisorJason ldetts,managet'Jay G'    arner,
 and the Alnm oniaunitlnanagementwithout.any individttalized assessluent.l-hey have crcatcd autlcontinue to
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                       withoutany illfonuedconsent.Ithasbeenextrelnely difficulttopelïbnnn4,enlploynlent
 dutiesbecause ofthcse interruptionsand harassuaent.
                          Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 68 of 159



    BASF is notregardingyou as having a contagious disease. To the extentthatyou believeanindividualizedassessment
    mustbe pe/ormed undertheADA,BASF is notrequiredto conductan indi      vidualized assessmentto determinewhether
    ornotyouarea directthreatunderthe ADA.Asoutlined bythe EEOC in itsPandemicPreparednessinthe Workplace
    andtheAmericanswi
                    thDisabilitiesActguidance,'theCovid-lgpandemicmeetsthedi
                                                                           rectthreatstandard.'See
    ''Pandemi
            cPreparednessintheWorkplaceandtheAmeri
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    To theextentthatanyone atthe Freeportsite iscreating and continuingto createfal
                                                                                  se employmentrecords concerning
    you,please share suchrecordswith me.Furthermore,you did notraiseordiscusswith me yourconcern thatm anagers
    atthe Freeportsiteare harassing youforyourm edicalrecordsand/orasking youto subm ittom edicalexam inationsor
    interventions.Iaskyouto elaboratefurtherand provide proofofthese requeststo me.
    Finally,to the extentyou are claim ingthatyourinform ed consentis needed inorderforBASFto institute itsCovid-lg
    protocolsin theworkplace,none ofthe measuresthatBASF isasking youto follow meetthe defini   tion ofa m edical
    procedure thatwould require informedconsentin orderto im plem ent.               .

    Regarding them itigation lneasuresinclutlillg but1).
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    digtancing,halld-vrashingandsublnittingtol' nedicalcxalninationssuchasthecollectionofvitalstatistics(bocly
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    tlnderTitleIofthe.  ADA,29CFR Part1630.9(d)    ..lfyouhavesonlelegalauthority thatovtulidesthis,please
    pl-ovide I-
              ncAvith a Iegalcitation-
    BASF isnotrequiring you'to getthe Covid-lg vaccine asa m itigation m easure,nori
                                                                                   s itrequiring you provide''
                                                                                                             tissue
    samples(diagnostictestingl'asami
                                   tigationmeasure.Ifyouhaveevidencetothecontrary,pleaseletmeknow.
    The remainingmiti
                    gationmeasures(maskwearing,socialdistancing,handwashingandgi
                                                                               vingvitalstatistics)areaII
    speci
        ficallyauthorized underthe ADA. SeeW hatYou Should Know AboutCovid-lgandthe ADA,theRehabilitationAct,
    and OtherEEO Laws,TechnicalAssistance Questions and Answers,Q uesti
                                                                      ons No.A.2,A.3,G.1and G.2. Youare
    requiredtoadheretothesemi
                            tigating measures,antyourrefusaltodosowi
                                                                   llsubjectyoudi
                                                                                scipline. SeeWhatYou
    Should Know AboutCovid-lgand theADA,the Rehabi
                                                 litation Act,and OtherEEO Laws,TechnicalAssistanceQuestions
    and Answers,Q uestion No.A.11.
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    Finally,please note thatthe ADA provision you are citingtojusti
                                                                  fyyourrefusalto acceptBASF'SCovid-lg mitigation
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    T1eaSUresintheworkplaceaddressesaccommodationrequestsforanindividualwi                                         thadisability.Th       ..-ifo
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    information with respectto physicaldlstancingpreventlng the transm l
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    from the CDC'S Em erging Infectious DiseasesJournal'. Evaluatincthe EffectivenessofSocialDistancing Interventionsto
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    7.How areyourrequests forrny nlx edicalinform ation and subm itting to '
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     Stephen Cafiero
     M anager,Corporate EEO

     Phone:+1973245-6270,Mobile:+1973862-0437,Emai
                                                 l:stephen.cafiero@ basf.com
     PostalAddress:BASF Corporation,,100 ParkAvenue,07932 Florham Park,USA
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     BASF Corporation
           Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 71 of 159                  h.-1$

Brian Dale Chancey

From :                         NancyGrancell
Sent:                          Friday,Septem ber24,2021 1:55 PM
To;                            BrianDaleChancey
Subject:                       RE:Summaryofyou callon9/23/2021
Signed By:                     nancy.grancelllbasf.com


Brian,

Yourunderstanding iscorrect.
Thanks,
Nancy


BestRegards,
Nancy Grancell
StrategicHumanResourcesBusiness/ManufacturingAdvi
                                                sorCMN
Phone:Mobile:+1-248-979-7436 E-MaiI:nancy.grancell@ basf.com
PostalAddress:BASF Corporation,602 CopperRd.Freeport,TX,77541,USA

CreateChemi
          strywithUs!CheckOutCareersat:http://jobs.basf.us/
From:Brian Dale Chancey<brian.chancey@ basf.com l
sent:Friday,Septem ber24,20212:02 PM
To:NancyGrancell<nancy.grancell@ basf.comm
Cc:Brian DaleChancey<brian.chancey@ basf.coml
Subjed:Summaryofyoucallon9/23/2021
Nancy:

Asperourconversation on 9/23/2021you com murlicated to m ethatlneed to return to worlcon M onday
9/27/2021onmynormalworkschedule.Additionally,youcommunicatedthat1wouldbedisciplinedwithjob
abandonm entifIdid notshow up.You also comm unicated thatIw ould be required to follow theBA SF
COVID lnitigationmeasureswhenonsiteorlwouldbedisciplinedfortsafetyviolations.Ismyunderstandinjof
OurConversation Con'ectf?


Thanks,

Brian Chancey

Brian Chancey

Mobile:+19792368645,Email:brian.chanceva basf.com
PostalAddress:BASF Corporation,,602 CopperRoad,77541Freeport,USA
               Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 72 of 159                      :-t7

    Brian Dale Chancey                          ,
    From :                         Brian Dale Chancey
    sent:                          Monday,september27,20216:04AM
    To:                            Nancy Grancell
    Cc:                            Brian Dale Chancey
    Subject:                       Hconfidential*,RE:Summary ofyou callon9/23/2021
    Signed By:                     brian.
                                        chancey@ basf.com



    Nancy:

    Thisem ailisconfidential.

    HumanResourceshasreceivedabonatidecomplaint(from me)foronthejobdiscriminationbasedupon
    disability,harassmentandrdaliationandyourresponseistodonothing.You(I!R)toldmetostayathome
    thereby isolating m ew hileyou chose to ignorethew ork schedulepolicy.You arenow threatening m ewith the
    sam ework schedulepolicy using itasretaliation and coercion.Additionally,afterpreviously receiving a
    disciplinàrywalmingfornotfollowingunlawfulmitigationmeasures(thatwaslaterwithdrawn),youare now
    threatening m e with the sam em itigation m easurepolicy.Further,you refused to send m ewlitten
    com munication when lasked foryourposition to beputin writing citing ''itisnotpolicy''.Itisclearto m ethat
    you interpretpolicy to suityourneedsand use itto segregate,coerce,harass,retaliate,and discrilninate against
    those who speak outagainstdiscrim ination based upon disability.Ihaverequested to see the docum entation
    which proveslam a directthreatto anyone and nonehasbeen provided yet,you continueto regard m eas
    having an infectiousdiseasc. lam a qualified ilzdividualw ith a disability undertheADA and itisyourduty as
    HR to stop theharasslnentand discrim inaion based on disability.Furthùr,underthe law 1haveno obligation to
    acceptyourcountermeasures.As1havealreadystatedlseeknoaccommodations,justleavemealoneto
    perform myjobduties.Ceaseanddesistwiththethreatsofdisciplinaryactionimmediatelyandaddressyour
    policy issues.A s1have already stated lhave filed a complaintwith theEEOC on thism atter.

'Iam working on thesafety systemschecksfortheAmmoniaplantatthistime.Pleasesend allf-uture
 com mtm icationsvia em ailaslam very busy w ith thetp com ing testing.

    Sincerely,

    Brian Chancey

'


    From:Nancy Grancell<nancy.grancell@ basf,com>
    Sent:Friday,September24,2021 1:55 PM
    To:Brian Dale Chancey<brian.chancey@ basf.com>
    subjed:RE:Summaw ofyoucallon9/23/2021
    Brian#
    Yourunderstanding iscorrect.
    Thanks,
    Nancy
             Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 73 of 159



BestRegards,
Nancy Grancell
Strategic Human Resources Business/Manufacturi
                                             ngAdvisorC MN
                               t

Phone:Mobi
         le:+1.
              -248-979-7436E-MaiI:nancy.grancellcœbastcom
PostalAddress:BASF Corporation,602 CopperRd.Freepod,TX,77541,USA
Create Chem istrywith Us!CheckOutCareersat:htto://iobs.basf.us/

From :Brian Dale Chancey<br'
                           lan.chancev@ basf.com>
Sent:Friday,Septem ber24,20212:02 PM
To:Nancy Grancell<nancv.grancell@ basf.com l
Ct:Brian Dale Chancey<brian.chancev@ basf.com>
Subject:Summaryofyoucallon9/23/2021
Nancy:

Asperourconversaiion on 9/23/2021you comlnunicatedtomethatIneedto retulm towork on M onday             '
9/27/2021onmynormalworkschedule.Additionally,youcommunicatedthat1wouldbedisciplinedwithjob
abandonlnentifldid notshow up.Y ou also colmmunicated that1would be required to follow theBA SF
COVID m itigation m easureswhen onsite orIwould bedisciplined forsafety violations.Ism y understandhzg of
OtlrCO1lVCrSatiO1ICOITCCO


Thanks,

Brian Chancey

Brian Chancey


Mobi
   le:+19792368645,Email:brian.chancev@ basf.com
PostalAddress:BASFCorporation,,6Q2 CopperRoad,T7541Freeport,USA


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BASF Corporation
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Brian Dale Chanuey

From :                                                                                              Stephen Cafiero
Sent:                                                                                               Tuesday,October5,20219:    48 AM
To:                                                                                                 Brian Dale Chancey
Subjett:                                                                                            Strictly Confidential-W orkplace Issue


Brian,

BASF hasim plemented apolicy thatrequiresal1employeeswearc10th facecoveringordisposable
facem ask whileindoors.Overtlzelastseveralweeks,BM F hasengaged in a good faith dialoguew ith
you in an attem ptto addressyourconcernsaboutthispolicy.Unfortunately,based on yourlatest
correspondence,itappearsthatyou arepersistinginyourrefusaltofollow thepolicy,which
uniform ly appliesto allBASF employees.W e haveakked on previousoccasionswhetheryou are
seeldngan accommodationrelatedtothispoliq duetoadisability.Inresponse,youhavesaidnoand
havedeniedhavingadisabilitythatintedereswlthyourabilitytoperform youressentialjob
functions.Iwi11again addressyourvariousclaim sand asseY onsbelow:

1.                    YouhaveclaimedthatBASF isretaliatingagainstyouforquestioningwhetheritspolicies
com plywkllthe Am ericanswith DisabilitiesActorotherfederallaws.Thislsfalse.BASF hasbeen
m orethanwilling toprovideyou an explanation foritspoliciesaswellaslegalauthorityto support
thepolicies.However,you continuetorefrsetofollow BM F'Slawf'ulpolicies.Any adverse
consequencesyou haveorwillexperiencearesolely the resultofm urcontinued refusalto com ply
with BM F'Slawfulpolicies.

2. You haveclaim edthatBASF isdiscrim inating againstyou beeauseofaperzeived disability.                                                                                                                                                                                                                      .

Thisisfalse.BASF doesnotperceive orregard m u ashaving adisability.Based on theinform ation
thatyou haveprovided,m u havedeniedthatyou havea disabilityand do notappeartohavea
physicalormenti impairmentthatsubstantiallylimitsoneormoremajorlifeadivity.Therefore,
there isno reason to believe thatyou cannotcom ply with policies thatapply to a11BA SF em ployees.

3.                      ternatively,you havedaim ed thatBASF isdiscn'm inatingagainstyou becausem u havea
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thereisnoreason tobelievethatyou cannotcom plym 'th pohmesthatapplyto a1lBASF em ployees.
4. You haveclaim ed thatBASF hasfailed to dem onstratethatyou area lfdirectthreat.''In certain
circum stances,thef'directthreat''doctrineprotectsan em ployer'sdecisionsrelatingto a disabled
em ployee.In yourcase,you haverepeatedlyinform ed BASF thatyou arenotdisabled.M oreover,the
f'directthreat''doctrineappliesonlyin circum stanceswherean em ployerm akesadecision because of
an em ployee'sdisability.ln yourcase,BM F'Sdecisionsrelated toyourem ploym entaretheresultof
yourrepeated refusalto follow BASF'Spoliciesnotbecatlseyou aredisabled.

s. You haveclaim ed thatBASF isattem ptingtoforceyou to acceptaccom m odations.Thisisfalse.
BASF issim ply asldngthatyou com ply w11.
                                        11lawfulpoliciesthatapply to allBASF em ployees.'
The O ccupationalH ealth and Safety Actof1970 requires BASF to provide allofits em ployees a place
ofemploym éntwhich isf'
                      reefrom recognized hazardsthatarelikelytocausedeath orseriousphysical
harm to em ployees.Keeping ourw orkplace safe isofprim aly concern to BA SF.To thatend,BASF'S
policieshavebeen guided bytherecom m endationsand requirem entsoffederal,state,and local
                                                                                                                                                                                  1
                Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 75 of 159


 overnm entsand agencies.Consistentwith theserecom m endationsand requirem ents,BASF has
lm plem ented apolicy thatreqtliresallem ployeeswearc10th facecovering ordisposablefacemask
whileindoors.
BASF understandsthatyou disagreewith som eofitspolicies.TheBASF North Am erica Compliance
Team thanksyou forbringingyourconcernsto itsatlention.Aswehavèdonewith you,theBASF
North Am erieaCompl                                  $ ianceTeam ishappy to evaluate nnddiseussany'polieythatany employee
perceivesasdiscrim inatory orunfair.Agwehaveexplained hereand in priorcom munication,BASF'S
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policiesarenotdiscrim inatory and aredraftèdto complywith al1applicablefederal,stateandlocal
laws.'Tl
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Stephen Cafiero
Manager,Corporate EEO

Phone:+1973245-6270,Mobile:+1973862-0437,Emai
                                            l:stephen.cafi
                                                         ero@ basf.com
PostalAddress:BASF Corporation,,100 ParkAvenue,07932 Florham Park,USA

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Brian Dalechancey                                        1
                           j                                             '                        '
From:                       Brian DaleChancey
sent:                       Tuesday,Ocyober12,20216:21AM
To:                         StephenCafiero
Cc:                         Brian Dale Chancey
subject:                    RE:StrictlyConfidential-Workplacelssue
Attachments:                Emailfrom Nancy9-24-2021.pdf


                          C O N FID ENTIA L C O M M U NICA TIO N
                                         29CFR 51630.14(c)(1)
O ctober12,2021

Hello Stephen,
        l am responding to your October 5,2021 em ail in which you m ade severalclaims w hich
inaccurately express m y position confuse the issues.                           '
       You claim ed thatBA SF is follow ing Iaw fulpolicies and only cited O SHA 1970 quidelines. Your
citationoftheOSHA 1970safetyguidelinesinrelationtodemandingthatlwearamaskistheaffirming
action thatBASF is operating undera false presum ption and regarding m e as disabled. The underlying
prem ise that BASF is m aking- w ithout any individualized assessm ent-- is that I am a walking
biohazard and am a potentialoractualsource ofCO VID-19 and therefore require m i   tigation m easures
('accommodations')intheform ofwearing a maskinordertomaketheworkplacesafe.
        lam challenging the underlying prem ise thatBASF is basing it's discriminatory policy onwhich
is thatBA SFhiS regarding m e as Idisabled'w ith a potentialoractualcontagious disease. BA SF is also
m aking a 'record' of this 'disability' by classifying m e as un-m asked and therefore a 'direct
threat'. BASF is also 'coercing and harassing'm e to use its accom m odation ofwearing a m ask orit
w ill'retaliate'againstm e by firing m e.
        ldo notrequireYis'accommodation'because lam notdisabledwith a potentialoractual
contagious disease. Ihave asked BASF to provide the records upon which itis rplying to regard me
as 'disabled'w i
               th a potentialoractualcontagious disease and ithas neverproduced any l
                                                                                    record and it
mustthereforebestipulatedatthispointthatthere isnorecord('individualizedassessment')thatBASF
is relying upon. Ifthere is no evidence then the only conclusion thatcan be drawn is thatBASF is
discriminatingagalnstmeforreasonsofprejudice'andialseconclusions.

        Asforyourstatementsofacting in good fai   th:Ihavestated in ourinterview on 8/25/2021some
ofthe effects on my Iife activities both personaland atwork which you are npw m isrepresentipg and
dism issing.You have chosen to enforce policies w hen it is to your advantage,and have used those
policies to segregate, harass, and'threaten m e.You have chosen to deny enforcing any m edical
counterm easures then turn around and attem ptto force m e to waive m y rights to inform ed consent,
andtheADA.Youhavecitedd
                      'guidelines''asjustificationsforyouractionswhilenotfollowingtheactual
Iaws. You have chosen to blam e m e for anything that happens w hile you refuse to address the
discrim ination you are inflicting upon m e.Youractions are clearly notin good faith.
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       Ihave m ade everyeffortto respond to BASF'S requests and also to Notice 1he company thatI
am notw aiving m y rights underthe A DA. lam fi
                                              tforwork,ready forwork and am notdeclining work.l
have been responsive to every request.         '

        Iwas sentthe em ailbelow and the attached notice which states that BASF refuses to stop this
discriminatory policy and previous Notices revealthatBASF threatens to retaliate againstme and fire
me forthe disabili ty ofbeing unmasked and therefore a directthreatand because itregards me as
disabled as a potentialoractualsource ofC OVID-19 w ithoutany indi vidualized assesbm ent.

        1.BASF regards m e as disable' d by classifying m e as a potentialor actualsource ofC OVID-
19.Theiraffirm ing action ofregarding m e as a potentialoractualsource is thatIhave been given the
coercive,threatening,and intimidating choice to weara mask orbe terminated.
        2. BASF regards m e as disabled through i   ts classification ofm e as un-m asked and therefore
a directthreat,and the affirm ing action of regarding m e as f 'un-m asked''is the w riterup Ireceived on
8/12/21 and the threatofwrite-up Ireceived on 9/24/21 on the basis ofbeing un-masked.BASF can
Iabelthis how everitw ishes to attem ptto avoid this truth,butthe classi
                                                                       fication ofm y health status as
''un-m asked''is the reason lwillbe fired.BASF has used policies and procedures thatare intim idating,
threatening,coercive,and thatintefere w ith ADA rights,and this is prohibited underthe A DA.


         I am also sending this supplementaldocumentation to the EEO to add to my Charge of
Discrim ination.

                                                                                              Sincerely,

                                                                                         Brian C hancey


From :Stephen Cafiero qstephen.caf'
                                  lero@ basf.com>
Sent:Tuesday,October5,20219:48 AM
To:Brian Dale Chancey<brian.chancey@ basf.coml
Subjed:StrictlyConfidential-WorkplaceIssue
Brian,

BASFhasimylementedapolicythatrequiresallemployeeswearc10thfacecovedngordisposable
facem ask whlleindoors.Overthelastseveralweelis,BASF hasengagedin agoodfaith dialoguewith
you in an attem ptto addressm urconcernsaboutthispolicy.Unfortunately,based on yourlatest
correspondence,itappearsthatyou arepersistingin yourrefusalto follow thepolicy,which
uniform ly appliesto a1lBASF èmployees.W e haveasked on previousoccasionswhetheryou are
seekingan accom m odation related to thispolicy dueto adisability.In response,you havesaid no and
havedeniedhavingadisabilitythatinterfereswith yourabilitytoperform youressentialjob
functions.lwillagain addressyourvadousclaim sand assertionsbelow:
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1. You haveclaim ed thatBASF isretaliatingagainstyou forquestioningwhetheritspolicies
com ply with theAm ericanswith DisabilitiesActorotherfederallaws.Thisisfalse.BM F hasbeen
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        Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 78 of 159


m orethan willingtoprovideyou an explanation foritspoliciesaswellaslegalauthoritytosupport
thepolicies.However,you continuetorefusetofollow BASF'Slawfulpolicies.Any adverse
consequencesyou haveorwillexperience aresolelytheresultofyourcontinued refusalto com ply
with BM F'Slawfulpolicies.
2.    YouhaveclaimedthatBASFisdiscrim inatingagainstyoubecauseofaperceived disability.
Thisisfalse.BASF doesnotperceiveorregardyou ashaving adisability.Based on 1heinform ation
thatyouhaveprovided,youhavedeniedthatyouhaveadisabilityanddonotappeartohavea
physicalormentalimpalrmentthatsubstantiallylimitsoneormoremajorlifeactivity.Therefore,
thereisnoreason tobelievethatyou cannotcom ply with policiesthatapplyto allBASF em ployees.

3. Alternatively,you haveclaim ed thatBASF isdiscriminatingagainstyou becauseyou havea
disability.Thisisfalse.Based on theinform ation thatyou haveprovided,you do notappeartohave a
physici ormentalimpairmentthatsubstantiallylimitsoneormoremajoxlifeadivity.Therefore,
thereisno reason to believethatyou cannotcom plywith policiesthatapplytoa1lBASF em ployees.
4. You haveclaim ed thatBASF hasfailed to dem onstratethatm u area tfdired threata''In ce/ain
circum stances,theGdirectthreat''doctrineprotectsan employer'sdecisionsrelatingto a disabled
em ployee.Inyourcase,you have repeatedlyinform edBASF thatyou arenotdisabled.M oreover,the
fddirectthreat''doctrine appliesonly in circum stanceswherean employerm akesadecision becauseof
an em ployee'sdisability.In yourcase,BASF'Sdecisionsrelated toyouremploym entaretheresultof
yourrepeated refttsalto follow BASF'Spoliciesnotbecauseyou aredisabled.
5. You have claim ed thatBASF isatlem ptingtoforceyou to acceptaccom m odations.Thisisfalse.
BASF issimply askingthatyou com ply w1t.
                                       11lawf'ulpoliciesth>tapply toallBASF em ployees.
TheOccupationalHealth and SafetyActof1970 requiresBASF toprovidea1lofitsemployeesaplace
ofem ploym entwhich isfreefrom recognized hazardsthatarelikely to causedeath orseriousphysical
harm to em ployees.Keeping ourworkplacesafeisofprim ary concernto BM F.Tothatend,BASF'S
policieshakebeen guided by therecom m endationsand requirem entsoffederal,state,and local
governm entsand agencies.Consistentwith theserecom m endationsand requirem ents,BASF has
im plem ented apolicythatrequiresallem ployeeswearc10th facecovering ordisposablefaeem msk
while indoors'.

BASF understandsthatyou disagrèewith som eofitspolicies.TheBM F North Am edcaCom pliance
Team thanksyou forbringingyourconcernsto itsattention.Aswehavedonewith you,theBASF
North Am ericaCom plianceTeam ishappyto evaluate and discussany policythatany em ployee
perceivesasdiscrim inatoryortlnfair.Aswehaveexplained hereandin priorcom munication,BM F'S
policiesarenotdiscrim inatoryand qredraflédto com plyW t.
                                                        IZallapplicablefederal,stateand local
laws.Therefore,BASF expectsthatyou willfollow itslawfulpolices.

Stephen Cafiero
Manager,Corporate EEO

Phone:+1973 245-6270,M obile:+1973862-0437,Email:stenhen.cafieroa basf.com
PostalAddress:BASF Corporation,,100 ParkAvenue,07932 Florham Park,USA
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Brian Dale Chancey                                                      ,

From :                                                    Brian Dale Chancey
sent:                                                     Tuesday,October12,20216:i1AM
To:                                                       Stephen Cafiero
Et:                                                       Brian Dale Chancey
subject:                                                  Hconfidential'- Harassing com munications
Attathm ents:                                             Am moniacontrolbuilding door- z10-5-2021jpg;Vaxupstatus10-8-2021.
                                                                                                                          pdf

                                                        C O N FID ENTIA L C O M M U NIC A TIO N
                                                                       29CFR j1630.14(c)(1)
O ctober12,2021

Hello Stephen,
        Istopped by the Am m onia planton 10/5/2021 and notices a sign taped to the doorsaying ''m ask
required to çnterbuilding'
                         '.Ihave attached a photo ofthissign.This constitutes harassm entand needs
to stop.Additionally,Ikeep receiving em ails aboutBASF wanting vaccine status in theirVaxup system .
This is my private medicalinformation and has no relevance to my abilityto perform my job.Stop
harassing me regarding my medicalinformation.AsHR itisyourjob to stop the harassment,and to
stop discrim inating againstm e based on disability.You are continuing to m ake a record ofthis disabili
                                                                                                       ty
with youractions.Cease and desistimm ediatelywith these unlawfulmeasures.

                                                                                                                          Sincerely,
                                                                                                                       Brian Chancey

Mobi
   le:+19792368645,Email:brian.chancey@basf.com
PostalAddress:BASFCorporation,,602 CopperRoad,77541Freeport,USA


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BASF Corporation
           Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 80 of 159           4-2%

Brian Dale Chancey

From :                     Corporatecom m unications
Sent:                      Friday,October8,20219:59AM
Subject:                   Messagefrom theCMT:Updateyourvaccinationstatus& provideproofinVaxupASAP
Importante:                High
                                                           Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 81 of 159

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Questions? Contact:
 * Corporate Medical                     * Us-coronavirus-info@ basf,com
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Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 93 of 159
            Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 94 of 159                                            Aozzj
EEocForm1e1(11/
              2020)                 U.S.EQUAL EMPLOYMENT OPPORTUNIW COMMISSION

                                          DISMISSAL AND NOTICE OF RIGHTS
To: Brian Chancey                                                              From:' Houston DistrictOffice
    3117 EncinoAvenue                                                                 Mickey Leland Building
    Bay City,TX 77414                                                                 1919Smith Street,7th Floor
                                                                                      Houston,TX 77002


                        Onbehalfofpersonls)aggrievedwhoseYenlflyis
                        CONFIDENTIAL(29CFR g1601.7(a))
EEOC ChargeNo.                          EEOC Representative                                               TelephoneNo.
                                         Lucia Pan,
460-2022-00337                           Investigator                                                     (346)327-7667
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWIN; REASON:
              The factsall
                         eged inthe chargefailto state a claim underanyofthe statutes enforced by the EEOC.

              Yourallegations di
                               d notinvolve a disabi
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              The Respondentemploys Iessthan the required numberofemployeesorisnototherwise covered bythe statutes.
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              Your charge was nottimely fi
                                         led with EEOC;in otherwords,you waited too long afterthe datets)ofthe alleged
              discriminati
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      x       The EEOC issues the following determination:The EEOC wi
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       '      determinationaboutwhetherfurtheri
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              have no merit. This determinati
                                            on does notcertify thatthe respondentis in compli ance wi th the statutes.The EEOC
              makesno fi
                       nding asto the merits ofany otherissues thatmightbe construed as having been raised bythischarge.
              The EEOC has adopted the fi
                                        ndings ofthe state orIocalfairem ploymentpractices agencythatinvestigatedthi
                                                                                                                   s charge.

              Other(briefk state)
                                                -   NOTICE O F SUIT RIG HTS -
                                       (Seetheadditionali
                                                        nformationattachedtothisform.
                                                                                    )
Title VII,theA m ericansw i
                          th Disabilities Act,the Genetic Inform ation Nondiscrim ination Act,orthe Age
Discrim ination in EmploymentAct:Thiswillbethe only notice ofdismissaland ofyourrightto sue thatwewi    llsendyou.
Youmayfi
       leaIawsuitagainsttherespondentts)underfederalIaw basedonthi
                                                                 schargeinfederalorstatecourt.Your
Iawsuitm ustbe filed W ITHIN 90 DAYS ofyourreceipt'of'this notice;oryourri
                                                                         ghtto sue basedonthischargewillbe
lost.(ThetimeIimi
                tforfilingsui
                            tbasedonaclaim understatelaw maybedi
                                                               fferent.)

EqualP@yAct(EPA):EPA suitsmustbefiledinfederalorstatecourtwithin2years(3yearsforwillfulviolations)ofthe
allegedEPA undergayment.Thi
                          smeansthatbackpaydueforanyviolationsthatoccurredmorethan2vears(3vearsl
before youfile sultmay notbecollectible.
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                                                                               7*                         11-5-21
 Enclosurests)                                           Rayford 0.I- in,                                      (Datelssued)
                                                         DistrictDirector
cc:
           Steve J.cafiero                                           Tw c CivilRights Division
           M anager,Corporate EEO                                     101 E.15t%m .Rm .1441
           BA SF
           100ParkAvenue                                             A ustin,TX 78778
           Floriam Park,NJ07932
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EnclosurewithEEOG
Form 161(11/2020)
                                         INFORMATION RELATEDTO FILING SUIT
                                       UNDER THE LAWS ENFORCED BY THE EEO C
                                                                                              '
                                                .

                           (Thisi
                                nformationrelatestofilingsuitinFederalorStatecotzrlunderFederalIaw.
                    Ifyoualsoplan to sue claiming vielations ofState Iaw,please be aware thattime Iimits and other
                         provisionsofStateIaw maybeshorlerormoreIimitedthanthosedescribedbelow.
                                                                                              )                      ?
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PRIVATESUIT RIGHTS -- Title VIIofthe CivilRights Act,the Americans w ith Disabilities Act(ADA),                      x

                      the Genetic Information NondiscriminationAct(GINA),ortheAge
                      Discrimination in EmploymentAct(ADEA):
Inordertopursuethismatterfudher2youmustfile alawsuitagainsttherespondentts)namedinthechargewithin
90 davs ofthe date you receivethls Notice.Therefore,you should keep a record ofthis date. Once this 90-
day period isover,yourrightto sue based on the charge referredto inthis Notice willbe Iost. Ifyou intend to
consultan attorney,you should do so prom ptly. Give yourattorney a copy ofthis Notice,and its envelope or
recordofreceipt,andtellhim orherthedateyoureceived i     t. Furthermore,inordertoavoidanyquestionthatyou'
did notactin a tim ely m anner,itis prudentthatyoursuitbe filed w ithin 90 days ofthe date thls Notice w as
issuedtoyou(asindicatedwheretheNoticeissigned)orthedateofthepostmarkorrecordofreceipt,ifIater.
                                   l                              .

YourIawsuitmaybefiledinU.S.Di
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                                    ctCourtoraStptecourtofcompetentjurisdiction.(Usuall
                                                                                      y,theappropriate
Statecourlisthegeneralciviltrialcourt) Whetheryoufilein FederalorStatecourtisamatterforyoutodecide
aftertalking to yourattorney. Filing this Notice is notenough.You m ustfile a ''com plaint''thatcontains a short
statementofthe factsofyourcase which shows thatyop are entitled to relief. Yoursuitmayincludeany matter
allegedinthecpargeor,totheextentpermittedbycouddecisions,mattersIikeorrelatedtothemadersallegedin
the charge. Generally,suits are broughtin the State where the alleged unlawfulpracticeoccurred,butinsome
casescan be broughtwhere relevantemploymentrecords are kept,where the empl       oymentwould have been,or
w here the respondenthas its main office. Ifyou have éim ple questions,you usuall
                                                                                y can getanswers from the
offi
   ce ofthe clerkofthe courtwhere you are bringing sui t,butdo notexpectthatoffice to write yourcomplaintor
make Iegalstrategydecisions foryou.                                                               !

PRIVATESUITRIGHTS -- EqualPay Act(EPA):
EPA suitsmustbefi
                ledincoudwithin2years(3yearsforwillfulviolations)ofthealleged EPA underpayment:back
pay dueforviolations thatoccurred more than 2vears (3vearslbefore you file suitmaynotbe collectible. For
example,i  fyou were underpai  d underthe EPA forwork performedfrom 7/1/08 to 12/1/08,you should file suit
before 7/1/10- not12/1/10 - in orderto recoverunpaid wagesdue forJuly2008. Thistime Iimitforfiling'an EPA
suitisseparate from the 90-day filing period underTitle VIl,the ADA,G INA orthe ADEA referred to above.
Therefore,ifyoualso planto sue underTitle VlI,theADA,GINA orthe ADEA,inaddi       ti
                                                                                   onto suing onthe EPA
claim ,suitm ustbe filed.within 90 days ofthisNotice and within the 2-or3-yearEPA backpayrecovery period.

ATTORNEY REPRESENTATION -- Title VII,the ADA orGINA:

Ifyoucannotaffordorhavebeenunabletoobtainalawyertorepresentyou,the U.S.Di
                                                                        strictCourthavingjurisdiction
in yourcase may,inIim itedcircum stances,assistyouin obtaining a I
                                                                 awyer. Requestsforsuchassistance m ustbe
madetotheU.S.DistrictCourtintheform andmanneritrequires(youshouldbepreparedtoexplainindetai
                                                                                          lyour'
effortstoretainanattorney).Requestsshouldbemadewellbeforetheendofthe90-dayperi
                                                                             odmentionedabove,
becausesuch requestsdo notrelieve you ofthe requirementto bring suitwithin 90days.

ATTORNEY REFERRALAND EEOC ASSISYANCE                             AI1Statutes:
Youmay contactthe EEOC representati
                                  ve shown onyourNotice ifyounqed helpinfindi
                                                                            ng a.lawyerorifyouhave any l
questionsaboutyourIegalrights,including advice onw hich U.S.DistrictCourtcan hearyourcase. Ifyouneedto
inspectorobtain acopyofinform ati
                                onin EEOC'Stileonthecharge,pleaserequestitprom ptlyinw riting and provide
yourchargenumber(asshownonyourNotice).WhileEEOC destroyschargetilesafteracertainti
                                                                                 me,aIIèhargefiles
are keptforatIeast6 monthsafterourIastaction onthe case.Therefore,ifyoufilesuitand wantto review the charge
5Ie,pleasemakeypurreview requestwithin6monthsofthisNotice.(B:forefilingsui
                                                                         t,anyrequestshouldbe
madewi  thinthenext90days.)
                    IF You FILE SUIT,PLEASE SEND A COPY OF yoœ COURTCOMPIA NT TO THIS OFFICE.
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NOTICE OF QIGHTS UNDER THE ADA AM ENDM ENTS ACT OF 2008 IADAAAI: The ADA was
am ended,effective January 1,2009,to broaden the definitions of disability to m ake iteasier forindividualsto
be covered undertheADA/ADAAA.A disability isstilldefmçd as(1)aphysicalormentalimpairmentthat
substantiallylimitsoneormoremajorlifeactivities(actualdisabilityl;(2)arecord ofasubstantiallylimiting
impainnent;or(3)beingregardedashavingadisability.However,f/lc-   vc/e?7n,
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becovered l
          zn#cr the ncw Iaw.

Ifvou plan to retain an attornev to assistvou with vour ADA claim .we recom m end thatvou share this
inform ation with vour attornev and suecest that he or she consult the am ended requlations and
aonendix.         and         other        ADA         related  publications.      available      at
llttp://www .eeoc.tov/law s/tvpes/disabiliB?reaulations.cfm .

idActual''disability ora direcord oP'a disability (note:ifyou arepursuing afailureto accomm adateclaim
you mustm eetthestandardsforeitherRactual''orddrecord of'adisability):
 >' Thelimitationsfrom theim pairmentno longerhaveto besevereorsignificantfortheimpairmentto
     be considered substantially lim iting.
 >' ln addition to activitiessuch asperforming manualtasks,walking,seeing,llearing,spealdng,breathing,
     leam ing,thillking,concentrating,reading,bending,and commtmicating (more examplesat29 C.F.R.j
     163O.2(i)), (fm ajor life activities'' now include the operation ofm ajor bodily functions,such as:
     functions of the im m une system , special sense organs and skin; nonnal cell grow th; and digestive,
     genitourinaly, bowel, bladder, neurological, brain, respiratory, circulatol'y, cardiovascular, endocrine,
     hem ic,lymphatic,m usculoskeletal,and l'eproductive functions;or the operation of an individual organ
     within abody system .
 >' Onlyonemajorlifeactivityneedbesubstantiallylimited.
 > W ith the exception of ordinal'
                                 y eyeglasses or contact lenses,the benencial effects of ççmitigating
   measures'' (e.g., hearing aid, prosthesis, m edication, therapy, behavioral modifications) are not
   consideredindeterminingiftheimpainuentsubstantiallylimitsamajorlifeactivity.
 > Animpainnentthatisçdepisodic''(e.g.,epilepsy,depression,mulliplesclerosis)or(tin remission''(e.g.,
   cancer)isadisability ifitwould besubstantiallylimiting when actlve.
 >' An impairme
             N
               ntm ay besubstantially Iimiting even though itlastsorisexpected to lastfewer than six
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     m enths.

iûltegarded as''coverage:
 >' .
    An individualcan meetthe definition ofdisability ifan employm entaction was taken because ofan
     actualor perceived impairment (e.g.,refusalto hire,demotion,placementon involuntal-y leave,
     termination,exclusion forfailtlre to m eeta qualification standard,lzarassm ent,ordenialofany otherterm ,
     condition,orprivilegeofemployment).
 X dtRegarded as''coverage tmder the ADA AA no longer requires that an impairment be substantially
     lilniting,orthatthe elnployerperceivestheimpairm entto be substantially lim iting.
 X TheemployerhasadefenseagainstaEGregardedas''claim onlywhentheimpail-mentatissueisobjectively
   SOFS transitol-y(lastingorexpcctedtolastsixmonthsorless)AND minor.
 >' A person isnotable to bring a failure to accornmodate claim (/'the individualiscovered only underthe
                .
     ttregarded as''definition ofSsdigability.''

Note: Altllough //lcamended.4.    9z' 1statestllat//;e dqFnition qfdisability <f,
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Gshouldnotdemand 'x/ezl-   Wvcanalysis,''mzzlecourtsrtglzfrespec6cit.vinf/lrcomplaintexplaining how flzl
impairm entsubstantially Jfzzlf/.
                                Na zzl/jt/rlifeactivit
                                      -              y orw/llffactslndlcatethechallengedezzl#//-   pzlczr/actlon
'gtz.
    çbecause oftheintpairntent. Seyt/zlfftheinitialpleading stage,sontecourtswillrequirespec@ cevidence
to establish disability. For m ore infol-
                                        m ation, consult the am ended regulations and appendix, as w ell as
explanatory publications,availableathttp'.//wnfw .eeoc.gov/laqvs/types/disability i'egulations.cfm .
                                                                              -
                           Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 97 of 159                                                                                                                                    :-23

Brian Dale Chancey

From :                                                                                 Stephen Cafiero
Sent:                                                                                  M ondaytOctober18,20213:28 PM
To:                                                                                    Brian DaleChancey
Subl
   -ect:                                                                               Responseto 10/12/21Email


Good afternoon Brian.As you know BASF has implemented a policythatrequires aIIem ployees wear610th face
covering ordisposable facemask while indoors.BASF'S policies are drafted to comply with guidance from the
OccupationalSafety and HeaIth Adm inistration and the EqualEmploym entOpportunity Com mission.The sign
you reference was posted on the doorto rem ind aIIemployees/visitors ofBASF'S policy.Itis neitherharassing
nordirected'specifically atyou.'                '

In regard to the Vaxup system,''the (equalemploymentopportuni
                                                            ty)Iaws do notpreventemployers from
requiring em ployees to provide docum entation or other confirmation ofvaccination,this inform ation,Iike alI
m edicalinformation,mustbe keptconfidentialand stored separately from the em ployee's personnelfiles under
theADA.'U.S.EgualEmploymentOpportunityCommission,WhatYouShouldKnowAboutCOVID-19andthe
ADA,the Rehabllitation Act,and OtherEEO Laws,K.4 (October13,2021)httpsr//-                                                                                                                       .eeoc.gov/wysrwhat-
you-should-know-about-covid-lg-and-ada-rehabilitation-act-and-other-eeo-laws. The Vaxup system is
designed to com ply with alI applicable federaland state Iaws regarding the collection and protection of
employee's confidentialmedicalinformation.

Overthe Iastseveralweekp:BASF has engaged in a good faith dialogue with you in an attem ptto addressyour
concerns aboutBASF'S pollcies.Unfortunately,itappears thatyou continue to persistin yourrefusalto follow
policies that uniform ly apply to aIIBASF employees.W e have asked on previous occasions whethpryou are
seeking an accomm odation related to this policy due to a disability.In response,you have said no and have
denied havinga disabilitythatinterfereswithyourabilityto peform youressentialjobfunctions.
As you know,you had a phone callwith Nancy Grancellon Septem ber23,2021.During thatphone call,Ms.'
G rancellinform ed you thatyou were expected to return to work on M onday,Septem ber27I2021.k                                                                                                       1sM
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BASF understands that you disagree with som e of its poli                        cies. As we have explained here and in prior
comm uni cations,BASF does not intend i    ts policies to be di                 scriminatory and drafts thqm to comply with aII
applicable federal,state and Iocallaws.k
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W e Iookforward to seeing you back in the office on yournextscheduled day.


Stephen Cafiero
M anager,Corporate EEO

Phone:+1973245-6270,Mobile:+1973 862-0437,Email:stephen.cafiero@ basf.com
PostalAddress:BASF Corporation,,1O0 ParkAvenue,07932 Florham 'park,USA



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BASF Corporation
           Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 98 of 159                                         A-2:

Brian Dale Chancey

From :                              Brian Dale Chancey
Sent:                               Friday,October22,20214:02 PM
To;                                 Stephen Cafiero
Cc:                                 Brian Dale Chancey
subject:                            A'Confidential**Response to 10/18/21email
Attachm ents:                       BidenVaccination Ietter9.16.2021.pdf,
                                                                        'Snippetfrom Freeportqeat10-14-2021.PNG;
                                    Ti
                                     er2 m orning m eeting safety m oment10-22-2021.PNG
Signed By:                          brian.chancey@ basf.com



                                C O N FID ENTIA L C O M M U NiCA TIO N
                                                   29CFR j1630.14(c)(1)                     '
Stephen,

         As permy previous communi  cations,Iwould Iike to see the medi caldiagnosis orcourtorderthatBASF is relying
uponto perceivem e asinfectious.W i thoutthisdiagnosi  s,BASF seem sto be assum ing thateveryone iscontagi ouswi  thout
any proof.The perception thatlam contagiousw i    thoutproofisthe problem .None ofthe m itigation m easuresapply to m e
withoutfirsthaving a diagnosis.OSHA and mandates do notapply unless BASF canfirstproduce the m edicaldiagnosis i      t
is relying upon.You have consistently failed to produce any diagnosis orcourtordershowing me as having a contagi    ous
disease which isnotgood faith norisitcompliance wi   th the Iaw.
       Asforcollectionofmyvi   talstati
                                      sticsforthingsthathavenojobrelevance-thisisprivateinformationandIhaveno
Iegalrequirementtoprovidei   t.TheADA prohi  bitsthecollectionofvitalstatisticsthatarenotjobrelated.lhavepedormed
my job since Istaded with BASF withouta mask or i     njections therefore you have no basis upon which to claim thi s
information is needed to perform the dutiesofmyjob. BASF can only allegethatthisisthe new  j
                                                                                             ''policy'
                                                                                                     I
                                                                                                      'atBASF. This i
                                                                                                                    s
notthesamethingasclaimingthatmyjobdescriptiondutiesIi        st'wearamaskandbeinjected'asnecessarycomponents
ofthe performance ofmyduties. Youare trying to defend the policy using an incorrectapplicationofthe requirements of
m y posi
       tion.
       BASFY em ailstates thateveryone who does notprovi       de theirvaccine status by October22ndwillbe treated as
unvaccinated.Thisnew policywilladda new levelofdiscrim inationagainstme,now based onvaccinestatus.AsofOctober
22,2021 BASFw i   llofficiallyclassi
                                   fy me as''unvaccinated''which isdiscrim ination based upona physicalcondition.
       Ihave asked you to provide proofofinsurance forany risk associ     ated with com plying with these m easures. You
havefailed to do so andthus BASF now effectively'adm its''thatBASF hasno insurable riskand therefore nodutyto act.
         BASF has ci
                   ted OSHA 1970ActastheIegaljusti
                                                 ficationfortheirdi
                                                                  scriminatoryactions. Iwillremindyou thatBASF
has fail
       ed to produce any evidence ofm y being an actualorpotenti    al''agent'or''hazard't- which is how the com pany
seemsto be interpreting the regulation.W ithouta determ ination thatIam such an 'agent''or'hazard''the regulati
                                                                                                              ondoes
notapply. Clearlyyoucannotjustassumeeveryoneisawalkingbio-hazard,youmusthaveproof.
       By admitting to using OSHA yoU are frankly admioing thatyou ''regard''me as having the ''
                                                                                               disability'
                                                                                                         'ofa potential
oractualcontagious disease,whi ch isthe Ianguagp oftheADA Ihave been using to clai  m my rights.
       Iwanttodraw yourattenti onto theattached letterfrom 24attorney generalsregarding the use ofO SHA regulations
regarding medicalinterventions around the pandem ic.Here is whatthey had to say regarding OSHA regulations in this
context:                                               .
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osHA?as i     ts fullnam e suggests,exis.t stoensureoccupationalsafety.1p-p-               ...!
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Congress passed withthe Iaw say the bilwasmotivated by a concern that''personalinjuries and illnesses arising outof
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          ons im pose a substantialburden upon ...i
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                      Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 99 of 159


    ''em ployers and em ployees in theirefforts to reduce the num berofoccupationalsafety and health hazardsattheirplaces
    ofemployment.'
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                                                                 sisconsistentwithhow theActelsewhereuses
    these words.O ne provision,forexam ple,requires the governm entto prepare a report'Iisting aIItoxic stlbstances in
    industrialusage.''Anotherprovision repeatedly imposes duties and powers regarding 'substances'
                                                                                                 'and 'agents'
                                                                                                             'towhich
    employees are exposed as partoftheiremployment.Stillanotherrequiresstudies regarding 'the contamination ofworkers'
    homes with hazardous chemicals and substances,including infectious agents,transported from the workplaces ofsuch
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            These statem ents from 24 attorney general
                                                     s reiterate the point that BASF has no obligation to act under
    the O ccupationalHeaIthand SafetyAct(jf1970 asyouhave claim ed.

           As fordisability,you continue to ignore the disabili
                                                              ties thatwe di
                                                                           scussed in ourinterview on 8/25/2021.lhave
    repeatedly informedyouthatIseekno accomodations and thatIam notrequired to acceptyouraccomodationsunderthe
    ADA.AIIIhaveaskedfori
                        stonotbe harassedanddiscriminatedagainstonthejobso Ican perform myjobduties.You
    havecontinued tofailto remedy thisissue aswell.

          Ihaveclaimed my rightsunderthe ADA andlhave pointedoutBASF'Sunlawfulpoli   cieswhich yourefusetoremedy.
    Ihave been atwork and onsite perthe date specifed by Nancy.Ihave notand willnotfoll
                                                                                      ow any unlawfulBASF poli
                                                                                                             çies
    including COVID poli
                       cies which vi
                                   olate my rights underthe ADA.Ihave c6pied you and Nancy on the EEOC charge of
    discriminati
               onandanyfudherretaliation/discrim ination from BASFw i
                                                                    llbe added to thatcharge.

             Addi tionally,Ihave recentl
                                       y received furtherdiscriminatory plantcommunications regarding masking,the solici
                                                                                                                       ting
    ofmy m edicalinformation,and classi   fying me as unvaccinated.Stop regarding m e ascontagious,unvaccinated,andstop
    trying to force medicalinterventionson me.Stopthe harassingemailsimmedi     ately.

    Thanks,
    Brian Chancey


    Mobile:+19792368645,Email:brian.chancey@basf.com
    PostalAddress:BASF Corporation,,602 CopperRoad,77541 Freeport,USA
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    BASF Corporation
           Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 100 of 159                                                                                                      h,-2S'

 Brian Dale Chanuey

From :                         Corporatecom m unications
Sent                           M onday,Novem ber22,202112:47 PM
Subject:                       Messagefrom the CMT:Nextsteps,OSHA emergencytemporarystandard

lm portance:                   High


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Tobias Dradt AlexanderNet/fntwNl-/ -or'
                                      eck,PeterEckes,PeterSchuhm achez Stefan John,N a/y Kurian,
Kristen Pfor/'and M ark Patterson.

Note:The emergency tem porary standard does notapply to sites regulated by the Mine Safety and
HeaIthAdm inistration (MSHA).
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               Additionally,beginningDecember5vaccinatedcolleaguesdonotneedtowearmaskswhenseatldat'
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               workstations in sites orbuildings where 80 percentormore ofthe employee population is vaccinated.M ore
               detailswillbe communicated bysitesIocally.W e askthateveryone continue usinggoodjudgmentwith social
               distancing and otherpreventive measures and be respectfulofeach otheras this changing environmentmay be
               stressfulforsome colleagues.

               Sincethepandemicbejan,ourfocushasbeenprotectingourpeople,minimizingimpacttoourcustomersand
               keeping BASF strong forthe future.W e've encouraged everyone to getvaccinated and have provided time offto
               do so.W e acknowledge this is a personalchoice each ofus m ustm ake,and we thank the more than 10,000
               em ployeeswho have chosen to be vaccinated.

               W e beli
                      eve thatim plementing these additionalmeasures is the nextstep in restoring a sense ofnormalcy while
               keeping ourworkplaces heal thy and safe forall.

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    Sent:                              Monday,December6,20211:17 PM ,
    Subjett:                           Messagefrom theCMT:Updateon OSHA TemporaryStandard (ETS)

    Importance:                        High




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W e understand this evolving situation has created a sense ofuncertaintyforaIIofus.Our
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Bestregards,


Crisis M anagem entTeam
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From :                                                                                                   ChristopherPaulW itte
Sent:                                                                                                    Friday,Decem ber10,20218:52AM
Ec:                                                                                                      Freeport-Leadership-Team
subl-ect:                                                                                                e lnternal- FreeportOSHA ETS Update
Attachm ents:                                                                                             Updated Mask GuidelinesChar
                                                                                                                                    tdocx

Follow Up Flag:                                                                                           Follow up
Flag Status:                                                                                              Flagged


DearColleagues,

Bynow,Iam suieyouhaveseentheIatestCMTmessageonOSHA'
                                                  SEmergencyTemporaryStandard(ETS).
First,Iwanttoremindyou,tqisi
                           snota BASF policy.TheETS i
                                                    saproposedstandard i
                                                                       ssuedbyOSHA,whichcovers
employerswithmorethan100employees.Pleasenote,BASFwillnotimplementthetestingprogram whiletheETSisin
litigati
       on.W hile the outcom eofthe rullng is uncertain,we m ustcontinue to prepare as though itwillgo 'Iive''onJan 4.Itis
importantwe asa siteare ready i  fitpasses,italso gi  ves unvaccinatedcolleagues time to make an i nformed deci sion.
Forthe FreeportSite,ifthe ETS goes into effectonJan.4,fullyvaccinated em ployees m usthave provided proofin
Vaxupby December21to be consideredfull
                                     y vacci
                                           nated.Forunvaccinatéd employees,BASF willpayforweeklytesting
forthefirst60days'
                 ,thereaoer,em ployees are expected to coverthe costoftheirweeklytest.
Forweeklytesting ofunvaccinated employees,the Freeportsitewillbe using a service provider,Quest.Questprovi   desa
take home rapi
             d antigentestwith proctoring overa video call.Testkitswillbe mail
                                                                             ed to the homesofunvaccinated
em ployeesandtesting willbedone through Quest.eM ed.com .A proctorwillwalktheem ployee throughthe process,
veri
   fyand authenticate the test.Employeeswillthen receivetestresultsvi a emailwithin 15 minutesofcompleting thetest.
The em ployeewillthen em ailthe resultstoanem ailaddressthatw illbe com m uniœ ted,ata Iaterdate.Testing w i
                                                                                                           llbe
reguiredeverysevendaysanddoesnotneedtobescheduled.However,werequestthatemployeesnotwai
                                                                                     tuntiltheIast
m lnute to ensure a smoothtestingprocess.Testing resultswillalso determ ine access to the si
                                                                                           te.
Forthosew ho have recently tested posi
                                     tiveforCOVID-19,youare notrequired to undergotestingfor90 days following
thedate ofthe testordiagnosis.Youw illalsoberequiredto provi
                                                           de proofofthediagnosisand ofbeing cleared.
BASF iscurrentlyworking on an approved exemption process whichwillbe communicatedsoon.Asthis isa Iegal
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Chris & The Freepod Site Leadership Team


Chris W itte
SrVP:FreeportSite GeneralManager

Phone:979-415-6111 Mobile:225-978-9619 Fax:979-415-8482 E-MaiI:christophenwitte@ bastcom
PostalAddress:BASFCorporation,6O2 CopperRd,Freeport,Tx77541
                Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 106 of 159                      A.-2&e

    Brian Dale Chancey
    From :                        Corporatecom m unications
    sent:                         Friday,December17,20218:21AM
    subl*ect:                     M essagefrom theCMT:Update on OSHA ETS implementation
    Im portance:                  High

    Follow Up Flag:               Follow up
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     C urrent m ask requirem ents for BA S F
     As ofDecem ber5,fully vaccinated colleagues do notneed to wearm asks w hen seated atdesks or
     workstations in sites orbuildings wi
                                        th a vaccination rate ofatIeast80% OR in countieswhere
     com m unity transm ission ofCO VID-19 is Iow orm oderate as determ ined by the CDC.    '       .

      * Details aboutm ask requirem ents w illbe com m unicated Iocally based on yoursite's
         vaccinationandtransmlssion rates.

      * To go withouta m ask when seated atyourw orkstation,you m ustprovide proofof
        vaccination in Vaxup and follow yoursite's procedure to receive a sticker.                  '

      * W itintheemergenbe oftheOmicronvariant,alIcolleagu#:mustweara maskduringmeetings
         and in indoorcom m on areas,such as hallw ays,bathroom s and shared break room s.

      * Pleaseusegoodjud.gementwithkocialdistancingandotherpreventivemeasures
         and be respectfulofeach other.




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      Brian Dale Chancey

      From :                    .   Tabitha M arie Ray
      Sent:                         Thursday,Decem ber30,20213:06 PM
      Subject:                      CoronavirusUpdate#64
      Attachm ents:                 CD19 Spike Responsel2- 30- 2021-V3.pptx

      Categories:                   Green Category




COVlD-19 Update #64 - Dec.30,2021


DearColleagues,

Positi
     ve Covid-lg cases have risen significantly in ourèom muni
                                                             ty and the site.Overthe Iastweek,the Brazoria
County positivity rate has been consistently o'
                                              ver20 percent'
                                                           ,forthe Freeportsite,we are recording severalnew
positivecasesdaily.AsofDecember30,ihe Freeportsite(BASFandcontractors)hasàtotalof5?covid positive         '
cases and 42 colleagues in quarantine. W e expectthe num bers to continue to rise.                    .
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Based on the BASF M edicalTracking M etrics,beginning January 3 through January 14,2022,the site Ieadership
                                                                .

team has decided So return to a code red status and to follow the corresponding practices.   '

T'his m eans that:
   @ See attached slide forpotentialchanges to workschedule
   @ W e are waiting on direction from corporate m edicalon adoption ofthe new CDC guidelines regarding
      quarantine durations;once confirm ed,we w illim plem entaccordingly
   @ Visitoraccess is Iimited to business çriticaland m ustbe approved bya DirectorIevelorabove
                                                                                             .
      Projectsalreadyunderwaywith adefinedend-time maycontinue.However,foranynew pr
                                                                                  îojectsortasks not
     planned,they mustbe businessorsafety criticalto the site and approved by a directororabove
     M asks are alw ays m andatory unless you are alone in youro/ice oralone outside.Please note thatthe
     m asking requirem ents include autom obiles. ,
     W heneverfeasible,we askforaIIm eetings to be hèld vidually.Formeetingsthatmustbe in person,please
     keep Iimited to a smallgroup ofindiyiduals atorbelow meeting room designated capacities and be vigilant
     with covid protpcols
     W hile w e continue to supportourcom m unity through financialcontributions,to help furtherprotectour
     com m unity and oursite,participation in com m unity events on behalfofBASF w illnotbe perm itted atthis
                                                                           .

     tim e
   . Off-site travelmustbe approved by a SLT member.

We know thishasbeenaIongjourneywithmany changesandchallqnges;however,it'
                                                                       isimportantthatwecontinue
Lo be vigilantin ourfightagainstCOV ID.BASF strongly encourages you to considergetting vaccinated as there is
ample data thatthe effects ofthe virus on those vaccinated folks,evenforthe much more contagiousstrains,are
significantly reduced,reducing the tim e to recovery and the Ioad on ourm edicalfacilities.Forthose vaccinated,if
gourIastdose w as m ore than 6 m onths ago,we encourage you to getthe booster.

As stated earlier,the code red status w illbe in effectfrom January 3 through January 14.
Ifyou have any questions,please feelfree to reach outto any memberofthe site Ieadershipteain.

BASF Corporgtioq continues to monitorthe OSYA ETS.



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               Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 111 of 159                  5'-13V '

       Brian Dale Chancey                                                                   '
       From :                        Tabitha M arieRay        '
       Sent:                         Friday,December31,20213:
                                                            48 PM
       Sub*
          Jett:M                     CoronavirusUpdate#64 part2-CDC Quarantine RequirementsUpdate
       Attachm ents:                 CD19 Spike Response12- 30- 2021-V3.pptx




COVID-19 Update #64 part2 - Dec.31,2021
DearColleagues,                                                                                          ,
I'he Freeportsite alongwi
                        thBASF Corporation isadjusting the Covid quarantinerequirementstofollow the new CDC
luidelines.The new quarantine guidelineswillg: into effecttoday,Decembei31,2021.
Dersonsw ho testCovid positive (renardless ofvaccination status)willfollow the Isolation guidelines issued by the CDC:
                                                                '
                                             .

   .   ContactSite M edicalimm ediately i
                                        fyou receive a posi
                                                          tive resultand stay hom e for5 days.
   .   CoptactSi
               te Medicalonday 5ofisolationto reporteitherbeing symptom freeorifyou stillhave symptoms.



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   .   Ifexperiencing no symptoms,Site M edicalwillclearforreturnto workwith the following requirem entsto be strictly
       adhered to forthe next5 cal
                                 endardays:

              G earN95 m ask ataIItim es while atwork.N95 m asks willbe supplied atthe site.
              MonitorforsymptomsandreporlankchangetoSupervisorandSiteMedicalimmediately.
Dersons fullv vaccinated w ho are exposed to som eone w ith Covid willfollow the
aUARANTINE guidelines issued by the CDC:
       . W eara N95 m askfor10 calendardays while atwork.
       @ Monitorforsym ptoms and ifsym ptoms develop contactSupervi
                                                                  sorand.site Medicalim mediately.
Dersons notfullv vaccinated and those unvaccinated who are exposed to som eone w ith Covid w illfollow the Isolation
iuidelines Iisted above.                                                               '                      ,

ïmpodaniNotes:

1.'FI#ly vaccinated''is defined as:
   * Receivedabooster(14dayssincereceivingl;or
   @ Com pleted the prim ary series ofPfizerorM oderna vaccine withinthe Iast6 months;or
   * Com pleted the prim ary series ofJ&J vaccine within the Iast2 months.
2.lfyouaresickstay homeandcontactyourSupervisorandSiteùedicalforfudherinstructions.                   .




AS PREVIO USLY CO M M UNICATED Dec.30.2021:
DearColleagues,
Dositive Covi d-lg cases have risen sigpi
                                        ficantly in ourcom m unity and the site.Overthe Iastweek,the Brazoria County
aositivi
       ty rate has been consistently over20 percent;forthe Freeportsite,we are recording severalnew positive cases daily.
AsofDecember30,the:Freeportsi
                            te(BASF andcontractors)hasa totalof57covi
                                                                    d positive casesand42 coll
                                                                                             eagues in
luarantine. W e expectthe num bers to continue to rise.

Based on the BASF MedicalTracking Metrics,beginning January 3through January.l4,2022,the site Ieadership team has
jecided to return to a code red status and to follow the corresponding practices.
Fhis m eans that:
   @ SeeattachedslideforpotentialchangestoAorkschedule
   * W e are waiting on direction from corporate m edicalon adoption ofthe new CDC guidelines regard,ing quarantine
     durations'
              ,once confirmed,we willim plementaccordingly
     Visi
        toraccess is Iimited to business criticaland mustbe approved by a DirectorIevelorabove
       Projectsalready underwaywith adefined end-timemay continue.However,foranynew projectsortasksnotplanned,
     they mustbe business orsafety criticalto the site and approved by a directororabove
   . Masks are always mandatory unless you are alone in youroffice oralone outside.Please note thatthe masking
     requirem ents include automobiles.
     W heneverfeasible,we aàk foraI1meetings to be held virtually.Formeetings thatmustbe in person,please keep
     Iimited to a smallgroup ofindi
                                  viduals atorbelow m eeting room designated capacities and be vigilantwith covid
     protocols
                Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 113 of 159



   . W hile we continue to supportourcom munity through financialcontributions)to help furtherprotpctourcomm uni
                                                                                                               ty and
     oursite,padicipation in com m unity events on behal
                                                       fofBASF willnotbe permitted atthis tim e
   * O#-si
         teiravelmustbeapprovedbyaSLTmember.

&e know thishasbeen aIongjourneywith manychangesand challenges'
                                                              ,however,i
                                                                       tisimportantthatwe continue to be
zigilantin ourfightagainstCOVID.BASF strongly encourages you to considergetting vaccinated as there is am ple data that
:he effects ofthe virus on those vaccinatéd folks,even forthe'm uch'm ore contagious strains,are significantly reduced,
-educing.the tim e to recovery and the Ioad on ourm edicalfacili
                                                               ties.Forthose vaccinated,i fyourlastdose was m ore than 6
months ago,we encourage you to getthe booster.                                                                           '

Ns stated earlier,the code red status willbe in effectfroin January 3 through January 14.
I
fyouhaveanyquestions,plàasefeelfreetoreachouttoanymemberofthesiteIeadershipteam.
BASF Corporation continues to monitorthe OSHA ETS.




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           Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 114 of 159                       :-2:

Brian Dale Chancey

From :                         BrianDaleChancey
Sent:                          M onday,January3,2022 9:32 PM
To:                            BAsrNAcom plianceTeam
Cc:                            BrianDaleChancey;StephenCafiero
subject:                       OSHA ETSand questions/commentson BASFpolici
                                                                         es#1

Legal:
Hereare mycommentsand questi
                           ons relatedto the ETS and the BASF policies-

OSHA ETS KREGULATIONS''UNLAW FUL AND REQUIRE LOSS OF FEDERAL FUNDING AS
                                  .
                                                                               '

PEN ALTY

x
       OSHA TtmergencyTemporaryStandards''(ETS)violatestateandfederallaws.OSHA andother
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tcderalagenciesaresubjecttothelossoffederalftmdsforviolationsofSection504oftheRehabilitationActof
1973,theAmericanswithDisabilitiesAct(ADA)of1990and asnmendedin 2008,concerning employeesstate
1aw (Iong-standingpublichealthpolicy)requilingjudicialreview andapprovalbeforeimposinganymcdical
interventionssuch asm ask-wearing and so-called vaccinationsduring thisem ergency use authorization period,
and theFood,Dnzg and Cosm eticAct.
       O SH A ETS purportedly imposed upon employersand elnployeesfailto com ply w ith publicpolicy
whichrequiresjudicialreview andapprovalpriortotmilaterallyimposingany11ea1thcontrolmeasuresupon
anyone,foraccommodationswhichincludebutarenotlimitedtoexaminations(testingandcollectionofvital
statisticssuchasbodytempkrature),maskwearingandtakinganytypeofmedicineorinjectionOrparticipating
in any clinicaltrials,specifically regarding em ployersand em ployees.
        Firstofall,the m ostobviousproblem w ith these so-called tsem ergency temporary standards''isthat
OSHA hasfailed to identify any new health orsafety hazard thatwould give rise to the nced forsuch m easures.
Secondly,these arecel-tainly nottemporaly asno tim e lim itis setforth therein,and deceptivcly excludesthe
factthatthetwo yearold,so-called ld   pandem ic''already hasan investm entm arketcapitalization in thehundreds
ofbillions ofdollarsandhundredsofgovenuuents around thew orld have invested theirmoney in long term
expectationsthatthisw illcontinue fordecades.
        M oreover,O SHA hasfailed to conductresearch and gatherdata to determ ine the scope ofany new
publichealth risk.ltistherefore impossibleforanyoneto be sçfully vaùcinated''sincethere isno evidence of
any contagiousdisease 9om which one could be vaccinated'    ,and,we arestillwithin an em ergency use
authorization period,so by clinical,scientific and m edicalstandards,there isno vaccine,only epidem iological
experim ents.Furtherm ore,a vaccinepreventsinfection and transm ission ofa contagiousdisease and
manufacturersoftheso-called Eçvaccine''disclaim allliability forthe eftk acy ofwhatthey claim to be a
ïdvaccine''and openly adm itthatnoneofthem preventtransm ission orinfection ofthe so-called '$Covid-19''>
even ifitdid existand even ifviruseswere everproven to be contagiouspathogens.
         OSHA'StEEmergencyTemporaty Standards''orETSconstituteasubstantialpublichealthriskin
them selvesand violatepubllc health policiesin alltifty states.These policiesarepublished on the website of
theCentersforDisease Prevention and Control,w hich is also facilitating these snm eviolationsand illegal
policies.Let'sbegin with theD istrictofColumbia'svery own Second Edition oftheDistrictofColum bia
PublicHea1thEmergencyLaw Manual(D.C.PHELM).ThisismentionedbytitleonlybecauseoncetheCDC'S
website isreferenced,the CD C rem ovesthelink so itappearsthatthereference isin error.Then we havethe
Pemlsylvalr
          tiaPublicHea1th Làw Bench Boolt,theNew York StatePublicHea1thLegalM anualforjudgesand
atlorneysand then theFlorida Pandem ic InfluenzaBenchgtlide and then the Texas ControlM easuresand Public
Health EmergenciesBench Book and the listcontinues.Forstatesthatdo nothave apublished publichealth
bench book,the sam ertzlesare easy to compile from case law,statutes and regulations.Thcsea11contradict
              Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 115 of 159

                                $

. ,   OSHA'SETS andrelated K'rules''andeach ofthesebenchbooksexpresslollg-standingpublicpolidesregarding
      healthcontrolmeasuresthatrequireproofofapublichealtht'
                                                           iskandthenjudicialoversightandapprovalasa
      condition beforeim posing any ilztervention on any oneperson.N one ofthesebench bookspenzlitan entire
      population to beregarded ashaving acontagiotlsdiseaseal1atthe sam e tim e
              OSHA hasfailed to conductany m eaningfulhealth effects analysis orrisk assessm entregarding any
      new public health risks,including butnotlim ited to theso-callcd çtsarscovz''orGGcovid-lg''claim s.
             TheOSHA ETSunder29CFR Part-19l0.501(c)givespassingmentiontoddexemptions''forthosewith                     '
      disabilities ormedicalort'eligiousexeluptionsunderonly civilrightslaws,butdeceptively excludes any
      referenceto any specitk legalduty from which onew ould be exem pted and com pletely failsto m ention the
      standardsim posed undertheAm ericans with D isabiliticsAct.The term is deceptively used to im ply thatan
      employerorem ployee m ay be dûexem pt''from som e new legaldutybutfailsto identify thatlegalduty by citing
      any valid and enforceable legalduty.
             Thissectionalsofailstodiscloseanylegalorobjectivestandardsorcliteriabywhichsuchreligiousor
      m edicalexemptionswould begranted orexclude an em ployerorem ployee from accepting the m edical
      intenrentions oraccomm odationsdesclibed in the ETS.Thisunfairly and deceptively deniesem ployersand
      elnployeesthe rightto a fah'and impartialreview ofsuch ddexemption''becausew ithoutan adequate and
      com prehensive disclosure ofwhich criteriaw ould qualify som eone'sclaim ofttexemption'',such criteria
      becom e arbitrary and capriciousand any adm inistrative decisionsresulting therefrom would benulland void
      forihesamereason.
              Thissection ofOSHA 'SETS also deceptively failsto disclose thefactthatevel'y em ployerand every
      em ployee isbeing regarded ashaving adisability by theETS itself,and thattheburden ofproving such
      disability isupon OSH A and anyoneattempting to im posethesem easuresupon any em ployerorem ployee.
      ThisETS also failsto disclosethe criteria forOSHA 'S burden ofproof,orthe btlrden ofproofthatisim posed
      upon any governm entagency oremployerforinlposing these m edicalinterventionsoraccomm odationsupon
      anyone;to w it:
              28 CFR Pal'ts35.104 and 35.106 forTitle 11dtgovenuuent''public accom m odationsand 28 CFR Part
      36.105(e)1andPart36.203(c)(1)forTitleI11ttprivatebusiness''publicaccommodationsq
                                                                                     'establishesthat
      tW othing in thispartshallbe construedto requirean individualwith a disability to acceptan accom m odation,
      aid,service,opportunity,orbenefitavailable underthispartthatsuch individualchoosesnotto accept.''and the
      standardsunder29CFR Part1630.9(d)foremployersasdefinedbyBragdonv.Abbott,524 U.S.624 (1998).
             Furthel-more,theRehabilitationActof1973,specificallysection504(45'CFR Part84)prohibits
      employmentdiscriminationonthebasisofdisability.Specifically,45CFR Part84.4(b):
             (ç(b)Disctiminatol'yactionsprohibited.
                        (1)A recipient,inprovidinganyaid,benefit,orservice,maynot,directlyorthrough
                               contractual,licensing,orotherarrangem ents,on the basisofhandicap'
                                                                                                .
                           (i) Denyaqualifiedhandicappedpersonthcopportunitytoparticipateinorbenefitfrom the
                           .   aid).ben'efit,orservice;
                           (ii)Affordaqualifiedhandicappedpersonanopporttmitytoparticipateinorbenefitfrom the
                               aid,benetst,orservice thatisnotequalto thatafforded others;
                           (iii)Provideaqualiliedhandicappedpersonwithanaid,benefit,orselwicethatisnotas
                               effective asthatprovided to others;
                           (iv)Providedifferentorseparateaid,benefits,orservicestohazdicappedpersonsortoany
                               class oflzandicapped personslm legssuch action isnecessary to providequalified
                       '
                               handicapped personsw ith aid,benefits,orservicesthatare aseffective asthoseprovided
                               to others;
               '           (v)Aid orperpetuatediscrimination againstaqualifiedhandicappedpeTsonby providing
                               significantassistanceto an agency,organization,orpcrson thatdiscrim inateson thebasis
                               ofhandicap in providing any aid,benefit,orservicetobenesciariesoftherecipients          '
                               program oractivity;
                           (vi)Denyaqualifiedhandicappedpersontheopporhmitytoparticipateasamemberof
                   ,           planning oradvisory boards;or
                                                               2
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                  (vii)Othel-wiseliluitaqualifiedhandicappedpersonintheenjoymentofanyright,privilege,
                      advantage,oropportunityenjoyedbyothersreceivinganaid,benefit,orservice.''
       These ETS deceptively failto disclosethatOSHA ,and any agency seeking to impose thesem easures
upon anyone,hasthe burden ofproofto establish thatany specific em ployee isa directthreattmderthe standard
setforthherein:29CFR Section 1630.2($:                               .
29CFR Section1630.1($:
       çr irectThreatm eansa significantrisk ofsubstantialhalnn to thehealth orsafety oftheindividualor
othersthatcannotbe elim inated orreduced by reasonableaccom m odation.The determ ination thatan individual
posesa (directthreat'shallbebased on an individualized assessm entofthe individtlal'spresentability to safely
perform theessentialfunctionsofthejob.Thisassessmentshallbebasedonareasonablemedicaljudgmentthat
relieson them ostcurrentmedicalltnowledgeand/oronthebestavailableobjectiveevidence.In dùtermining
w lzetheran individualw ould pose adirectthreat,thefactorsto be considered include:
           (1)Thedurationoftherisk;           ,
           (2)Thenatureandseverityofthepotentialhann;
           (3)Thelikelihoodthatthepotentialharm willoccur;and
           (4)Theimminenceofthepotentialhal'lu.''
        Thissam e standard isverbatim underTitles11and 1I1ofthe Am ericanswith DisabilitiesAct,which is           '
the standard by which Section 504 ofthe Rehabilitation Actof1973 ism easured and by which evely other
acttlal1aw isimposed.See29U.S.C.j794(d).
        TheETS also deceptively om its thefactthatem ployeesare notrequired to requestElreasonable
m odifications''when faced w ith any ofthese m edicalinterventionsoraccom m odationsbecausetheburden of
provingthattheemployeemustacceptandsubmittothem issquarely upon theemployerorgovelmmentagency
seeking to im pose them and thereby regarding each employeeashaving a disability and maldng a record of
such disability by m is-classifying the elnployee ashaving aphysicalorm entalimpairm ent.
        No OSHA ETS can require employersto im posem edicalinterventionsand otherhealth control
m easuresoraccom modationsupon em ployeesforthe followillg reasons:
        Employershave no legalduty ofcare orinsurable risk to protecttheiremployeesorthose associated
with theirbusinessesfrom a contagiousdisease thatiswidely believed to existby the com m unity,even ifone
w ere everproven to exist.
        The OSHA ETS failto provide,discloseorrequire docum entaly evidenceofany culture orspecim en
thatwould establish orprove theexistence ofany contagiousdiseaseknown as$$SarsCov2''or$tCpvid-19''or
any otherpublichealth risk whatsoever.
        O SH A ETS failto explain w hy theso-called Sdvaccine''doesnotpreventinfection ortl-ansm ission ofthe
intended contagiousdisease,the very detinition ofttvaccine''.The tenn tçvaccine calm otbe associated with a
m edicalintervention thatdoesnotm eetthetraditionaland scientitk orlegaldefm ition ofddvaccine''.Thisis
false and deccptive,in factitviolatestheadvertising standards im posed by the Food and Drug Administration
(FDA).                                                                                                            ,
       O SHA deceptively claim sthatthe FDA hasapproved avaccinethatiscom m ercially available.
Everything the
             atfollows isatotalfraud and hum an rightsviolation.
       O SH A ETS failtoprovide,disclose orrequire docum entary evidenceofthe m edicalnecessity ofthe
interventionsoraccom m odationspurportedly imposed by itsregulations.
       OSHA isnotindemnifiedandcannotlegallyallocatepublicfundstoindemnitkemployerswhocomply
w ith these regulations,and employershaveno insurance orindemnifk ation forengaging in the following:
       A.lmposillgmedicalinterventionsoraccommodationssuchasmask-wearingandinjections,cspecially
during an em ergency use authorization period.
        B.Im posing m edicalintelwentionsoraccolnm odationsw ithoutthecom petence,insurance,licensing or
qualificationsto provide infonued consent.
        C.Im posing m edicalinterventionsoraccomm odationswithoutany m edicalexam ination to determ ineif
any intervention oraccomm odation hasany contra-indications.
        D .Protecting anyoneorindem nifying em plo' yeesfrom contracting a contagiotlsdisease thatiswidely
believed to existby the com m unity;especially since itwould be impossible to establish ççproxim ate cause''and
                                                       3
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theemployerhasnoliabilityundertheDoctrineofAssumptionofR-isk(alsoopenandobviousordomparative
fault).Thisisbasicpremisesliabilitylaw.
       E.Havinjfmancialrespolzsibilityforanyonesufferingadversehealthconsequencesfrom submittingto
em ployer'sm edlcalinterventionsoraccom nzodations;especially sinceitw ould be impossibleto establish
tdproxim ate cause''and in thiscasç,the em ployerisfinancially liable forengaging in conductthatisboth
dangerous and negligent.
        F.Employeescan neverbe required topal-ticipate in clinicaltrialsorepidemiologicalexpelim entsasa
condition ofemploym ent.ln fact,no one can berequired to participate in thesew ithoutfu11disclosure and
informed consent.Thisviolates21CFR Pal450.20 oftheFood,Drug andCosmeticActtmder(tGeneral
requirem entsforinformed consenf'.Thereareno applicable exceptionssince nopublic health em ergency or
imm inentthreathaseverbeen identified by any scientific orclinicalstandard.
        G.O SH A ETS violatesan elnployers duty ofcare forthereasonsherein butalso forthereason that
employershave aduty to aid and encourage those who are regarded ashaving disabilities.Likewise,O SH A
itselfviolatesitsown duty to aid and encourage those with disabilities,asOSHA regardseveryone ashaving a
disability and hasm ade a record ofsuch disability by mis-classifying the entirepopulation ofthe United States
ashavingaphysicalormentalimpainnent(contagiousdisease).
        These OSHA ETS impose a disability upon evely em ployerand every em ployeeby regarding each as
having adisability;such that,evel'
                                 y em ployeeisregarded ashaving adisability sim ply by them erefactthat
O SH A regulationspurpor'tto impose m edicalinterventionsand accomm odationsupon each,underthe OSHA
claim thattheseunproven interventionsand accom m odationspreventthe spread ofa contagiousdisease for
which there isno evidence ofits existence.This satisfiesthe firstprong oftheAD A.             .
        OSH A ETS require OSHA and employersto make arecord ofsuch disability by m isclassifying each
employeeashavingaphysicalormentalimpairmentthatsubstantiallylimitsoneormoremajorlifeactivitieù.
Thissatisfiesthe second prong ofthe ADA and m eetsthecriteria forstating aprim a faciecause ofaction for
injunctivereliefundertheFederalRulesofCivilProcedtu'e.
        TheburdenofprooftoestablishthatanyonewouldbesubjectedtoanyofOSHA'SETSisuponOSHA
and upon any em ployerseeking to im posethesem easuresto conductan individualized assesslnentforeach
employee and then determ ineby A DA scientific and m edicalstandardsthatany such em ployeeisadirect
tllreat.Thisisnotpartofthe OSHA ETS,butitisa m atteroflaw imposed upon OSHA and anyone elseseeking
to impose these ETS.
        These OSHA ETS failto comply with thestandards oftheADA by requiring an individualized
assessmentpriorloregardinganyoneashavingadisabilityanddiagnosedasbeingadirectthreat.Thestandards
ofthe ADA are em ployed underthe Rehabilitation A ct.
       Regulationsfailto require em ployersto m ake conspicuousnotice to employeesasto how orin what
mannerthesemedicalintel-ventionsoraccommodationsareanessentialfunctionoftheemployee'sjoborduties
ofem ploym ent.
       Section 201(h)oftheFood,Drug and CosmeticAct,alongwiththeFDA'SdTinalGllidance''ldefines
ttm ask-w earing''when intended for14ealtllpulmosesto be am edicalintervention.Regulations conflictwith and
failtocomplywitb21U.S.C.360bbb-3(e)(1)(A)(ii)(1-111)oftheFood,Dl-ugandCosmeticActwhichrequires
thatemployersmakethefollowingdisclosuresorwarranties:(1)thattheSecretaryhasauthorizedthe
elnergencyuseoftheproduct;and,(11)ofthesignificantltnownandpotentialbenefitsandrisksofsuchuse,
andoftheextenttowhichsuchbenefitsandrisksareunknown;and,(111)oftheoptiontoacceptolrefuse
adm inistration oftheproduct,ofthe consequcnces,ifany,ofrefusing adm inistration oftheproduct,and ofthe
alternativesto the productthatareavailable atld oftheirbeneftsand risks.
        These OSHA EûETS''conflictsw ith A DA provisionsthatpreclude any employerfkom imposing any
accomm odation upon anyonewho isregarded ashaving a disability.
       OSHA failsto disclose public health recordsdem onstrating any change in them ortality ratesfrom 2017
to 2018 to 2019 tllrough the year2020,such thatthe m ortality rate in any population sampleneverexèeeded a
standard deviation ofzero,the very definition ofabsolutely no public health em étgency.Thisispublicrecord,
check with you.rchiefm edicalexaluiner'sofficeand geta copy ofthepublicrecords.

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        TheseOSIIA regulationsviolatethe1aw andviolatepublicpolicy and arenullandvoidfornotonly
these reasons,butthe factthatthey com pletely evade legislative review .Thisisa federalagency thatis      .

attem pting to impose new legalstandardsthatviolate traditional,longstanding public health policiesin evely
state.These ETS exceed O SH A legislative mandate and atithority.
                  Should have said illegal                              ,
        Since BA SF continuesto attemptto impose policieson m eregardlessofbeing adviscd on m ultiple
occasionsthatsuchpoliciesarel
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                            lïtttiikfrtitlbss
                            t
BA SFSexisting and proposed future poll
                                      j
                                       '    nddiscriminatorylhavethefollowingquestions/comluentsregarding
                                      ,cy changesm entioned in the BA SF em ailson 11/22/2021, 12/6/2021,
12/17/2021,the em ailfrom ChrisW itte on 12/10/2021 regarding theETS,and in Coronavinzsem ail#64 on
12/31/2021:
 '

        On 10/22/20211sentan em ailto Stephen Cafiero again asking foran ilzdividualized assessm entforthe
        measuresBASF isattem pting to enforce on m casisrequired by the ADA .1also provided evidence that
        BA SF had no authority orobligation to im pose thethe m itigation m easuresithasbeen attem pting based
        on thecodecited by BA SF.lneverreceived a reply.1am again notifying you thatyourrecentem ails
        andlphave
        As    oliciesrme
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        10/22/2021,1willask again,please citethe legalcodethatobligatesBASF to enforce thesem easures.
        Pleaseprovidethespecificotumose (forexample,stoptransmission,stopinlkction,etc)forthe
        following countermeasuresBA SF ism andating:                                           should have said i
                                                                                                                llegal
        o   M asks       .
        o Distancing
            COV ID tests
        'o Shots(''vaccines'')
     4. Pleaseprovidethe link to theFDA      approvalforthe mask BASF ism andating.
     5. Pleaseprovidethe linlcto theFDA      approvalfordistancing BA SF is m alldating.
     6. Pleaseprovidethe link to theFD A     approvalfoTthe COV ID testBASF ism andating.
     7. Pleaseprovide the link to theFD A    approvalforthe shotsBA SF ism andating.
     8. Pleasecitethelegalauthorit'
                                  ytomandateteststhatarenotjobrelatedandhavenopublichealthbenefit.
     9. Pleaseprovidethe link to the clinicalstudiesthatshow them andated CO VID testscan diffrrentiate
        betweenthevarioustypesofcoronaviruses(atleast7knowntoinfecthumans)andcandetermineifan
        employeehasan active infection versus apreviousinfection.
     10.Asmentionedinthepreviousparagraplzsthe''jabs''youareattemptingtomandatedonotmeetthelegal
        definitionofvaccineasdeYnedinIowaCode(AR.      C 4096C)(''aspeciallypreparedantigenadministeredtoa
        personforthepurposeofprovidingimmunity.'î),42U.S.C.j300aa- 1(''theoptilnalpreventionofhuman
        diseases't),and 1986NationalChildhoodVaccinelnjuly Act(PublicLaw 99-660)('optimalprevention
        ofhumaninfectiousdiseasesthroughimmunization'    ').Pleasecitethelegalcodeforthedefnitionof
        vaccinewhich you are relying on and cite how you areoverridinz exisiting legal& m edicalvaccine
        det-
           initions.                                                 - '
     11.Regardlessoftheoutcomefrom theOSHA ETSlitigationthese''jabs''arenotvaccinesbutareinstead
        m edicaltream ents,please cite the legalcodethatoverridesCrtzzan v.Director,M issouriDept.ofHealth,
        497 U.S.261(1990)andallowsBASF toforceemployeestotalcemedicaltreatmentsagainsttheirwill.
     12.Pleaseprovide thespecific addressand phonenumberofalocation in o'arareawhere the ''alleged FDA
        approved''Com irnaty shotisadm inistered.
     13.Pleaseprovide an unredacted,com pletelistofingredientsin the Com irnaty shot.
     14.Pleaseprovide linksto the clinicalstudiesshow ing the long term side effectsoftheCom irnaty shot.
     15.Beadvised thatBASF policiesthatforcemeto choosebetweenluedicalcountermeasuresorlosingmy
        employment(orotherpunitiveactions)constitm escoercionunder21CFR sections50.20/23/24andis
        also a violation oftheADA .
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Thanks,
Brian Chancey


Mobile:+19792368645,Email:brian.chancey@basf.com
PostalAddress:BASF Corporation,,602 CopperRoad,77541 Freeport,USA

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BASF Corporation
             Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 120 of 159                                                                             p -zî

    Brian Dale Chancey

    From :                     Corporatecom m unications
    sent:                      Tuesday,January4,2022 8:15AM
    sublect:                   Messagefrom theCMT:Omicronvariant,OSHA ETSimplementation
    Im portance:               High

    Categoriek                 Green Category




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The following m essage is to a1IU.S.employees from the Crisis M anagementTeam ,including:
Tobias Dratt,A/exanderNeumann-tnreck,PeterEckes,PeterSchuhm acher,Stefan John,M a?y Kurian,
Kr/v
   slen Pfog and M ark Patlersoll,


BA SF to proceed w ith O S HA ETS im plem entation'
                                                  ,social
distancing,m asking reinstated for O m icron
'                  tkx   2
Note:The emergencytem porarystandarddoesnotapplytosites regulated bythe Mine Safetyand HeaIthAdm inistration.



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                  approach and ask foryourcontinued supportand flexibility. '

                  Ourcomm itm entto keep you infoimed and prioritize yourhealth and safety neverwaivers.Thank
                  youforyourdedicationandgoodjudgementin keepingyourselfand otherssafe.
                  W e w ish you a happy new year.

                  Bestregards,

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coupAsv RiQUIREMENT
C O V ID-19 TEST IN G A N D
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A dm inistrative Inform ation
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 Documqnt               COMPANY REQUIREMENT
 Title                   COVID-19 Testing and Face Covering Requirem ent
 Effective since        NEW
 Accountable            G BW /UE-M & CLN/O H
 G overnance
 Unit(Owner)


 A uthor                Legal,Environm entalHeaIth & Safety,and Corporate M edical
 Scope                  BASF Corporation and its US Sites and US Subsidiaries.

 A pprovalBody          M anagin'
                                g Director- BASF Corporation - Tobias Dratt
                                   l
 TargetG roup           BASF Corporation Em ployees
 Published              Com nanv Rule Base
 Effective:             January 3,2022
 Revision Date:         January 3,2026




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       PURPO SE
       Vaccination is a vitaltoolto reducq the presence and severityofCOVID-19 cases in the workplace.BASF
       encouragesem ployeesto receivea COVID-19vacci        nationto protectthemselvesand otheremployees.
       However,shouldanemployee choose nottobe vaccinated,thi         s Requirement'ssectionsontesting and
       face coverings willappl  y inaccordance withapplicable Iaw.This Requirementhelpsensure thatBASF
       complieswi
                thOSHA'
                      SEmergencyTemporaryStandardonVaccinationandTesting(29CFR 1910.501).

2.     DEFINITIONS
       2.1.   Em ployee
              An individualwho perform s services for,and underthe direction and controlof, BASF. Such
              direction and controlincludes the resultsto be accomplished and the methodsand meaps by
              which such results are accomplished. NeitherContracting firms norContractors orTemporary
              W orkerswho are characteri zed byBASFas independentcontractorsareem ployees.
       zrz.   Contractor
              A non-em ployee engaged through athird-partyagencyforthe performance ofaspeci fic
              function.These indi
                                viduals:
                      * Perform services with the generaloversightofthe com pany,and '
                      . Generally,donot,butm ay perform servicesforthird parti es atthe sametime.
       2.3.   Tem porary W orker
              A non-em ployee engaged through an agency forthe purpose oftem porarily filling a vacant
              authorized posti
                             on,typically fora period ofIess than 6 months. The vacantpostion mqstbe for
              a BASF em ployee and isgenerallyduetoilliness,vacati   on,turnover,termination,etc.
       2.4    IncidentSupportTeam
              The Ieaders and managers identi
                                            fied in the Crisi
                                                            s ManagementPl
                                                                         an to coordinate the
              corporatelevelsupportand resourcesneededto managean Emergency,inci     dentorpotential
              crisi
                  s.
       2.5    Crisis M anagem entTeam
              The seniorexecutives identified in the Crisi
                                                         s ManagementPlan as responsible fordi
                                                                                             recting the
              corporate levelmanagementofa potenti    alcrisis.


3.     SCO PE
       BASFCorporationanJitsUSSitesandUS subsidiari
                                                  es.




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4.     REQUIREMENT
       4.1.   Key Principles
              . Allem ployeesare encouragedto befull
                                                   yvaccinated.
                 Employees are considered fully vaccinated two weeks aftercom pleting pri
                                                                                        m ary vaccination
                 witha COVID-19vaccine wi  th,ifapplicable,atIeastthe minim um recom mended interval
                 between doses. Forexam ple,this includes two weeks aftera second dose in a two-dose
                 seri
                    es,such as the PszerorModerna vaccines,two weeks aftera single-dose vaccine,
                 such asJohnson & Johnson's vaccine,ortwo weeks afterthe second dose ofany
                 combination oftwo doses ofdifferentCOVlD-19 vaccines as partofone primary
                 vaccination series.

                  Em pl
                      oyeeswho arenotfullyvaccinatedwillberequiredtoprovide proofofweekly COVID-
                  19testing andwearafacecoveringattheworkplace.

              * AIIemployeesarerequiredtoreporttheirvaccinati
                                                            onstatusand,i  fvaccinated,provide
                proofofvaccinationvIaVaxup,Site Medical(ifapplicable),orotherauthorizedchannelsat
                 theirsi
                       te. Vaxup is the Company'spreferred m ethod to receive this înformation.
                 Em ployees mustprovide truthfuland accurate informati
                                                                     on abouttheirCOVID-19
                 vaccination status,and,i
                                        fnotfully vacci
                                                      nated,theirtesting results.Employees noti '
                                                                                                n
                  compliancewiththisRequirementwillbesubjectto discipline uptoand including
                  termination.

                  Em pl
                      oyees may be enti
                                      tled to a reasonable accom modation ifthey cannotweara face
                  covering(asotherwi
                                   serequiredbythisRequirement)becauseofadisabili
                                                                                ty,ori
                                                                                     fthe
                  provisions i
                             n this Requi rem entfortesti ng orwearing afacecovering confli
                                                                                          ctwi tha
                  sincerely held religious belief,practice,orobservance. Requests forexceptions and
                  reasonable accomm odations m ustbe initi   ated by contacting myHR. Employees willbe
                  required to submitdocum entation in supportofa requestforan accomm odation. AIIsuch
                  requests willbe handl  ed in accordance with applicable Iaws,regulati
                                                                                      ons,and BASF'S
                  Requirements.
       4.2.   Vaccination,Testing and Face Coverings
              4.2.1. Vaccination
                     Any BASF employee that chooses to be vaccinated againstCOVID-19 must be fully
                     vaccinated no I
                                   ater than February 1,2022. Any employee not fully vaccinated by
                     February1,2022willbe subjecttotheregulartestingandfacecovering requirementsof
                     the Requirement. Em ployees will be considered ftllly vaccinated two weeks after
                     receiving the requi
                                       site numberofdoseà ofa COVlD-19 vaccine as stated above.An
                     em ployee willbe considered padiallyvaccinated iftheyhave received onlyone dose of
                     a two-dose vaccine.
              4.2.2. Testing and Face Coverings
                     Em ployees who are notfully vaccinated as ofFebruary 1,2022 willbe requiredtto
                     undergo regularCOVlD-19 testing and weara face covering when in the workplace.
                     Generalprotocols fortesting and face coverings are described in the rel
                                                                                           evantsections
                     ofthis Requirement.
       4.3.   Vaccination Status and Acceptable Forms ofProofofVaccination
              4.3.1. ProofofVaccination is Required
                     AIIvaccinated employees are required to provide proofofCOVID-I9 vaccination,
                     regardless ofwhere they received vaccination.Proofofvaccination status can be
                     submitted via the, Vaxup App,f/teMed/ca/(i  fapplicable)orotherauthorizedchannels
                     attheirsi
                             te(e.g.,SlteSecurltyj.


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   d 19Testing and Face Covering
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              4.
               *3.2. Acceptable Forms ofProof

                     4.3.2.1.Types ofProof:Acceptable proofofvaccination statusis:
                                The recordofim m uni
                                                   zationfrom a healthcareproviderorpharmacy;
                                A copy ofthe COVID-19 Vaccination Record Card;
                                A copyofmedicalrecordsàocumentingthevaccination'
                                                                               ,
                                A copy of immuiization records from a publi
                                                                          c health, state, or tribal
                                 imm unization information system'
                                                                 ,or
                                A copyofanyotherofficialdocumentati
                                                                  onthatcontainsthetypeofvaccine
                                 administered,datets)ofadministration,and the name ofthe health care
                                 professi
                                        onalts)orclinicsitels)admini
                                                                   steringthevaccinels).
                     4.3.2.2.Inform ation Included in Proof
                             Proofofvaccinati on generally should include the em ployee'
                                                                                       s nam e,the type of
                             vaccine administered,thedatets)ofadministrati on,and the nameofthe health
                             care professionalts)orclinicsitels)thatadministered the vaccine.Insome
                             cases,state imm unization records may notinclude one orm oreofthesedata
                             fields,such as clinicsite;in those circum stances BASF wilstillacceptthe state
                             imm uni zation record as acqeptable proofofvaccination.
                     4.3.2.3.Alternative Proof
                             Ifan employee is unable to produce one ofthese acceptable forms ofproofof
                             vaccination,despiteattemptstodoso(e.g.,bytryingtocontactthevaccine
                             administratororstatehealthdepartment),theemployeecanprovideasigned
                             anddatedstatementattestingtotheirvaccinati onstatus(full
                                                                                    yvaccinatedor
                             partiallyvaccinatedl;attestingthattheyhaveI
                                                                       ostandareotherwiseunableto
                             produce one ofthe otherforms ofacceptable proof;and including the following
                             I
                             anguage:

                                     ''
                                      ldeclare (orcertify,verify,orstate)thatthisstatementaboutmy
                                     vaccination status is true and accurate. lunderstand that
                                     knowinglyproviding falseInformationregardingmyvacclnation
                                     statusonthisform maysubjectmetocrlminalpenaltiesw''
                             An em ployee who attests to theirvaccinatidn status inthis way should to the best
                             oftheirrecollection,include in theirattestation the type ofvaccine adm inistered,
                             thedatets)ofadministrati
                                                    on,and.thenameofthehealthcareprofessionalls)or
                             clinicsi
                                    tets)admini
                                              steringthevaccine.
              4.3.3. Due Date to Subm itVaccination Status
                     AlIvaccinated em ployee: should provide proofofvaccination to BASF by January 18,
                     2022 to be considered 'vaccinated''underthis Requirement.Em ployees who do not
                      provide proofofvaccination (as specified i
                                                               nthi
                                                                  s Requirement)willbe consi
                                                                                           dered
                     unvaccinated underthis Requirem ent. Ifan employee becomes fully vaccinated after
                     January 18,2022,they shouldpromptly notifyBASF and provideproofofvaccinati   on
                     so thatthey can be considered ll
                                                    vaccinated'
                                                              'underthis Requirement.




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      4.4.    Tim e 0/ in Connectionw ith COVID-19Vaccination

              4.4.1. Tim e 0/ In Connection with Vaccination
                     Anem pl oyee maytake uptofourhoursofduty timeperdosetotravelto.        the
                     vaccination site,receive a vaccination,and return to work. Thiswould m ean a
                     maxi
                        m um ofei
                                ghthoursofdutytimeforemployees receivingtwo dosès.Similarly,an
                     employee can take up to fourhoursofduty tim e to travelto the vaccination si
                                                                                                te,receive
                     a boostervaccination,and return to work. Ifan em ployee spends Iess tim e getting the
                     vaccine,onlythe necessaryamountofdutytim ewillbegranted. Empl        oyeeswho take
                     I
                     ongerthan fourhours to getthq vaccine m ustsend theirsupervisoran em ail
                     documentingthereasonfortheaddi
                                                  tionaltime(e.g.,theymayneedtotravelIong
                     di
                      stancestogetthevaccine).Anyadditionaltimerequestedwillbegranted,i
                                                                                      f
                     reasonable,butwillnotbe paid;in thatsituation,the employee can electto use
                     accruedIeave,e.g.,sickIeave,to coverthe additi  onaltime.Ifanem ployee is
                     vaccinated outside oftheirapproved duty time they willnotbe com pensated.

              4.4.2. Recovery Time (IfNeeded)
                     Employees may utilize up to '
                                                 two workday: ofsickleave im medi
                                                                                atelyfollowing each dose
                     i
                     fthey have side effectsfrom the COVID-19 vaccinationthatpreventthem from working.
              4.4.3. Contacting Supervisor/M anager
                     Employees should consultwith theirsupervisorfor granti   ng duty tim e to obtain the
                     COVID-19 vaccine orsick Ieave to recoverfrom side effects.
       4.5.   Em ployee Notification ofCOVID-19 and Rem ovalfrom the W orkplace

              4.5.1. Em ployee Obligations to Notify BASF

                     BASFwillrequireemployeestopromptlynotifytheBASF LeaveTeqm,Site Medi    cal(i
                                                                                                f
                     applicable)ortheirSiteCOVIDconiact(i
                                                        fapplicable)whentheyhavetestedpositivefor
                     COVID-19 orhavebeen diagnosedw i  th COVID-19bya Iicensed healthcareprovider.I
                                                                                                  f
                     an Employee i
                                 s unsure whom to contact,theyshouldcontactthe BASF LeaveTeam .
              4.5.2. MedicalRem ovalfrom the W orkplace
                     BASF has im plemented a Requirementforkeeping COVID-19 positive em ployees from
                     theworkplace.BASFwillimmediatelyremoveanemployeefrom theworkplaceifthey
                     have received a positive COVID-19 testorhave.been diagnosed wi
                                                                                  th COVID-19 by a
                     Iicensedhealthcareprovider(i
                                                .e.,immediatel
                                                             ysendthem homeortoseekmedical
                     care,asappropriate).
              4.5.3. ''Return to W ork''Criteria

                     * Forany em pl
                                  oyee rem oved because theyareCOVID-19 positive,BASF wilkeep
                       them removed from the workplace untilthe employee recei
                                                                             ves a negative resulton
                         aCOVID-19nucleicacidampli
                                                 ficationtest(NAAT)followingapositiveresultona
                         COVlD-19 antigen testifthe em ployee chooses to seek a NAAT testfor
                         confirmatorytesting'
                                            ,meetsthe 'returnto work''cri
                                                                        teria inCDC'Sf
                                                                                     'Isolation
                         Guidance'';orreceives a recom mendation to return to work from a Iicensed
                         healthcare provider.
                     . BASF generally fellows the '
                                                  lreturn to work'
                                                                 'criteri
                                                                        a in the CDC 'lsolation
                       Guidance,''as periodically updated by the CDC. See Related Documents for
                       BASF'S protocols when returning em ployees to work purusarftto the CDC S
                       Jso/affon Guidance.                 '
                         Ifan em ployee has severe COVID-19 oran imm une disease,BASF willfollow the
                         guidance ofa Iicensed healthcare providerregarding return to work.


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      4.6.    COVID-19 Testing

                 GeneralRequirement:AIIemployees who are notfully vaccinated wilbe required to comply
                 wi
                  th this Requirem entfortesting.
              . Testing Schedule (Renularlvwi
                                            thinSite/Office):Employeeswhoreportto theworkplace at
                Ieastonce every seven days:
                     (A)mustbetestedforCOVID-19atIeastonceeverysevendays;and
                     (B) must provide documentati
                                                on of the most recent COVID-19 test result to the
                     designated site contact or other person designated to receive and maintain testing
                     docum entationatthei rworksi tenoIaterthantheseventhdayfollowingthedateonwhich
                     the em ployee lastprovided a testresult. Information abouttheappropriate si
                                                                                               te contact
                     willbe provided Iocall
                                          y to em ployees by the si
                                                                  te.

              . TestinnSchedule(LessFrecuentlvorOnlvOccassionallvwithinSi
                                                                        te/Officel:Anyemployee
                  who does notreportto the workplace during a period ofseven ormore days (e.g.,i
                                                                                               fthey
                  wereteleworkingfortwoweeks priorto reportingto theworkplace):
                     (A)mustbetestedforCOVID-19withinsevendayspriorto returningtotheworkplace;
                     and
                     (B)mustpràvide documentation ofthattestresultto the person designated to recei
                                                                                                  ve
                     and maintain testing documentati
                                                    on attheirworksi
                                                                   te upon return to the workplace.

                  Failure to Provide Docum entation:Ifan em ployee does notprovide docum entation ofa
                  COVID-I9 test result as required by this Requirem ent,they willbe rem oved from the
                  workplace untilthey provide a testresult.
                  RecentCOVID lllnesszEmpl  oyeeswho havereceiveda positi   veCOVID-19test,orFhohave
                  been diagnosed With COVID-19 by a Iicensed healthcare provider,are notrequired to
                  undergo COVID-19 testing for90 days fol
                                                        low ing the date oftheirpositive testordiagnosià.
              . CostofTestino:BASF willpay forthe reasonabl
                                                          e costofCOVID-I9 testing forthe initi
                                                                                              alsixty
                  (60)days Mfteri
                                timplementstesting underthi
                                                          s Requirementand as otherwise required by
                  Iaw. W here BASF isnotIegallyrequired topayforthe costoftesting,BASFwillreevaluate
                  whetheritwillcontinuetopayforthecostoftestingdtlringthatiniti
                                                                              alsixty(60)dayperiod.
                  BASF reserves the rightto discontinue the paymentforthe reasonable costofCOVID-19
                  testi
                      ng atany tim e and forany reason.
              @ Onsite Testing: Som e BASF si
                                            tes m ay offeronsi
                                                             te testing. Details regarding onsite testing
                wi
                 llbe comm unicated andavailable attheEm ployee'  s Site.




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      4.7.    Face Coverings
                  GeneralRecuirement:BASF wilrequire aI     Iemployeeswho are notfullyvaccinatedto wear
                  a face covering.Em ployees who are notful  ly vaccinated m ustwearface coverings overthe
                  nose and mouth when indoors and when occupying a vehicle with anotherpersonforwork
                  purposes. BASF'Sface-covering requirem ents forfullyvaccinated employees atBASF si   tes
                  willbe comm unicated Iocally by Site M anagem ent.

                  AttributesofFaceCoverinqs:Facecoveringsmùst:(i)completelycoverthenoseandmouth;
                  (i)be madewith two ormore Iayersofabreathable fabricthatistightlywoven (i.e.,fabri
                                                                                                   cs
                  thatdo notIetlightpassthroughwhen held upto aIi
                                                                ghtsourcel;(iii)besecuredtothe head
                  withties,earIoops,orelasticbandsthatgo behindthehead;(i  v)fitsnuglyoverthenose,
                  mouth,and chinwithnoIargegapsontheotltsi   de oftheface;and (v)beasolidpieceof
                  m aterialwithout sli
                                     ts, exhalation valves, visible holes, punctures, or other openings.
                  Acceptableface coverings include clearface coveringsor($0th face coveringswitha clear
                  plastic panelthat,despite the non-cloth materialallowing Iightto pass through,othel
                                                                                                    wise
                  meetthesecriteriaand whichm aybe used tofacilitatecom m uni   cationwithpeoplewho are
                  deaforhard-of-hearing orothers who need to see a speaker's mouth orfacialexpressi  ons
                  to understand speech orsign language respecti vely.
                  Excentions:The following are exceptions to BASF'S requlrementsforface coverings:
                   1. W hen an em ployee is alone in a room wi th floorto ceiling walls and a closed door.
                   2. For a Iimited tim e,while an em ployee is eati  ng or drinking at the workplace orfor
                      i
                      dentification purposes in com pliance with safety and securi ty requirem ents.
                   3. W hen an em ployee is wearing a respi ratororfacem ask.
                   4. W here BASF has determined thatthe use offace coverings i       s infeasible orcreates a
                    ' greaterhazard (e.g.,when itis impodantto seethe employee's mouth forreasons
                      relatedtotheirjobduties,whentheworkrequirestheuseofthe employee' s uncovered
                      mouth,orwhenthe use ofaface covering presentsa riskofseriousinjuryordeathto
                      theemployee).
       4.8. ApplicationofRequirement(W orkfrom Homejoutdoors,and MSHA Regulated Sites)
              This COVlD-19 Requirementon testing and face coveri
                                                                ng use appliesto a1IEmployees ofBASF;
              exceptfor(1)Employeeswho do notrepod to aworkpl  acewhereotherindividuals(such as
              coworkers orcustomers)are present,(2)Employeeswhile working from home,(3)Employees
              whoworkexclusivelyoutdoors,and(4)EmployeeswhileworkingatBASFsi    tesregulatedbythe
              MineSafetyandHeaI thAdministration(MSHA).
       4.9.   New Hires
                                                                                /
              AIl new Em ployees are required to comply with the vaccination, testing. and face covering .
              requirem ents outlined in thi
                                          s Requirement as soon as practicable and as a condition of
              employm ent.Potentialcandi  dates foremploymentwillbe noti fied ofthe requirem ents ofthis
              Requirementpri orto the startofem ployment.
       4.10. Contractors and Tem porary W orkers
             The responsibility to ensure thatContractors and Tem porary W orkers com ply wi
                                                                                           th vaccinati
                                                                                                      on
             and testing requirem ents remainswith theirown em ployers. However,BASF requires that
             Contractorsand Tem poraryW orkerscom pl    ywithaIIapplicable maskrequirem entsw hi  le on
             BASF si tes.
       4.11. Confidentiality and Privacy
             AIIm edicalinform ati
                                 on collected from indi
                                                      viduals,including vaccination inform ation,testresul
                                                                                                         ts,
             and any otherinformation obtained as a resul  toftesting,willbe treated in accordance with
             applicable I
                        aws and policies on confidentiality and pri
                                                                  vacy.




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       4.12. Questions
              PleasedirectanygeneralquestionsregardingthisRequirementto Us-coronavirus- ,
             infoto basf.com.Questi
                                  onsregarding paidtimeoffforvaccinationprrequestsforexempti
                                                                                           ons
              shouldbedirectedtomVHR or(1-800-432-9191)
       4 13   com pliancew ith Laws
              This Requirem entshallbe interpreted to comply with aIIapplicable I
                                                                                aws and regulations.

5.     RESPO NSIBILITIES
       5.1.   Corporate Legal
              Responsible foradm inistering and interpreting thi
                                                               s Requirementtogetherwith Site
              Management,People Services and Corporate Medi      cal.
       5.2.   Corporate Medical
              Responsible foradministering and interpreting thi
                                                              s Requi
                                                                    rementtogetherwi
                                                                                   th Site
              Management,People Services and Corporate Legal.
       5.3.   Site Medical
              Responsible foradministering thisRequirementattheirsi
                                                                  tets)togetherwi
                                                                                th the si
                                                                                        te Human
              Resources Representative and Site Management.

       5.4.   People Services
                                                                                                 :
              Responsibleforadministeringandintcrjreti
                                                     ngthi
                                                         sRequi
                                                              rementtogetherwithSite Management,
              Human ResourceswithinOperating Di
                                              vlsions/Uni
                                                        ts/
                                                          , Si
                                                             tes,Corporate Medicaland Legal.

       5.5.   Hum an Resources within Operating Divisions,Sites and OtherUnits
              Responsi
                     ble foradministeringthisRequirementin conjunctionwithSiteManagement,People
              Services,Corporate Medicaland Legal.
       5.6    Crisis ManagementTeam (CMT)
              Responsible forsetting strategy aboutmeasuresto respond to the COVID-19 pandemic,
              i
              ncluding key aspects ofthis Requi rement.
       5.I    IncidentSupportTeam (IST)                                            .
              Responsiblefordeveloping approachestorespondtothe COVlD-19 pandemic,including key
              aspects ofthis Requirem ent.
       5.8    Site Managem ent,Leaders of Operating Divisions,and Leaders ofStrategic Units
              Responsi
                     ble foradministering and enforcing thi
                                                          s Requirementas relates to theirrespecti
                                                                                                 ve
              Si
               tes,Operatining Divisions,and Uni
                                               ts.

6      RELATED DocU'kEsT

       CDC Llsolation Guidance''(AppliedtoBASF)




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                                                                                                                                 y..Ao
                                                                                                                                     .

Brian Dale Chancey

From :                                                    Zachary Bo Gilliam '
Sent:                                                     W ednesday,January 5,2022 12:59 PM
To:                                                       BrianDaleChancey;ErnieCarrasquillo;JeftreyEffen'berger;JosephMorganMcAda;Kurt
                                                          W ayneBlackmar;Nolan Higdon;Todd David Bolting;W al
                                                                                                            terGonzalez
Subl-ect:                                                 MaskEnforcement

Follow Up Flag:                                           Follow up
Flag Slatus:                                              Flagged '


Team ,

I'vebeen i
         n meetingswithupperbrassandtheyhaveemphasi
                                                  zeàhow serioustheyaretakingthenew CodeRed.ln
particular,they called outi
                          ssues wi
                                 thadherence tothe mask policy.

Someofus(myselfincluded)haven'tdoneagreatjobofadjustingtothe new policyyet.Let' shelpeachotherremember
to maskupwhen moving betweenrooms/buildings,spending timeinspaceswith others,dri
                                                                               ving with others,etc. Idon'
                                                                                                         t
wanttohavetosi
             tinonanyavoidabledi sciplinemeetingsinmyfirstmonthonthejob.




Letme know i
           fyou have anyquestions.
Thanks,
Zachary G illiam ,P.E.
lEC Services Manager,CM/Freeport
Phone:+1 979 415-6288,Mobile:+1-979-*
                                    373-7806, Fax:+1979415-8493,Email:zacharyzgilliam@ basf.com
PostalAddress:BASF Corporation,910,602 CopperRoad,77541Freeport,Uni
                                                                  ted States

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W éLdë ét/idhéM iétrv
BASF Corporation

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13                                                                            EXHIBIT
14                                                      G uidance forlndustry
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                    Brian Chancey--Affidavit -11 -
                                            in Suppod ofAm ended Com plaint
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    C lassif catibn of P roducts as D ru gs
    and D evices & A dditionalProduct
            C lassif cation lssues:
 G uidance forlndustry and FD A Staff


                            FINAL GVIDANCE




                             Additionalcopiesareavailableh-oln:
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                                     Sil%'cl-Spring,MD 20993
                                       (Tel)301-796-8930
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Forquestionsregarding thisdocum entcontactthe Office ofCom bination Products at301-796-
8930 orcombination:èfda.cov.

                    U .S.D epartm entofH ealth and H um an Services
                             Food and D rug A dm inistration
                            O fficeofCom bination Products
                          Oflk e ofSpecialM edicalProgram s
                               O ffice ofthe Com m issioner

                                        Septem ber2017
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                                ContainsN onbindlng Recom mendations


T able ofContents


     1I.   H AT IS THE PRO CESS FOR OBTAIN                                 A FO         AL CLASS ICATI N

       .   H AT DOESFDA CONSIDER                          DETE                            ETHER TO CLASSIFY




           HOw ISA PRODUCTCLASSVIEDIFITMEETS DEFINITIONFORDRUG(ORFORBO'                                                lTIDRUG
           I7I!A?I(2I5)2%1qI72*1.5()I$
                                     1I!IàTFS I7l5l71lq11mI()1;17C)1t141()1-6)(JI(lz&T-l:lt()I)l7(;l79
                                                                                                     ..................-............t..........1()
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                               ContainsN onbinding Recom mehdations


         Classifcation ofPèoductsasDrugsani Devices&
             A dditiopalProductC lassifcation lssues:
                G uidance for lndustry and FD A Staff1

n isguidancerepresentsthecurrentthinkingoftheFoodandDl'
                                                      ugAdministration(FDA orAgency)on
thistopic. Itdoesnotestablish any rightsforanyperson and isnotbinding on FDA orthepublic.You
canusean altem ative approach iftheapproach satisfiestherequirementsoftheapplicablestatutesand
regulations.To discussan'alternative approach,contactthe FDA officeresponsibleforthisguidanceas
listed on thetitlepageofthisguidance.                '


1.       INTR O DIJCTIO NI

        FDA regularly receivesquestionsfrofn medicalproductsponsorsconcerning the
classitk ation oftheirproducts.2 W e believethatefficient, effectiveregulation isfacilitated by
providing guidanccon issuesfrequentlyraisedinrelation toRequestsfbrDesignation (RFDs)
and otherclassifcation activities. Illaddition,providing asm uch cladty and predichbility as
possible with respectto productclassifications should enableinform cd planning forproduct
developinent.A ccordingly,wehaveprepared thisguidanceto m aketheAgency'scm-          rent
thinking concerning cel-tain productclassilcation isstzesm orereâdily and widely avàilablet

        W hileissueshave arisen relating to whethera productshould be classified asa dnzg,
device,biologicalproduct,orcombination product,m ostofthese issueshave related to whether        .

a productshould be classitied aseithera drug ora device.3 A ccordingly, thisguidance focuses
particularly on casesin which aprodtlct4m ay be classified asa drug ordevice.s Thisguidance
also addressesadditionalissuesrelating to productclassification,including how.to obtain
classitk ation determiùations from FDA form edicalproducts.                '

         Thisguidance isorganized into two substantive sections.

         jThisguidance hasbeenprepared by the OfficeofCom bination Pr
                                                                   ' oductsin consultation with theCenter
forBiologicsEvaluationandResearch,theCenterforDevicesandRadiologicalHea1th,andtheCenterforDnzg
Evaluationa'nd Research.
     .   2Pleasenotethatilclassilication''astpedintljsguidancerefcrstoaproduct'sdesignationasadrug,
device,biologicalproduct,orcom bination product.Thisisdistinctfrom theuse ofthetenn TGclassification''in
referencetotheclass(Class1,II,or111)ofadeviceasdescribedi1isection 513(a)oftheFederalFood,Drug,and
CosmeticAct(FD&CAct).                                                          .
         3Thisguidanceaddressesthedefinitionsforthrtermsdrug,device,andbiologicalproductinsectionIH.
Thetenn'icombinationproduct''isdelnedin21CFR 3.2(c).ForfurtherinformationregardingthedeGnitionfor
thetenm combination productànd the regulation ofcombination products,pleasevisitthewebpage forthe Officeof
Combination Productsat- r-fda.soNr  /combil nationproducts/defatllt.
                                                                   htm.           '
         4Theguidance'sdiscussionoftheclassificationofproductsisalsorelevanttö classil-
                                                                                      icationofthe
constituentpartsofacombinationproduct.
         5Thisguidancefocuseson classification ofproductsforlmm anuse. Distinctconsiderationsm ay apply in
determininghow toJlassifyaproductintendedforuseinanimals.

                                                                                                            2
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                                ContainsNonbinding Recom mcndations



       Section 11offersguidance on theRFD processforobtaining a form aldetel-
                                                                            m ination ofa
product'sclassification.

        Section Il1presentsgeneralconceptsregarding FDA 'S decision-m aking process for
classification detenninations and addressesissuesthatm ay arise in determ ining whether
productsshould beclassified asdlalgsordevices.6

        TheAgency recomm endsthatsponsorscontactthe OfficeofCom bination Products
(OCP)toconflrm theclassilicationofanyproductstheym ay wish to marketiftheappropriate
classilk ation isunclearorin dispute. Section Iv providescontactinfonzlationforOCP and .
                                                       .

responsesto frequently asked questions.
                                                 '
           .

        FDA ' S guidance docllm ents,including thisguidance,do notestablish legally enforceable
responsibilities. Instead,guidancesdesclibethe Agency'scurrentthinking on a topic and should
beviewed only ajrecom m endations,unlessspecificregulatory orstatm ory requirem ents are
cited. The use ofthew ord çtshould''in Agency guidancesm eansthatsom ething is suggested or
recomm ended,butnotrequired.

Il.     W H AT IS THE PR O CESS FOR OBTM NIN G A FO                              CLA SSIFICATIO N
        DETER M INATION FOR A PR ODU CT?
       lfthe classification ofa productasa drug,device,biologicalproduct,orcombination
productisunclearorin dispute,a sponsorcan subm itan RFD to OCP in accordancew ith Part3
ofTitle21oftheCodeofFederalRejulations(21CFR Part3)toobtainaformalclassitkation
determination fortheproduct,asprovldedforundersection 563oftheFD&C Act(21USC
360bbb-2).AnyRFD determinedtobeinconpletewillbereturnedtothesponsorwitharequest
fo1t1lemissing m form ation.7 21 CFR 3 8(a).OnceOCP determinestheRFD iscompletefor
  '
                                             .

filing,the Agency review stheRFD .

        The sponsorrecom m endsa classitication in theRFD ,and should explain thebasisforthe
recommendation.W hilethes'ponsorshouldjustifywhyitbelievestheproductmeetsthe
recomm ended classification,w egenerally considerboth the infolmaation provided in theRFD
and otherinformation available to theAgency atthattim e in m aking ottrdesignation.

        Generally,O CP willrespond to thesponsorin writing within sixty daysofthe RFD
filing,identifying the classification oftheproductasa clrug,device,biologicalproduct,or

        6Thissection generally focuses on approachesfordetenmining whetheraproductshouldbeclassiied asa
dl'
  ugoradevice,basedonapplicationofthesumtol'   y defmitionsforthesetermsundersections201(g)and'201(h)
oftheFD&C Act(2lUSC 321(g)and(19),respectively.Pleasenotethatthisdocumentdoesnotfocuson the
classiscationofproductsasbiologicalproductsregulatcdundersection35l(i)ofthePublicHeaIth SelwiccAct
(PHSAct)(42USC 262(i)).Italsodoesnotaddressunderwhatcircumstancescertainhumancells,tissues,or
cellularortissue-basedyroducts(HCT/PS),asdefinedin21CFR Part1271,areregulatedsolelyundersedion361
ofthePHSAct.ForquldanceconcelminjHcT/ps,pleasevisit                                            .
llttp:
     //www .fda-L'ov/BloloyzicsBloodvacclnes/GuidancecomplianceRei'ulatow lnfo= atioi Guidallces/Tissue/.
         1See21CFR 3.7 forcontentreqtlirementsforR#DS.
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                                 ContainsA/zl/lhlf/fag Recomm endations

com binatism product. lfthe Agency doesnotprovidea written response within sixty days,the
sponsor'srecom m endation respecting theclassilk ation oftheproductisconsidered to be the
finaladetermination.21USC 360bbb-2(b)and(c).

        RFD determinationspertain only to the productas described in the designation letter,
                                                                              x


includingitsprogosedusets)orindicationts)foruse.TheAgencymaymodifyadetenuination
m adeundersectlon 563 regarding theclassification ofaproductorthe componentofFDA that
willregulatethe producteitlzerwith thewritten consentofthesponsororforpublichealth
reasonsbased on scientific evidence. 21USC 360bbb-2(b)and(c).8

        A new determ ination m ay be appropriate ifthere is achange in,forexample,a proposed
indication foruse orin a com ponentoftheproduct,orifthe sponsororAgency becom es aw are
ofadditionalinfonnation thatrevealsthatthem eansby which the productachievesitsprim ary
intended pum osesdifferfrom whatwasoriginally described in the RFD . Forexnmple,ifa
sponsorwished to change the indication foraproductand thatnew indication would be achieved
through a differentm echanism than theoriginalindication,a differentclassification forthenew
indication m ightbe appl-opriate.

        Please contactOCP ifyou havequestionsregarding whetherto subm ita11RFD ,what
inform ation to provide,orissuesto addressin'an RFD to ensure itscompletenessand clarify.g
                                                .                                                       '



111.    W H AT D OES FDA CO NSIDER IN D ETERM ININ G W H ETH ER TO CLASSIFY
        A PRODUCT ASA DRUG OR DEW CE?
        FDA 'Sdetelmzination ofwhetherto classify a productasadnzg ordevice isbased on
statutorydefinitions,assetfo14hinsections201(g)and201(h)oftheFD&C Act,l-espectively.
W e apply thesedefinitions to products,relying on thescientific data thatareavailable to FDA at
the tim e ofthe classitk ation determ inatiolzconcerning the productforitsproposed
usetsl/indicationts).10

        8
          The sponsormayrequestreconsideq.ation ofthe decision ifitsclassification recommendation isnot
adoptedby theAgency. See21CFR 3.8,10.75. Ifthesponsordevelopsorbecom cs.          aware ofnew information that
may affbcttheproduct'sclassification,thesponsormay alsosubmitanew RFD seekinganew determ ination.
        ?MoredetailcdinformationontheRFD processisprovidedinOCP'SguidanceHow toWl'        iteaRequestfol.
Ddyfpit
      zlDa(RFD),availableatllqp'.//wsvsv.fda.c
                                             vovmeglllatowlnfornlatiofGuidances/uclnl26053.11t114.A pre-
RFD processisavailableifasponsorwishestoobtainaprelim inary,non-binding classificationdeterminationorto
engagein prelim inaa classifcation discussionswith theAgency beforelsling aform alRFD. TheRFD and pre-
RFD processesarealso available to sponsorsto clarifytheCenterassignmentformedicalproducts,though thisissue
isbeyond the scope ofthisguidance.M ore inform ation abotl   tthepre-lkFD processisavailableat.
hdos-
    '//wsNrNv.fda.y
                  lov/doNqmloadsc egulatol lnformatioll/GtlidM cesr cM s348g8.odf.'
         10Ifaproducttypehasbeen classified by regulation,FDA wouldgenerallyclassifytheproduct(including
asaconstituentpartofacombinationproduct)inaccordanceNviththeregulation,iftheproduct(orconstituentpart)
fallswithinthescojeofthatregulation.IftheAgencyconcludesthatitmaybeappropriatetoproposechanginga
classification establlshed by regtzlation,FDA would initiate notice and commentlallemaking to do so.l'Thedevice
detsnitionalsoincludesasecondexcltlsionary'clausestatingthatadeviceçlisnotdependentuponbeingm etabolized
tbrthe achievementofitsprimaryintended purposesa''This clausehasnotbeen atissue frequently in classifcation
detenminations. Accordingly,wedo notofferguidanceon itsconstruction here. lfsponsorshavequestions
regardingtheAgency'sinterpreotion ofthisclause,they may contactOCP.


                                                                                                              4
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       M edicalproductclassiication detelnninationsoften focussubstantially on w hethera
productthatm eetsthe definition ofdt-ug also m eetsthe statutory definition ofdevice. This
section presentsthednlg and device definitions and discusseshow theAgency addressescertain
issuesthatarise when detennining whetheraproductshould be classified asa drug ordevice.
              Statutory D efinitions

                     Drug

       Section201(g)oftheFD&C Act(21USC 321(g))providesthattheterm ''dl-ug''means:
              (A)articlesrecognizedintheofficialUnitedStatesPhalnnacopoei.a,official
              Homoeopatllic Pharm acopoeia oftheUnited States,orofficialNational
              Formulary,oranystlpplementtoanyofthem;and(B)al-ticlesintendedforusein
              the diagnosis,cure,m itigation,treatm ent,orprevention ofdisease in m an orother
              animals;and(C)articles(otherthanfood)intendedtoaffectthestmctureorany
              f'
               unctionofthebodyofmanorotheranimals;and(D)al-ticlesintendedforuseas
              acomponentofanyarticlesspecifiedinclause(A),(B),or(C)....
                     D evice

       Section201(h)oftheFD&C Act(21USC 32l(h))providesthattheterm ''device''means:
              an instrum ent,apparatus,im plem ent,m achine,contrivance,im plant,in vit'
                                                                                       ro
              reagent,orothersim ilarorrelated article,including any component,par' t,or
              accessory,which is-                            '
              (1)recognizedintheofficialNationalFonnulary,ortheUnitedStates
              Pharm acopeia,orany supplem entto them ,                  I
              (2)intended forusein thediagnosisofdiseaséorotherconditions,orinthe.
                                                                                 '
                                                                                 cure,
              m itigation,treatm ent,orprevention ofdisease,in m an orotheranim als,or
              (3)intended toaffectthestnlctureoranyfunction ofthebody ofman orother
              anim als,and

              which doesnotachieve itsprim al'y intended pulposesthrough chem icalaction
              within oron the body ofm an orotheranim alsand which isnotdependentupon
              being m etabolized forthe achievem entofitsprim ary intended purposes.

       B.     Certain key provisionsofthe definition ofdevice
       Conceptually,al1FDA -regtzlated m edicalproductsmeetthe definition ofltdrug''under
section201(g)oftheFD&C Act,duetothebroaderscopeofthedrugdet-           inition.Foramedical
productalsotomeetthemoreresttictivedevicedefinitionundersection 201(h)oftheFD&C
Act,itmust(i)betfaninstnlment,apparatus,implement,machine,contrivance,implant,invitro
reagent,orothersimilarorrelated articler''and (ii)LLnotachieveitsprim ary intendedpurposes
throughchemicalactionwithinoronthebodyofmanorotheranimals''and(iii)LLnot(be)
dependentupon being metabolized fortlze achievem entofitsprim ary intendedpup oses''
(emphasisadded).
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            The sponsorpresum ably hasthem ostcompleteinfmnnation relevantto how itsproposed
    productachievesitsprimaryintendedpurposets).Sponsorsseekingaclassifcation
    determination should presental1available data and otherinformation potentially relevantto that
    determination (withoutregardtowhetherthedataorinformation supportsthesponsor's
    preferredoutcome).Forexample,forasponsorseekingtoclassifyitsproposedproductasa
    device,those data should dem onstratethatitsproductm eetsthe definition ofadevice.

            Atthe classitication stage,sponsorsw ould nötbe expected to have gathered sufficient
    data to dem onstrate thattheirproposed productm eetsthe applicable m arketing autlzorization
    standard(e.g.,datademonstratilzgeffectiveness).Therefore,thefocusofFDA'Sclassification
    analysis ison how theproductwould beexpected to achieveitsprim ary intended purposes,
    assuming itiscapableofachieving itsprim ary intended purposesatall.FDA willuse itsbest
    scientificjudgm enttoevaluatea11availableinformation relevanttotheclassification
    detennination,including infonuation subm itted by the sponsororavailable in the literaturc.
                                                                                 r

           The following discussion presentstheA gency's currentthinking on certain issuesth
                                                                                           . at

    arisew ith respectto thestatutory definition ofdevice.

                             dçsim ilar or related article''in thedefinition ofdevice

           Thefirstclauseofthe devicedefinition providesthattheterm dtm eansan instrum ent,
    apparatus,im plem ent,m achine,contrivance,im plant,in vitro reagent,orothers'
                                                                                 fpzjftzr orrelated
    article...''(emphasisadded).Theissueofwhetheraproductmaybeconsidered aGGsimilaror
    related article''underthisclausecan arisç,forexample,with regard to productsin liquid,sem i-
.
    liquid,gel,gas,orpowderfonu. ln som e cases,such productsare appropriately cbnsidered
    GGsim ilarorrelated articles,''and may be classified asdevices,so long asthey also satisfy the
    remainderofthedevicedefinitionundersection201(h)oftheFD&C Act,includingthechemical
    action exclusion discussed in section 1I1.B.3 below . Thiscould bethe case,forexample,forgels
    orpowdersputon the skin asabarrier,gasesused asspace'       fillers,orliquidsused to clean either
    surgicalinstrum entsorcontactlenses.

                             Sdprim ary intended purposes''in thedefinition ofdevice
            M ostoften,in determining whethera productmeetsthedevice definition,questionsarise
    concerning the exclusionary clause ofthedefinition,which providesthata device isa product
    tçw hich doesnotachieve itsprim ary intendedpurposesthrough chem icalaction within oron the
    body ofm an orotheranim als....'''1 A productthathaschem icalaction could bea devict  zifit
    doesnoiachieveitsprimaly intendedpurposesthroughthatchem icalaction.



             11Thedevicedetsnition alsoincludesasecondexclusionaryclausestatingthatadeviceNsnotdependent
    uponbeing metabolized forthe achievementofitsprim ary intended purposes.''Thisclausehasnotbeen atissue
    frequently in classification determinations. Accordingly,we do notofferhguidanceon itsconstnzction here. lf
    sponsorshavequestionsregarding theAgency'sintel-pretation ofthisclause,they m ay conictOCP.


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        Forexample,iftheplimaryintendedpurposeofahipjointl-eplacementimplantisto
restore m ovem ent,and the implansalso elicitsa foreign body response through chem icalaction,
thatresponsewould notbe considered aprim ary intended purposeofthe im plant. Accordingly,
such an implantcouldbcclassifiedasadevicedespitethechemicalaction,becatlsesuch action
doesnotachieve the product'sprim ary'ilztended purpose. Sim ilarly,iftheprim ary intended
purposeofanabsorbablesutureistorejointissue,andthesutureisalsodesignedtoberesorbed
by the body through a combination ofchem icalaction and lnetabolicactivities,such resorption
w ould notbe considered aprilnary intendedpul-pose oftheproduct. Accordingly,such an
absorbable suturecould be classitied as a device despitethe chem icalaction and m etabolic
activity,because such action oractivity doesnotachieve theproduct'sprimary intended purpose.

                        Hchem kalactionssin thedefinition ofdevlce
        FDA frequently receivesquestionsfrom productsponsorsconcerning the Agency's
intep retation ofthe telnn S&chemicalaction.'' Thisterm m ustbe read in the contextofthe
statutory definition ofûldevice''as)a whole. Thedetenrination ofwhethera productm eetsthe
device definition doesnotdepend solely on whethertheproductexhibitsttchemicalaction.'' In
particular,as explained in section III.B.2 atld 4,a productthatexhibits chem icalaction w illstill
m eetthe device detipition iftheproduct46does notachieve itsprim ary intended pm poses
through''thatchem icalaction t&within oron thebody,''and othezw ise satislesthe device
definition.

        UndertheA gency'sinterpretation ofthedevice definition,a productexhibitsttchem ical
action''ifitinteractsatthemolecularlevelwithbodilycomponents(e.g.,cellsortissues)to
mediate(includingpromotingorinhibiting)abodilyresponse,orwithforeignentities(e.g.,
organismsorohemicals)so astoalterthatentity'sinteraction with thebody.12 W enotethàtthis
t'ype ofinteraction isconsistentw ith the tenn %spharm acologicalaction''asthatterm isgenerally
understood in them edicalt- ield. A ccordingly,w ehaveused çtpharm acologicalaction''asa shol-b
hand throughouttherestofthisguidance for ease ofexplication and recognition.The exzm ples
presented in section Il1.B.5 offerillustration ofFDA 'Sintep retation ofchem icalaction.
                4.      (dW ithin or on thebody''in the definition ofdevice
        Because a device EGdoesnotachieve itsprim ary intended purposesthrough chem ical
actionwithinoronthebodyofmanorotheranimals''(emphasisadded),aproductcanbea
device even ifitachievesitsprim ary intended purposesthrough chem icalaction,so long asthe
chemicalactiondoesnotoccurlEwithinoronthebody''(andtheproductmeetstheother
elementsofthedefinitionofdeviceundersection201(h)).
        W hetherchem icalaction isocctm ing tçw ithin oron thebody''isgenerally a
straightfoe ard m atter. Ifthechemicalaction isoccurring insidethe body oron thesurface of
thebody,itisw ithin oron thebody. Forexample,the chem icalaction ofan orally ingested pill
        12Forpurposesofthisinterpretation, aninteraction atthemolecularleveloccurstl
                                                                                   zrough eitherchemical
reaction(i.e.,formationorbreakingofcovalentorionicbonds),intermolecularforêes(e.g.,electrostmic'
intergctions),orboth.Themereexchangeofnon-chemicalenergy(e.g.,electromagneticorthermalenergy)
between a productand thebody wouldnotconstit
                                           -uteSschemicalactionp''                       '        ,
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ortabletofadecongestantwould be t<within thebodyy''and the chem icalaction ofa spray or
cream fortreatm entofderm atitiswhen applied to the skin w ould be çfon the body,'' Sim ilarly,it
isgenerally a straightforward m atterto determ inethatchem icalaction isnotoccurring w ithin or
on thebody. Forexam ple,the chem icala'ction ofan antim icrobialagentused to clean a surgical
instnzm entbeforethatinstrumçntisused isnotoccurting within oron the body.

        H ow ever,the Agency hason occasion considered som e sim ationsin which itm ay be less
clearwhetherchelnicalaction isoccuning within oron thebody. Forexam ple,wehave
determ ined thatcheluicalaction occurring solely w ithin an extracorpol-ealdevice,specifically a
kidney hémodialysism achine,isnotoccuning within oron thebody. Sim ilarly,w ehave
detenninedthatthechemfcalactionofatransportsolution topreserveadonororgan for
transplantation whilein an organ transportcontainerisnotoccurring within oron the body.

               5.     Illustrative Exam ples

       The following examplesfurtherillustrate theapplication ofsom e ofthekey provisionsof
thedevicedefinitiondiscussedabove.Table1containssomeexamplesofmedlcalproductsthat
achieve theirprim ary intended purposesthrough chem icalaction within oron the body. Table2
containssom e exam plesofm edicalproducts thatdo notachieve theirprim ary intended purposes
through clzem icalaction within oron the body.


 Table 1: Exam plesofM edicalProductsthatAchieve TheirPrim ary lntended Purposes
                   through Chem icalAction within or on theBody
Product             Descd tion
Aspirin             Aspirinisusedforpainrelief.Acetylsalicyclicacid(aspirin)containsanacetyl
                    groupthathastheabilitytocovalently bindtoa serineresidueofacyclooxygenase
                    enzyme(COX-IorCOX-2).Thisisconsideredphanuacologicalactionbecauseit
                    inactivatestheenzym eandthereby inhibitsthesynthesisofprostaglandin and
                    thromboxanes,which suppressesthebody'sinflammatol-yresponseforpain relief.

BetaBlockers        Betablockersareusedtoreducebloodpressure.Ccllscontain betareceptorsthat
                    can be stimulated by neurotransmitterssuch asadrenaline/epineplzrine.Beta
                    blockers,likepropranolol,bindbetareceptors(b1andb2)andexhibit
                    pharmacologicalaction by inhibiting theactivation ofthesignaling cascade.This
                    blockagecauscscardiaccellstoreducethe strength ofcardiaccontractionsand
                    heartrate.

M agnesium Sultl
               ate M agnesillm sulfate isused asreplacementtherapy formagnesillm ddiciency.It
                    actsasacatalystinenzymaticreactions(amolecular-levelinteraction).W hilethe
                    chemicaloratom icstructtlreofmngnesfum sulfateisnotaltered,itspadicipation in
                    enzymaticreactions isconsidered apharmacologicalaction becauseitimpacts
                    variouscellularand molecularprocesses.




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    Polymyxin B        Polymyxin B sulfateisan mltibioticthatisusedto treatbacterialinfection.ltis
    Sulfate            composed ofacationicprotein surfactantthathasfatty acid functionalgzoups.
         '             Polymm in B sulfateactsthrough intermolecularforces,.by binding to components
'
                        ofthebacterialmembrane(i.e.,themembraneoftheforeignentity)andby
                       association/fusion ofthe fatty acid portion ofthem oleculewith thelipid bilayervia
                       hydrophobic interactions.Thisbinding isapharmacologicalaction becauseit
                       disruptstheintegrity ofthebacterialmembrane,which causesorganism death,
                       thereby treatingthebacterialinfection.

    Hydroxocobalamin Hydroxocobalamin isused asanantidoteto cyanidepoisoning.The cobaltmoiety
                     ofhydroxocobalamin exhibitspharmacologicalactionbecauseitchem ically reacts
                     with cyr ide,atoxicchem icalagent,to form cyanocobalamin,anon-toxic
                     compound,and theability ofhydroxocobalaminto interactwith cyanide facilitates
                     theremovalofthe toxicagentin orderto inhibitthetoxiceffectsofcyanideon the
                     body.

      Table 2: Exam plesofM edicalProductsThatD o NotA chieveTheir Prim ary lntended
                  Purposesthrough Chem icalAction within or on theBody

    Product                Descrition .
    AbdominalAdhesion       Inert,biodegradable syntheticpolymerscan beusedto reducepost-operative
    Barrier                adhesionswith tissuesand organswithin theabdotninalcavity.An implanted
                           physicalbarriersheetcom posed ofsuch polym erswouldactto reduce
                           adhesion throughphysicalseparation ofztissueandnotthrough
                           pharmacologicalaction on thesurrounding tissue.

    Polymethylmethacrylate PM M A isan acrylatepolymerthatisusedasatemporarybone spacer.P
    (PMMA)                  isbuiltfrom methylmethacrylatemonomerunits,whichundergofreeradical
                           polymerization inthepresence ofan initiatorcolnpound.Themoleculesthat
                           arepartofthepolymerization processinteractwith each otherto createasolid
                           massto fillabonevoidphysically.Theprocessdoesnotrequire an interaction
                           between thePM M A and theboneatthemolecularleveland,thereforeisnot
                           considered chemicalactionwithinoronthebody.

    TopicalSurgical         Cyanoacrylateisan acrylicresin thatisusedtoapproximate sldntissueasan
    Adhesive                adjuncttoawoundclosureproduct.Theresinundergoesanionic
                            polymerization in thepresenceofwater.Thechemicalreaction thatoccurs
                            betweenthe resin and ionsin thewaterallowsitto form into longpblymer
                            chains.Thistypeofadhesivecan bondto acut/incision,creatinga physically-
                            intactfilm to aidin keepingskin edgestogether.W hiletheproductbindsto
                            tissue,itdoesnotexhibitpharmacologicalactionbecausethatbindingdoesnot
                            mediateabodilyresponse.




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GoldNanoparticles           Nanopal-ticlescomposed ofgoldcan beused to treatcancer.W hen gold
                                                     .

                            nanoparticlesareinjectedintoatumorsiteandexposedtoelectromagnetic
                            energy,they absorb theelectromagnetic energy and convertitto thennal
                            energy,and thisheatistransferredtothesun-ounding cellsortissue.Theheat
                            transfer,asopposedtoabinding interaction withthenanoparticle,causesthe
                            cancercellstodie.Therefore,thiseffectisnotachievedthrough chem ical
                            action.

CryosurgeryforW a14         Cl-yogen(liquidgas),suchasnitrogenordimethylether,isusedtotreat
Rem oval                    colnmon andplantarwarts.The liquidgasisextremely coldand freezesthe
                            wart,resulting in damageto tlletopm ostlayerofcells.A physiologicaleffect
                            (i.e.,celldeath)resultsfrom heattransfer,notfrom abindinginteractioriwith
                            thegas.Therefore,thefreezing isnotconsidered chemicalaction.

DentalAmalgam               A resin thatfllsa cavity in atooth aspartofthetreatmentofdentalcariesmay
                            bindtotlzet00th via covalentbonding,orrely illparton interm olecularforces
                            to changefrom liquid orpasteto solid fonn. However,thisbinding and/or
                            statechangedoesnotmediateé.bodily response,butratherproducesasolid
                            mass,tolillthecavity.Therefore,itwouldnotbe considered chemicalaction.

RespiratorM askw ith        An antimicrobialproductimpregnated into afslteronarespiratormasktokill
AntimicrobialFilter         microbesthattheuserluightothelw iseinhalewould exhibitphnrmncological
                            action.However,whilethem ask isin contactwiththeuser'sface,theslteris
                            not. So,thechemicalaction occulning on thefilterisnotoccurringwithin or'
                            onthebod .                                                               '

                 How isaproductclassified ifitmeetsthedefinition fordrug(orforboth
                 drugand device)and also meetsthedennition forbiologicalproduct?
     Asexplainedinsection11l.B,productsthatmeetthedevicedefinitionin201(h)ofthe
FD&C ActalsomeettheYugdetinitionin201(g)oftheFD&C Act.Ilzuddition,productsthat
m eetthe drug definition,orboth tlze dl'ug and device definitions,m ay also m eettlze definition of
biologicalproductundersection351(i)ofthePHSAct(42USC 262(i)).
        Section351(i)providesthat:
        The tenn tçbiologicalproduct''m eansa vilals,therapeutic senlm ,toxin,antitoxin,vaccine,
        blood,bloodcomponentordelivative,allergenicproduct,protein (exceptany chemically
        synthesizedpolypeptide),13oranalogousproduct,orarsphenamineorderivativeof
        arsphenamine(oratlyothertrivalentorganicarseniccompotmd),applicabletothe
        prevention,treatm ent,orcure ofa disease orcondition ofhum an beings.



         13ForguidanceonFDA'Sinterpretation ofthecategozy Tt      protein (exceptanychemicallysynthesized
polypeptidel''seeBiosintilars: p?fc-
                                   çfftlné'àndadi?u
                                                  suze/'
                                                       .
                                                       j'RegardingJhwfcpldn/tpfft?n oj'
                                                                                      theBiologicsFrfce '
CompetitionandlnnovationActof2009,atQ.Il.1(April2015),availableat
http:
    //A- w.fda.aov/doAu loads/Dlrgs/GtlidancecolnplianceRe> latorylnfoa atioi Guidalzces/ucM 44466l.pdf.
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       Productsthatm eetthe dlalg definition ahd thatalso m eetthedefinition ofbiological
productareclassifiedasbiologicalproducts,andaregenerallysubjecttolicensureunderthe
PH S Act.14 Productsthatm eetthe defnitions fordrug, device,and biologicalproductm ay also
be classified asbiologicalproducts. lfyou havequestionsregardingw hetheraproductm eetsthe
definition ofbiologicalproductorhow thism ightaffectitsclassifkation,pleasecontactOCP.

W ,     ADDITIO NAL INFORM ATION

       Forfurtherinform ation on theclassification ofproducts asdevices,drugs,biological
products,orcombinationproducts,pleaserefertotheFrequently Asked Questionson thenext
page,OCP'Sw ebpageatllttns://w w .fda.eov/com binatioe roducts/default.htln orcontactOCP
at:

        OfficeofCom bination Product
        Food and D lalg Adm inistration
        W O32,Hub/M ailRoom #5129
        10903N ew H am pshire Avenue
        SilverSpring,M D 20993

        (Te1)301-796-8930
        (Fax)301301-847-8619
        com binationrofda.eov




        14ccrtainbiologicalproductshavebeenhistorically approved undertheFD&C Actand may continue tobe
subjecttoapprovalundertheFD&C ActuntilM arch23,2020.SeeSection7002(e)oftheBiologicalPrice
Competition andlnnovation Actof2009'   ,seealsoFDA,Ilnplcmentation ofthe 'rccp/t?fftobeaLicense''Provision
t?ftheBiologicsrrfccCompetitiont7,7#lnnovationAct6f2009,availableat
htls://xq/
         m v.fda.nov/uce artxups/fdagov-ànublic/slfdagov-dags-neidocumel
                                                                       zts/docunlellt/ucnn4goz64.ptlf.
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                              FREQ UENTLY ASK ED QUESTIONS
   1.Can aproductbe classified asa deviceifitexhibitsççchem icalaction''?

     Yes,iftheproductdoesnotachieve itsprim ary intended pup osesthrough chem ical
     action w ithin oron the body and othenvise m eetsthe definition ofa device. How ever,
     productsthatm eetthe device definition m ay beregulated as dlalgs orbiologicalproducts
     in som e cases. Seequestion 2.

  2. Ifaproductmeetsthedefinitionfordl-
                                      ugat21USC 321(g)andfordeviceat21USC
     321(h),how isitclassified?
     Generally,theproductwould be classilied asa device,unlessitfallsw ithin a special
     category(forexample,apparatusesused in thepreparation ofcompounded positron
     emissiontomographydrugsareclassifiedasdnlgs,see21USC 321(ii)).
  3.Can theproposed use orindicaticn ofaproductaffectitsclassification?

     Yes. Two productswith exactly the sam e compositiollcan be classilied differently based
     on theirprim ary intended purposes. Forexample,ifavaginalproductisintended solely
     to facilitate ease and com fortduring sexualintercourse and itachievesthisthrough
     lubricationthatdecreasesfriction(viamecllanical/physicalaction)andnotthrough
     cheluicalaction,itisclassified asa device.H ow ever,thesam e productcan be classified
     asa drug ifitis intended,forinstance,to alterpH,controlodor,orpreventinfection,and
     doesso through chem icalaction as discussed in Il1.B.3 above.

  4.W '
      hatshotlld you do if,afterreview ing thisguidance,you areunsure ofhow yourproduct
    isclassified?

     YoushouldcontacttheOfficeofCombinationProducts(CombinatioI1@FDA.Go/ for
     feedback. O CP willprovide you feedback,including on whetherapre-lux oran RFD
     m ay be appropriate and whatinform ation you should provide.

  5.W here can you find additionalinfonnation aboutproductclassification?
                          .



     Additionalinform ation on classification isposted on OCP'S webpage
     atrtllttps://o w.fda.gov/colzzbinatioe l.odtlcts/Aboutcomblatioe roducts/ucnzlol4g6.hmz)
     Foradditionalinfonnationonhow tosubmitanRFD,seeHow to I         'Fhï/eaRequestfor
     Designation (RFD)
     (http://w w.fda.gov/Regulatolplnfolnrfttion/Guidances/ucllalz6os3.hbm).
     M ore inform ation aboutthe pre-llFD processisavailable at
     htmsr//N-   .fda.cov/dovvnloadsc egulatorylnfo= atioi Guidancesr cM s348g8-pdf.



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                                                                              Exhibit
14                                                                 Em ploym entContrac
                                                           and O #icialJob Description




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                                                12 - .
                    Brian Chancey--Affidavitin Suppod ofAm ended Com plaint
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                                                       FreeportRoles& Resqonsibilities
                                             Instrument/Electrical(I/E)Malntenance Engineer
                                                              (Maintenance)
Job Description

ThisisaBASF directpositi
                       onthati
                             sdisciplinespecific(InstrumentandElectricalIessthan600VAC)andistacticaland dai
                                                                                                          ly
maintenance focused. The role collaborateswi  th Production and Maintenance personnelformaintenance and repairactiviti
                                                                                                                     es as well
as troubleshooting.Additi
                        onally,this role provi
                                             destechnicalsuppod forRootCause Failure Anal ysisand monitorspredictive and
preventative maintenance programsto improve reliability.
Roles and Responsibilities
    Provide Tier2 troubleshooting suppod and recommendati    onsto operating units on equipmentrepair/reliability including
    emergencywork revi  ews.
    Parti
        cipate in RootCause Failure Analysis and execute corrective acti  onsforcomplexand/orrepetitive problems.
    Assistin recommending training and developmentoptionsforin-house maintenance resources.
    Provide i
            nputinto the Maintenance Budgetspeci  ficall
                                                       y to identify Extraordinary IE Maintenance i
                                                                                                  tems thatneed to be done on a as
    needed basi s.
    ResponsibleformaintainingaccuratefunctionIocationsinCoBalt/SAP.Thi
                                                                     sincludesjobdescripti
                                                                                         ons/tasks.Thi
                                                                                                     spositioni
                                                                                                              s
    responsible forensuring thatthe CoBalt/SAP infcrmati on is sustainable in thefuture.
    Responsible fordefining and ensuring strategicspare parts are managed and mai    ntained whetherthey be Iocated in the block or
    the storessystem.
@ Revi
     ewsandapproveslFA package(withproduction ControlSystemsEngineerandareaIE Specialists)foraIIareaprojectsfor
    accuracy and constructabili
                              ty priorto constructi
                                                  on release.
@ SupportControlSystemsEngineerwith projectcommi     ssioning andstadupacti
                                                                          vi
                                                                           ties.                           ,
@ DefinesaIlprojects,createstheprojectin lNtoolsand checksthebaseitemsintotheprojecti n INtoolspri ortoreleasingthe project
  totheCentralDesi  gngroup Ensuresas-buil tmarkupsarepi   ckeduppriortocheckingtheprojectinto INtoolsand ensureallother
  documentation hasbeenas-buil tpriortofinalizingproject
  Ensureautomationroadmap(sparepads,service agreements,obsolescence,etc.)andsecurityprograms(DCS,SIS,rempte
  access,etc.)areinplace
    Ensure efecti
                ve im plementati
                               on ofIow & high voltage PM/PdM programs-Thermography,UPS,grounding,motorcircui
                                                                                                            tanalysis,
    transformerprograms,breakertesting,Iightning protection,arcflash program managementand reval
                                                                                               idation
    EnsuredevelopmentandmaintenanceofSAPfun-ctionalIocationé'bilsofmaterialsandpreventi
                                                                                      vemaintenance
    Ensure mechanicalintegrity programs are i
                                            n place and i
                                                        m plemented,including inspection/testing and preventi
                                                                                                            ve/predicti
                                                                                                                      ve
    maintenance programs(Instrumentation,safetyinstrumentedsystems)
  Developmentand im plementati
                             on ofthe instrumentation maintenance program,induding D-risk instruments,tankoverfi
                                                                                                               ll,flare
  controlburnermanagement,etc.
@ Ensuredevelopmentmaintenanceandavail    abilityofequipmentfilesanduptodatedrawings,includingP&IDs,Ioopdral ings,etc.
@ Ensure nucleargauge operatorprogram is in place and im plemented asrequired
*
'             Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 150 of 159
12/13/21,7:44AM                                                            Instrumentand ElectricalMaintenance Engineer

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    Back to priorpage


    Job Description

    Instrum entand ElectricalM aintenance Engineer-2000534

    Description

    AtBASF,wecreate chem istrythrough the powerofconnected m i   nds.By balancing econom icsuccesswith envi
                                                                                                          ronm entalprotecti
                                                                                                                           onan'
    weare building amore sustainablefuturethroughchemistry.Astheworld'sIeading chemicalcompany,we helpourcustomers in nearly
    currentand future needsofsocietythrough science and innovation.


    W e provi
            de achallenging and rewarding workenvironm entwitha strong emphasison processsafety,aswel  lasthe safetyofourem plo
    com m unitieswe operate in and are alwaysworking toform the bestteam--especiall
                                                                                  yfrom within,throughanem phasisonIifelong Iearr


    Andw e are constantlystrivingto becom e an even betterplacetowork.BASF hasbeen recognized as a2020 BestEm ployerforDi
                                                                                                                        versi
    uso
      'nourjourneytocreatesolutionsforasustainablefuture!


    InstrumentandElectricalMaintenance Engineer(2000534)- Freeport TX

    W here the Chemfstly Happens


    W e areseeki
               nga professio'
                            nalIikeyouto be responsibleforproviding instrum entand electricalengineeringsupportto the Freepod Cherr
    operatingareas,aswellasprovidingtechnicalguidaqpetotheI/E/A maintenancegroup.Youwillberequiredtoprovijetechni
                                                                                                                çalsuppt
    activitiesand provide design and technicalinformationformaintenance and capi talim provem ents.Inaddition,you willprovide techni
                                                                                                                                   cal
    FailureAnalyses and troubleshooting ofprobl  ems,ahd hold responsibil
                                                                        ityform aintenance,testing,and documentation ofthe site's SIS
    youwillensurea cultureofcontinuous im provement.




https://basf.t
             aleo.neNcareersection/l/
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               Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 151 of 159
12/13/21,7:44AM                                                               lnstrumentand ElectricalMaintenance Engineer
  Thi
    s isanexcellentoppoduni
                          tyforyouto demonstrate yoursolid perform ance in troubleshooting I/E/A i
                                                                                                 ssuesaswellasrecom mending
  changes.Althoughnotrequired,educationand/orexperiencewithDistributive ControlSystems(DCS)willbeadvantageousinthisrole.

  Qualiflcations- NOTE:NotaIlpositions are eligible forcross-regionalrelocation/work authorization.cross regi
                                                                                                            onalis defined as m ovel
  (e.g.Canadato U.S.).

  Form ula forSuccess
        .   Leveraging youreducation in ElectricalEngineering and yourrel
                                                                        ated experience in eithera chem ical/petrochemicalorrefineryo;
            equipmentupdatesandreli abilityimprovem ents.
        .   Demonstrating yourknowledge and experienc'
                                                     e in providing techqicalguidance,youwillprovi
                                                                                                 de technicalsuppod to Production,
            Turnaroundand otherMpintenance staff.
       .    Applying yoursound technicalknow ledge ofinstrum entati
                                                                  on,electrical,and m echanicalequipm ent,you willIead and padi
                                                                                                                              cipate t
            investigationsand RcFA team s.
       .    Yourworking knowledgeofmaintenance activiti esassociatedlith process equipm entsuch as powerdistributionsystem supto i
            temperature instrumentation,various typesofanalyzersand sarppling systemswillbe essentialasyou completeaction itemsger
            PHA's,Accident/lncidentlnvestlgati
                                             onsand MOC'
                                                       s.                 '
       .    Yourhabili
                     tyto com m unicate effectivelyand demonstrate stronginterpersonalskillswithin a di
                                                                                                      verseenvironm entwillserveyouw e
            equipm entrepairs involving on and off -site contractpersonnel.
       .    Successfullyengagingwithin thesite,youwillparticipate in PHA revi  ews.
       .    Contributing e#ectivelywith yoursel f-m otivated workstyleandstrong Ieadership abili
                                                                                               ty,youw illassistin m anaging SIS system s$
            documentation and lead SIS fpnctionalchecks.
       .    Yourknowledgeofapplicable industlycodes(OSHA,NFPA,NEMA,PSM etc.)willbeusefulasyoucreate,review andeditproce
            mechanicalintegrityand operation ofequipment.
       .    Yourkeen attentionto detailwillbea valued assetasyou ensure developmentofCriti calEquipmentIistand CriticalSpares lnver
            monitoring and optimizingthe stores system by considering site-wide needs.
       .    Yourknowledge ofSAP and how itis used to trackcostsand m aintenance historywillaid you as you research and com m unicate
            maintenance practicesto improve assetavailabi lityand optimize cpsts.                 .
  Create YourOwn Chem istry:W hatG e O'erYou


  Addingvaluetoourcustomersbeginswi    thaddingvaluetoyou.YOU@ BASF isthesuiteofbenefits,perks,programsanduniqueoppolt
  supportyou- thewhole you- in aIlstagesofyourIife and career.W ithyou@ BASF,you create yourown chemistry.

  The totalrewards thatyou receive a:a BASF employeegoway beyond a payche.      ck.From cdmpeti  ti
                                                                                                  ve healthand insurance plans,to rc
  thatinclude com pany-matching contributions,to m aking sureyou neverstop learning,we believe investing in you isinvesting in oursuo
  Iarge,globalorganization,you'llhavea chance to grow professionally and personally,expandyournetworkand build a rewarding and d:


  BASFprovidesinterestingandchallengingIearninganddevelopmentoppodunitiestohelpyoumakethemostofyourtalentsandyourj4



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               Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 152 of 159
12/13/21,7:44AM                                                           Instcumentand ElectricalMaintenance Engineer
  ThispositionrequiresalIcandidatestoeithercurrently possessorobtainandmaintain aTWIC (TransportationWorkerIdentifid
  Card from the U.S.DepartmentofHomeland Security.


  Prim ary Location : Us-Tx-Freeport
  Organization ;.N-cMN/po pol  yamide Value Chain MaintFreeport
                                                              -630235O2
  Job Type : Standard
  Shift : DayJob
  Travel: Yes,5 % ofthe Time
  Num berofOpenings : 1
  Postinj Date:Mar3,2020
  Unpostlng Date :Apr17,2020
  IncentivePlan:Performance Incentfveçomp
  Grade (ForNonxxemptand ContactSupervisorsonly):na
  Job Grade(ForExEMpTposltions ozsy):5.1
  Hiring ManàgerName:Jason Metts
  Human Resources /Staffing:SpencerCole
  Relocation Eligible:Yes
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            u paBA SF
            Vvecnyate chenAlstry
            June 11,2020

            Brian Chancey
            3117 Encino Avenue

            Bay City,Texas 77414

            DearBrian:

            On behal
                   fofBASF Corporation,Iam pleased to confirm ourverbalofferofemployment. Youwill
            beemployedasa (n)InstrumentandElectricalMaintenanceEngineeratour1E01-Freeport-BASF
            Corporati
                    on location,reporting to Jason D M ets. You w i
                                                                  llbe paid an annualsalary of
            $110,000.00,pai
                          donasemi
                                 -monthlybasis,subjecttoreview duringthenormalsal
                                                                                aryreview
            cycle.

            Youwilbeel
                     igibletopadi
                                ci
                                 pateintheBASFPerformanceIncenti
                                                               veCompensation(PIG)AwardPl
                                                                                        an.Theactualawardwllbe
            modified bythe following factors:                  -
                 * Yourindividualtargetavard,
                 * Yourindividualperformance,
                 * Pedbrmance ofthe BASF Groupforthe PerformanceYear,and
                 * Performance ofothea within yourBusiness Group orUnit.
            Yourtargetaward is 15% ofyourOctober1,2020 base salary. Please note thatthe actualaward payoutwillvary based on both
            companyand individualpedormance.

            Based oncurrentpractice,yourPIC for2020 willbe payable atornearthe end ofthefirstquartbrof2021. Should padicipation be
            I
            essthanafulyear,theawardwilbepro-rated.AIIawardsunderthePICAwardPlanaremadesubjecttothetermsofthe Plan.

            Based on yourpri orrelated experience,you wi  llreceive 13.333 hoursofvacation foreachfull
            m onth ofservice,beginning the firstofthe m onthfollowing em ploym ent,to a maxim um of160
            hours ofvacation peryear. You willcontinue to be eligible for160 hours ofvacation peryearuntil
            thecalendaryearinwhichyouwillcompleteyour20yearts)ofemployment.Atthebeginningof
            suchyear,youw illbeeligible for200 hoursofvacati
                                                           on peryearbased on currentpolicy.

         Should you acceptthis offer,you willbe able to padicipate in a variety ofBASF benefit
                  .


         plansincludinga RetirementSavings Plan(RSPI;medical,dentaland li
                                                                        fe insurance'
                                                                                    ,
         and Iong-term disability.A sum m ary ofthese plans is enclosed.As a new BASF
         em ployee,you willfeceive a separateW elcom e Kitfrom the BASF Em ployee Service
         Centerw hich w illinclude instructions forhow to enrollin yourbenefits,as w ellas other
         im podantinform ation such as how to access three im podantW eb sites - m yH Rkiosk
         (to manageyourpaycheckand personalHR data),Businessolver(to manage your
         health and insurance)and FidelityNetBenefi
                                                  ts(to manageyourrètirementbenefits).
         This offerand coptinued em ploym entatBASF are cohtingentupon your:

         1.Subm itting to and passing a background check,
         2.Having and m aintaining eligibili
                                           ty to law fully w ork in the United States,
            Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 154 of 159
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           3.Signing ofthe Em ployee's Invention and CopfidentiàlityAgreement,
           4.Passing a post-offerpre-employm entphysical,which includesdrug screening,and
           5.SuccessfullyobtainingandmaintainingaTW IC (TranspodationW orkerIdenti
                                                                                 fication
           Cedification)Card from the U.S.DepartmentofHomeland
           Security. httn://w w.tsa.cov/stakeholders/transnodation-worker-identi
                                                                               fication-
           credential-tw ic

           Please contactCorporate HeaIthResources(CHR)wi
                                                        thin24 hoursofacceptingthis
           offerto schedule yourpost-offerpre-em ploymentphysical. CHR'Stelephone num beris
           1-800-867-0933,ext.2820. This post-offerpre-em ploym éntphysicalm ustbe
           conductedwithinfive (5)businessdaysofthe dateofacceptance.
           BASF isanat-willerhployer.Accordingly,youunderstand and agreethatyour
           employinentcan be terminated atanytime and forany reason,with orwithoutcause,at
           the sole discretion ofeitherBASF oryourself,forwhateverreason thatBASF oryourself
           m aydeterm ine. Yoursignature below doeé notchange thisat-willrelationship.

           O nce you have m ade yourdecision aboutthis offerofem ploym entyou need to do the
           follow ing:         ,

               1. Sign the endorsementprovided beloF and returnthis Ietterofemploymentwithin
                  five business days ofthe receiptofthis letter. The return ùfthis Ietter,with your
                   signature affixed,shallserve as youracceptance ofem ploym entunderthe term s
                   specified.
               2. Review the enclosed Employee's Invention and Confidentiali
                                                                           tyAgreem entprior
                   to accepting this offerofem ploym ent. You are tö bring this form w ith you on your
                   firstdayofem ploym ent,as itneedsto be signed in the.presence ofa BASF
                   em ployee.
               3. Complete Section 1oftheElectronicForm l-9 uponyouracceptance ofthisjob
                   offer,butno.Iaterthan yourfirstday ofxem ploym ent. The electronic Form I-9 can
                   be found here hdnsr//basf.igsew icecenter.com . You willneed to provide your
                   SocialSecuritynumberto complywithE-verify. Onfourfirstdayyouwillneed
                   tobringoriginaldocumentationtoverifyyoureligibilitytoworkintheU.S.To
                   com ply with FederalIaw ,BASF participates in E-verlfy.AIInew ly-hired
                   em ployees are queried through this electronic system established by the
                   DepadmentofHomelandSecurity (DHS)andthe SocialSecurityAdministration
                   (SSA)to verifytheiridentityandemploymenteligibility.

           Iwould Iike to extend m y personalw elcom e to you atthis tim e. W e Iook forward to you
           joiningourteam and sharing inthe continued growth andsuccessofourbusiness.In
           the m eantim e,iflm ay be ofany fudherassistance to you,please do nothesitate to call
           m e. .
           Sincerely,
             Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 155 of 159
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            SpencerCole
            Sr.TalentAcquisitions Adviéor


            ENDO RSEM ENT:

            Ihereby acceptem ploym entbased on the conditions described in the offerIetter.

            (Applicableto employeesworking in New York:IfurtheracknowledgethatthisIetter
            provides w ritten notice ofm y pay rate and designated pay day and FLSA exem ption
            status inaccordancewith New YorkLaborIaw Section195(1/.
               DocuSlgnedbg:

              fpia:u                                      13/6/2020 I17:i4 cEsT
               A8FR6A73A1GP4CF
            Signature                                     Date


            Enclosures

            cc: Jason D M etts
               SpencerCole


            BASF Corporation
            602 CopperRoad '
            Freeport,TX 77541
            TeI:(979)415-6100
            www .basf.com /usa
               Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 156 of 159
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                           Post-o ffer Inquirv Reqardinq Crim inalConvictions ConsentForm


            BASF require: thatthe follow ing inform ation be com pleted afteran applicanthas
            accepted an offerofem ploym ent.

            Please com plete this form Jn its entiretv,and return with yoursiqned offer Ietter.

           Have you everbeen convicted ofa felony                  IfYes,nature and disposition ofeach case.
           whichhas notbeen expunged,sealedor                      Includedateand Iocation (county/state).
           pardoned by a court?

                                            No

           Haveyoueverbeenconvictedofanycrime                      IfYes,natureanddisqositionofeachcase.
           relatedtothejobforwhichyouhaveapplied                   lncludedateandIocatlon(county/state).
           thathas notbeen expunged,sealed or
           pardoned by a court?
                                  N0


            Icertifythe foregoing inform ation to be com plete and correctin aIIrespects. Iunderstand thatif
            any partofi tisfound to be incomplete orincorrect,itwillbe suii   cientgrounds forrefusalto
            employ me,or,ifIam em ployed,fordisciplinary action including termination ofthat          l
            employm ent.

            Iauthorize BASF Corporation to conductany investigation itdeems necessary in connection
            with this inform ation. Iacknowledge thatwi
                                                      th m y consent,BASF Corporation willrun a
            background checkfollowinn any offerofem ployment. Irelease forIiability any and all'persons
            orenti tieswho may,in response to inquiry by BASF Corporation,furnish accurate inform ation
            pertaining to my personaland/orem ploymenthistory,and BASF Corporation in i  ts use ofsuch
            inform ation.

            IfemployeibyBASFCorporation,iagreetoabi
                                                  debyalIcompaiyrulesandregulations.I
            understand thatno agent,employee,representative orofficialofBASF Corporation is
            authorized to make any verbalprom iges concerning employm entorconditions thereofexceptas
            confirmed in writing bythe Com pany/Division Human Resources Department.

            Ifurtherunderstand thatany offerofem ploymentis contingentupon successfulcom pletion ofa
            backgroundcheck(to becompleted afteranyolerofemployment),the resultsofa physical
            exam ination,which shallinclude testing forsubstance abuse,and my signing an employee
            invention and secrecy agreement.
           d           .

                                                           Docuslgnedby:
               13/6/2020 I 17:34 CéST
                                                           A8FB6M 3A1C24CE...                            '     -
            Date                                       Signature


               (EledronicVersionRev03/14)
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      Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 157 of 159




l Brian Chancey,Plaintiffin Propria Persona
  3117 Enciio Avenue
2 Bay City, Texas 77414
3 832-863-4519
     nnman4@ vahoo.com
 4                                                                                                 '

5                                   -                                                  .



 6
 7                         UNITEb STATES DISTRICT COURT            .



8                           SO UTHERN DISTRICT O F TEXAS                                       .
               Uni
                 ted States PostOffice and Coudhouse;601 Rosenberg,Room 411;Galveston
 9 BRIAN CHA NCEY
10        PLAINTIFF
11   v.                                                        CASE NO.t:22-cv-00034
z2 BASF             .                       .
13        DEFENDANT
14                                                    /
15

16                                   CERTIFICATE o F SERVICE
l7
         1,Brian Chancey, hereby certify that a true and correct copy ofthe foregoing wa
18 duly served upon the defendant,s registered agent CT CO RPORATION SYSTEM at th
19 address of 1999 Bryan St.,       Sui
                                      te 900 Dallas,TX 75201 via FedEx on this '
                                                                               ll day o
20 February,2022.
21

22 By:     FedEx #270115773035
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          Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 158 of 159


United StatesPostOffice and Courthouse
601Rosenberg,Room 411
G alveston,TX 77550


Coul'tClerk:

The attached com plaintisintended to entirely replacethepreviousoneforcase 3:22-cv-00034.Ihavealso
attached acertificateofservicefortherevised com plaintsentto thedefendant'sregistered agent.lfyou have
any questionsplease contactm e at,

Brian Chancey
832-863-4519
munan4@yahoo.com
Case 3:22-cv-00034 Document 6 Filed on 03/03/22 in TXSD Page 159 of 159




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